Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 1 of 144




               EXHIBIT 3
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
             Case 4:19-cv-07123-PJH         Document 679-2        Filed 04/04/25   Page 2 of 144
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3226
     CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                    ·

1                          UNITED STATES DISTRICT COURT

2                        NORTHERN DISTRICT OF CALIFORNIA

3                                     OAKLAND DIVISION

4     __________________________________

5     WHATSAPP INC., a Delaware          )
      corporation, and FACEBOOK, INC.,   )
6     a Delaware corporation,            )
      a Delaware corporation,            )
7                                        )
                  Plaintiffs,            )
8         v.                             ) Case No.
                                         ) 4:19-cv-07123-PJH
9     NSO GROUP TECHNOLOGIES LIMITED     )
      and Q CYBER TECHNOLOGIES LIMITED, )
10                                       )
                                         )
11                Defendants.            )
      ___________________________________)
12

13               HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14                  VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15                                     DEPOSITION OF

16           WHATSAPP INC., by and through its Designated

17                                     Representative,

18                                           CARL WOOG

19                           Palo Alto, California 94304

20                           Wednesday, August 14, 2024

21

22

23    Reported Stenographically by:
      MARY J. GOFF
24    CSR No. 13427
      WA CSR No. 21030779
25    Job No. 3226
      PAGES 1-384
       Case 4:19-cv-07123-PJH          Document 679-2          Filed 04/04/25       Page 3 of 144

                                              Page 174                                                   Page 175
1 working with great intensity to identify what was       1 and they were working to put to stop.
2 going on.                                               2    Q And do you know what that was based on,
3     Q So you have never spoken to                       3 that attribution to NSO?
4        , as far as you know?                            4    A Sir, based on their technical expertise.
5     A Sorry. I don't believe so, but I don't            5    Q So you don't know?
6 recall if I have.                                       6    A I'm not a technical expert, no, sir.
7     Q Do you know at all what his                       7    Q Okay. So you don't know?
8 responsibilities with respect to either WhatsApp or     8    A No, sir.
9 Facebook were?                                          9        ATTORNEY ANDRES: Objection, asked and
10     A Not that I recall.                              10 answered.
11     Q Do you know whether Mr. Robinson was            11     Q (BY ATTORNEY AKROTIRIANAKIS) Are all
12 attributing the exploitation of this vulnerability    12 WhatsApp chats end-to-end encrypted?
13 to NSO as of May 5, 2019?                             13     A Sir, we have a distinction between what we
14     A Sir I do not know what Mr. Robinson             14 refer to as "personal WhatsApp chats" and chats that
15 determined at that -- at that point in time.          15 are with businesses that use a technology service
16     Q Do you know if WhatsApp more generally was      16 called an "API."We have a White Paper that explains
17 attributing anything to NSO as of May 5, 2019?        17 this. Generally.
18     A I believe that was our -- our -- our            18         I think the way we think of WhatsApp is
19 strongest hypothesis that the team was working to     19 kind of how people like you and me would chat with
20 validate and confirm.                                 20 one another, but we also have these business
21     Q And do you know what that was based on?         21 services.
22     A Sir, I -- my recollection, I recall             22         Those business services using the API, we
23 security engineers telling me that they believed      23 do not designate those at end-to-end encrypted. But
24 that NSO was attacking our users.                     24 what people are thinking of when they are using
25        And this was an attack that was underway,      25 their WhatsApp in their handset on their -- on their
                                              Page 176                                                   Page 177
 1 phones app to app, those are indeed end-to-end         1    Q How much does it cost for a user to
 2 encrypted. We usually refer to those as personal       2 establish a WhatsApp account?
 3 images.                                                3    A Sir --
 4    Q All right. So all WhatsApp personal               4        ATTORNEY ANDRES: Objection, relevance.
 5 messages are end-to-end encrypted?                     5    A -- sir, accounts are free to establish.
 6    A Yes, sir.                                         6 There's no cost.
 7    Q And all WhatsApp calls are end-to-end             7    Q (BY ATTORNEY AKROTIRIANAKIS) So what --
 8 encrypted?                                             8 what does a person need in order to set up a
 9    A Yes, sir.                                         9 WhatsApp account?
10     Q Is that true both with respect to voice         10     A Sir, you need a mobile phone, and you need
11 calls and video calls?                                11 the ability to download the app from either the
12     A Yes, voice and video calls are both             12 Apple App Store or the Google Play Store.
13 protected by end-to-end encryption on an              13        Or you can also download the app directly
14 application-to-application basis.                     14 from our website, if you're having trouble accessing
15     Q Does a WhatsApp user have to pay extra for      15 those stores. And then you download that
16 the end-to-end encryption or is that a standard       16 application onto your phone.
17 feature?                                              17        And then from there you open the app.
18     A That's a standard feature, sir, and it          18 There'll be some information there about our Terms
19 cannot be turned off.                                 19 of Service that you would need to agree to prior to
20     Q So it's impossible to have a WhatsApp           20 using our service.
21 account -- a personal WhatsApp account without        21        And then there's just some initial setup
22 end-to-end encryption, correct?                       22 questions that -- that we have. And then from there
23     A That is how our service works, sir.             23 you're pretty much off and running.
24     Q So yes?                                         24     Q Well, what are the initial setup
25     A Yes.                                            25 questions?
        Case 4:19-cv-07123-PJH          Document 679-2           Filed 04/04/25       Page 4 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3226
CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                  Pages· 178..181
                                                Page 178                                                   Page 179
 1    A Well --                                            1     A I believe so.
 2        ATTORNEY ANDRES: Objection, relevance.           2     Q It could be symbols? It doesn't even have
 3    A -- well -- so you have to enter your phone         3 to be letters?
4 number in order to effectively activate your             4     A I don't know if you can use symbols.
5 account.                                                 5 That -- sometimes apps have trouble with symbols.
6         So you enter your phone number, and that         6         But perhaps. I don't know for sure. You
7 will send an SMS message to you, which you -- you        7 have to put in something, I believe, in that field.
8 type in a code for that, and then that allows you to     8     Q But it doesn't have to be your name?
 9 start your account.                                     9     A It does not have to be your name, sir.
10        I think we also ask for a name, which is         10     Q Other than what you have described right
11 optional. You can choose your actual name. You can      11 now, is there any other vetting that WhatsApp does
12 choose a nickname. I think there's an option to put     12 prior to granting a user account to someone?
13 in a photo and things like that, which you can do,      13     A Sir, I'm not an expert in this, but we do
14 if you chose.                                           14 have quite a talented group of people that are
15        And after that, you're able to chat freely       15 looking for signals of inauthenticity and perhaps
16 and securely.                                           16 abuse right from the setup time.
17     Q (BY ATTORNEY AKROTIRIANAKIS) So the "Name         17        So what we're looking for there is
18 Field" is not required?                                 18 potentially accounts that may be intended to be set
19     A I don't believe so, sir. I think you have         19 up for spam or automation or other account setup
20 to enter something in that name, but you don't have     20 that is inauthentic in some way.
21 to chose your actual name.                              21        I'm drawing to draw a distinction between
22        Does that --                                     22 that and a normal person who is just trying to use
23     Q Could --                                          23 WhatsApp for private and secure calls.
24     A -- distinction make sense?                        24     Q So like a -- you're trying to ferret out
25     Q Okay. It could be literally anything?             25 whether it's an actual person or a bot that's
                                                Page 180                                                   Page 181
1 setting the account?                                     1 multiple apps on one phone.
2     A I think that's fair to say, sir, yes.              2         So for example, we have the WhatsApp app
3     Q Okay. But assuming that somebody is an             3 and we have WhatsApp Business app.
 4 actual person, literally anybody could sign up for a    4         And you could use your phone and download
 5 WhatsApp account, as long as they have a mobile         5 both instances of WhatsApp on your phone.
 6 phone and the ability to download the WhatsApp app,     6         And the reason why some people want to do
 7 correct?                                                7 that is because they're a small business and they
 8    A Right. And then that text message                  8 like to separate their chats from their personal use
 9 authentication that I mentioned. Those basic steps.     9 and their business use. So it effectively gives
10     Q Right. But you don't, like, say: Like,            10 them two Inboxes to do so.
11 well, is this a person who we really want using our     11         And the Business app has some of its
12 system?                                                 12 own -- different policies and rules that I'm less
13         They just decide themselves, right?             13 familiar with. But effectively that's designed for
14     A That's right.                                     14 the small business owner that relies on WhatsApp to,
15     Q Can a person have multiple WhatsApp               15 you know, run their business, respond to customer
16 accounts with different phone numbers?                  16 inquiries, and hopefully run a successful business
17     A Yes. But basically a phone number -- an           17 that -- for their customers.
18 easier way of thinking of it is that an account is      18    Q So let's go back to the names.
19 tied to a phone number.                                 19         You said that -- that you have to -- that
20         So if you have two phones, then you could       20 your belief is that you have to put in something in
21 have a WhatsApp on one phone and a WhatsApp on the      21 the -- in the "Setup" field that requests a name,
22 other phone. That would be two accounts, but you        22 but it's incons -- inconsequential what it is that's
23 may be the same -- the same person. We have that.       23 put into that field; is that fair?
24         And then we also have the ability to            24    A That's fair. It's a user choice.
25 have -- we have multiple -- the ability to install      25    Q And that's permitted by the WhatsApp Terms



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
            Case 4:19-cv-07123-PJH                    Document 679-2          Filed 04/04/25           Page 5 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                                    Job 3226
CARL WOOG on 08-14-2024                   {{Attorneys Eyes Only}}                                                   Pages· 382..384
                                                           Page 382                                                             Page 383
 1                                                                     1        I, MARY J. GOFF, CSR No. 13427, Certified
 2                                                                     2   Shorthand Reporter of the State of California,
 3                                                                     3   certify;
 4          I, CARL WOOG, do hereby declare under penalty              4        That the foregoing proceedings were taken
 5   of perjury that I have read the foregoing                         5   before me at the time and place herein set forth, at
 6   transcript; that I have made any corrections as                   6   which time the witness declared under penalty of
 7   appear noted, in ink, initialed by me, or attached                7   perjury; that the testimony of the witness and all
 8   hereto; that my testimony as contained herein, as                 8   objections made at the time of the examination were
 9   corrected, is true and correct.
                                                                       9   recorded stenographically by me and were thereafter
10          EXECUTED this_______ day of_________________,
                                                                      10   transcribed under my direction and supervision; that
11   20____, at___________________, ___________________.
                                                                      11   the foregoing is a full, true, and correct
                   (City)                   (State)
                                                                      12   transcript of my shorthand notes so taken and of the
12
                                                                      13   testimony so given;
13
                                                                      14        That before completion of the deposition,
14                    _______________________
                                                                      15   review of the transcript ( ) was (XX) was not
                              CARL WOOG
                                                                      16   requested:   (    ) that the witness has failed or
15
                                                                      17   refused to approve the transcript.
16
                                                                      18        I further certify that I am not financially
17
                                                                      19   interested in the action, and I am not a relative or
18
19                                                                    20   employee of any attorney of the parties, nor of any

20                                                                    21   of the parties.

21                                                                    22        I declare under penalty of perjury under the

22                                                                    23   laws of California that the foregoing is true and
23                                                                    24   correct, dated this    day of        , 2024.
24                                                                    25                _________________________
25                                                                                      MARY J. GOFF

                                                           Page 384
 1                           ERRATA SHEET
 2                           SWIVEL LEGAL
 3                     560 W Main Street, C163
 4                   Alhambra, California 91801
 5                           213-788-2327
 6                   CASE:   WhatsApp v. NSO Group
 7   PAGE   LINE    FROM                         TO
 8   ____|______|_________________________|______________
 9   ____|______|_________________________|______________
10   ____|______|_________________________|______________
11   ____|______|_________________________|______________
12   ____|______|_________________________|______________
13   ____|______|_________________________|______________
14   ____|______|_________________________|______________
15   ____|______|_________________________|______________
16   ____|______|_________________________|______________
17   ____|______|_________________________|______________
18
19            ______________________________
20            CARL WOOG
21   Subscribed and sworn to before me
22   this _____ day of _____________, 2024.
23   ______________________________________
24                 Notary Public
25




                                                        Swivel Legal Solutions
                                                 800.540.9099· |· www.swivellegal.com
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 6 of 144




               EXHIBIT 4
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
             Case 4:19-cv-07123-PJH         Document 679-2        Filed 04/04/25   Page 7 of 144
     WhatsApp Inc. vs NSO Group Technologies Limited et al.                                        Job 3296
     WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                              Page 1
                                                                                                   Page 1
1                          UNITED STATES DISTRICT COURT

2                        NORTHERN DISTRICT OF CALIFORNIA

3                                    OAKLAND DIVISION

4     __________________________________

5     WHATSAPP INC., a Delaware          )
      corporation, and FACEBOOK, INC.,   )
6     a Delaware corporation,            )
      a Delaware corporation,            )
7                                        )
                  Plaintiffs,            )
8         v.                             ) Case No.
                                         ) 4:19-cv-07123-PJH
9     NSO GROUP TECHNOLOGIES LIMITED     )
      and Q CYBER TECHNOLOGIES LIMITED, )
10                                       )
                                         )
11                Defendants.            )
      ___________________________________)
12

13               HIGHLY CONFIDENTIAL--ATTORNEYS' EYES ONLY

14                  VIDEO-RECORDED 30(b)(6) and 30(b)(1)

15                                     DEPOSITION OF

16           WHATSAPP INC., by and through its Designated

17                                     Representative,

18                                   CLAUDIU GHEORGHE

19                           Palo Alto, California 94304

20                              Friday, August 16, 2024

21

22    Reported Stenographically by:
      MARY J. GOFF
23    CSR No. 13427
      WA CSR No. 21030779
24    Job No. 3296
      PAGES 1-295
25
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25       Page 8 of 144

                                                Page 26                                                      Page 27
1     A I'm confused.                                      1 it?
2     Q Let me rephrase. Scratch that.                     2     A Yes.
3     A Yeah.                                              3     Q And so that structure would involve some
4     Q Are the stanzas in XML?                           4 parameters and parameter values -- sort of parameter
5     A I believe it was an XML protocol, yes.            5 names and parameter values?
6     Q Okay. And so the format of the stanzas is         6        ATTORNEY BLOCK: Objection to form.
7 defined somewhere?                                      7      A It involves that, but not just that.
8     A Like right now?                                   8      Q (BY ATTORNEY WEINBERG) What else does it
9     Q In 2019. All of my questions will be              9 involve?
10 about how the system was in May of 2019.               10     A It involves other types of stanzas as well
11     A Okay. I believe there was a -- like a            11 that are child stanzas. So there's like a hierarchy
12 text document that described the stanzas in the        12 of stanzas, essentially.
13 protocol.                                              13     Q All right. So it's XML, so it's a
14        In one of the repositories that we had, it      14 hierarchical --
15 was called "the common repo" that was referenced by    15     A Yeah.
16 all the client and the server engineers.               16     Q -- structure?
17        And at that time we actually had a formal       17     A Yeah.
18 representation of the protocol in another system       18     Q And so an offer stanza, for example, is a
19 that actually led to the discovery of the attack --    19 kind of VoIP stanza?
20     Q All right.                                       20     A It's a type of stanza, yeah.
21     A -- so there was -- yeah.                         21     Q Okay. And so the structure for that kind
22     Q So a stanza, which you said is an                22 of stanza is defined in this common repo?
23 XML-defined message --                                 23     A Yeah.
24     A Yes.                                             24     Q Okay. Let me put a document in front of
25     Q -- has a certain -- certain structure to         25 you. 1167.
                                                Page 28                                                      Page 29
 1         (Exhibit 1167 was marked for                    1     Q (BY ATTORNEY WEINBERG) And so what's
 2 identification and is attached to the transcript.)      2 reflected here in this document is the actions and
 3     Q (BY ATTORNEY WEINBERG) I want to chat with        3 messages -- actions taken and messages sent for this
 4 you a bit about the stanzaming. Is that how you         4 SEV project, the stanzaming project?
 5 pronounced it, stanzaming?                              5        ATTORNEY BLOCK: Objection to form.
 6     A Stanzaming.                                       6     A Yes.
 7     Q Got it.                                           7     Q (BY ATTORNEY WEINBERG) Okay. I would like
 8         Do you recognize this document?                8 you to take a quick look at page 3. Towards the
 9     A Yes.                                             9 bottom it says that -- there's a message from
10      Q What is it?                                     10                           on Monday, May 6, at -- 2019,
11      A It displays a SEV that was filed for the        11 at 12:27 p.m.?
12 incident.                                              12      A Yes.
13      Q Okay. What is an SEV?                           13      Q And he says that the WhatsApp engineering
14      A Yeah, so a SEV or S-E-V is a formal             14 work for this SEV investigation is coordinated by
15 document used by Facebook to track the operational     15 you; is that accurate?
16 or security incidents within the company.              16      A Yes.
17      Q Okay. And what would I call this kind of        17      Q And what does that mean, it was
18 document? Is this a chat? Is this -- what kind of      18 "coordinate -- well, what is "engineering work" that
19 a system is this kept in?                              19 he is referring to?
20          ATTORNEY BLOCK: Objection to form.            20      A It is the engineering work required to
21      A So I'm trying -- like, I don't know             21 investigate and remediate the attack.
22 exactly how to explain this as a concept. Outside      22      Q And the engineering work comprises what?
23 it -- it's kind of like a task, but it's really not    23      A It involved a lot of steps and a lot of
24 like a task. It's more like a project, like, if I      24 work from -- not just from me, but from a larger
25 would have to explain it in a different way.           25 group of people.
        Case 4:19-cv-07123-PJH          Document 679-2           Filed 04/04/25      Page 9 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                  Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 30..33
                                                 Page 30                                                   Page 31
1     Q Okay. I guess I'm just trying to get a              1    A Ensuring progress in monitoring, yes.
 2 sense of what distinguishes engineering work from        2    Q It lists five tasks that were -- that you
 3 some other category of work that you may have not        3 were coordinating here.
 4 been responsible for.                                    4         Would you be able to just introduce us to
 5       Would you be able to shed some light on            5 each of these five tasks and what they entailed?
 6 that?                                                    6    A So Number 1 -- and by the way, I don't
 7       ATTORNEY BLOCK: Objection to form.                 7 remember all the details of these tasks right now,
8     A Like, what was the nonengineering work?             8 so I'll do my best to say it based on what I
9     Q (BY ATTORNEY WEINBERG) Well, if you're              9 remember.
10 coordinating the engineering work, was there other      10         Number 1, "logging packets from attackers
11 kinds of work that you weren't coordinating or were     11 in EdgeRay," this task was about logging data from
12 you coordinating all the work?                          12 the relay servers for the calls that we flagged at
13       ATTORNEY BLOCK: Objection to form and --          13 "suspicious" and as part of the attack.
14     A I was coordinating just the engineering at        14     Q What are the relay servers?
15 WhatsApp.                                               15     A The relay servers are the servers
16       ATTORNEY BLOCK: -- just pause and give me         16 responsible for handling the realtime traffic
17 a chance to object before you start your answer,        17 between devices during a call on WhatsApp.
18 please.                                                 18     Q So they're a proxy between WhatsApp
19     Q (BY ATTORNEY WEINBERG) Okay. And so what          19 clients?
20 does "coordinating network" mean?                       20         ATTORNEY BLOCK: Objection to form.
21     A Coordination in this case means scoping           21     A They're not just proxy. They are -- they
22 work that needs to be done in order to achieve the      22 have an essential role in establishing the realtime
23 goal.                                                   23 channel between the devices.
24     Q And monitoring its progress as well, I            24     Q (BY ATTORNEY WEINBERG) The relay servers
25 assume?                                                 25 also work in establishing the connection between
                                                 Page 32                                                   Page 33
 1 the --                                                   1       In some scenarios, it's not possible. The
 2    A They --                                             2 network configuration does not allow that to -- to
 3    Q -- clients?                                         3 happen.
 4    A -- facilitate the connection -- the                 4     Q So the relay servers will proxy
 5 realtime connection between the devices.                 5 information between the clients whenever it's not
 6    Q What's difference between facilitating and          6 possible for the clients to communicate with each
 7 establishing?                                            7 other directly; is that accurate?
 8    A In some cases there's direct                        8       ATTORNEY BLOCK: Objection to form.
 9 communication -- realtime communication between the      9     A Yes.
10 devices.                                                10     Q (BY ATTORNEY WEINBERG) I have seen a lot
11        So if I call you, in some scenarios the          11 of references to "signaling servers" in the
12 packets will actually not go through the relay. But     12 documents.
13 in order to establish -- to -- like, in order to        13        What's the difference between the relay
14 establish that channel, you have to go through the      14 servers and the signaling servers?
15 relay first. But the actual packets are not proxied     15     A There are two main flows in establishing
16 in that case.                                           16 the call on WhatsApp. The first part that happens
17        So in about 50 percent of the cases, the         17 at the beginning when you set up the call is called
18 relay acts as a proxy; but in the rest of them, it      18 signaling.
19 does not act as a proxy.                                19        And the second part that happens -- that
20     Q How do you determine -- or how does the           20 transfers the real -- makes the realtime
21 system determine whether the relay will be acting as    21 communication between the devices is the relay.
22 a proxy between clients and when it will not?           22     Q I guess I need some clarification. The --
23     A It is based on heuristics and whether             23 you said earlier that the relay servers facilitate
24 we -- we can establish a direct connection between      24 the creation of the connection?
25 the devices or not.                                     25     A Of the realtime channel.


                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                            YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 10 of 144

                                                 Page 34                                                    Page 35
1       Q Of the realtime channel.                          1    A Yes.
2          So could you clarify what's the difference       2    Q -- in the --
3 between establishing the creation of the realtime         3    A The VoIP signaling is a module within
4 channel versus initiating -- setting up a call,           4 chatd.
5 which is done by the signaling servers?                   5    Q And so the voice signaling uses the chat
6          ATTORNEY BLOCK: Objection to form.               6 functionality of WhatsApp to establish calls?
7       A So just to clarify, the difference between        7    A To start the call.
8 the -- yeah.                                              8    Q To start the call.
9       Q (BY ATTORNEY WEINBERG) Yeah, sorry. The           9         And once it starts the call, the -- the
10 signaling servers, you said, set up the call.           10 relay server establishes the realtime channel?
11          And then you said that the relay servers       11     A Exactly.
12 will help establish the realtime channel and then       12     Q And then half the time -- or some portion
13 sometimes proxy data from one client to the other;      13 of the time that relay server will then proxy data
14 is that accurate?                                       14 between the two clients and in other instance it
15      A Yes.                                             15 will -- the two clients will access -- will
16          ATTORNEY BLOCK: Objection, misstates the       16 communicate directly in a peer-to-peer fashion?
17 testimony.                                              17          ATTORNEY BLOCK: Objection to form.
18      Q (BY ATTORNEY WEINBERG) Could you expound a       18     A Yes.
19 little bit on that -- those two different functions?    19     Q (BY ATTORNEY WEINBERG) So we will get into
20      A Yes. So the setup of the call always             20 all of this in detail in a little bit. I just
21 starts with the signaling server. And the signaling     21 wanted to close the loop on this resume.
22 server is the same server that we use for chat, so      22          In 2019, shortly after the stanzaming
23 it's synonymous with chatserver.                        23 investigation, your title changed to software
24      Q Is that what's referred to as the                24 engineering manager for application security; is
25 chatdservers --                                         25 that correct?
                                                 Page 36                                                    Page 37
 1     A Yes.                                               1 partner that was assigned to WhatsApp.
 2     Q And that was a position you held from 2019         2         And part of the security team was not
 3 to 2021?                                                 3 just -- not just hiring new people that worked full
 4     A Yes.                                               4 time for WhatsApp, but it was also working
 5     Q Could you describe your work and                   5 cross-functionally with other teams in Facebook like
 6 responsibilities in that position?                       6 the Facebook security team.
 7    A So the main responsibility that I had for           7         And there were already people assigned to
 8 the WhatsApp application security team is to drive       8 WhatsApp before we had the team. It was just not
 9 the roadmap for hardening and improving security        9 organized in the same way that we did it after.
10 across WhatsApp.                                        10     Q Do you remember in 2019, when you became
11     Q And was this a new position created in            11 the software engineering manager for application
12 response to the stanzaming incident?                    12 security, who you reported to?
13        ATTORNEY BLOCK: Objection to form;               13     A The first manager that I had was
14 foundation.                                             14       .
15     A I'm not sure what you mean by -- like, in         15     Q And you had another manager after that,
16 response to that.                                       16 evidently?
17     Q (BY ATTORNEY WEINBERG) Was there a                17     A Yeah, he left the company. And then the
18 security team before you took over as the security      18 next manager that I had was                .
19 engineering manager?                                    19     Q And then how big was your team by the end
20        ATTORNEY BLOCK: Objection to form.               20 of 2019?
21     A There were people working on security, but        21     A By the end of 2019, I have to remember,
22 it was not a team dedicated to it.                      22 but I think we only had three years, I believe, in
23     Q (BY ATTORNEY WEINBERG) What's the                 23 the team.
24 difference?                                             24     Q And who were they?
25     A So we had, for instance, a security               25     A I believe                         and
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25     Page 11 of 144

                                                 Page 38                                                   Page 39
1       .                                                   1 of "Highly Confidential, Attorneys' Eyes Only."
2     Q Can I grab Exhibit 11 -- actually, it's             2     Q (BY ATTORNEY WEINBERG) Who wrote this or
3 1083, but it'll be Document Exhibit 1149. This was        3 created this PowerPoint? Do you know?
4 used yesterday or two days ago.                           4     A It was a collaboration between multiple
5         ATTORNEY WEINBERG: 1083.                          5 people. I collaborated with. Otto Ebeling
6         (Exhibit 1083 was marked for                      6 collaborated as well. Brendon Tiszka, I believe,
7 identification and is attached to the transcript.)        7 collaborated, and Andrey Labunets.
8     Q (BY ATTORNEY WEINBERG) Do you recognize             8     Q Who is Otto Ebeling?
9 this document?                                            9     A Otto Ebeling is a security engineer. He
10    A Oh. It's a presentation. Yes, I                    10 used to be in the Facebook security team at the end
11 recognize this document.                                11 of the investigation, and he worked closely with us
12    Q What is Exhibit 1083?                              12 on the investigation.
13    A It is a presentation of the technical              13     Q At the tail end of this Exhibit 1083, it
14 details of the attack that we found and remediated      14 says -- on page 25, is a slide entitled "Going
15 in May 2019.                                            15 Forward. And it says:
16         It was presented internally inside              16            The WhatsApp security team is
17 Facebook. It was not an external document.              17        hiring.
18    Q When was it presently internally? Do you           18        Do you see that?
19 remember?                                               19     A Yes.
20    A I don't remember the exact date.                   20     Q It says:
21 Somewhere between September and November 2019, I        21            The WhatsApp security team has
22 believe.                                                22        been created and will be focusing
23         ATTORNEY BLOCK: I'm going to take this          23        on engineering work to improve the
24 opportunity before I forget to designate the            24        security of WhatsApp. Reach out to
25 transcript for confidentiality with the designation     25        Claudiu Gheorghe if you want to
                                                 Page 40                                                   Page 41
1        join WhatsApp security.                            1 there was a lot of awareness. And a lot of people
2        Do you see that?                                   2 were -- a lot of the engineers were really
3     A Yes.                                                3 interested and passionate to make security better
4     Q So I was hoping you could tell me a little          4 after we had -- we -- we started talking about the
5 bit more about this team and whether it was created,      5 details of the attack and how sophisticated these
6 it appears, in response to the stanzaming incident.       6 attacks are.
7        ATTORNEY BLOCK: Objection to the form of           7        So there was a lot of interest from
8 the question. Mischaracterizes the evidence;              8 engineers and from leaders to do more of this type
9 assumes facts.                                            9 of work to prevent...
10     A This team -- the scope of this team and           10     Q Understood.
11 the plan to build a team like that existed prior to     11        Why did you leave WhatsApp?
12 the incident.                                           12     A There's a long list of reasons. I was --
13     Q (BY ATTORNEY WEINBERG) Oh. When --                13 primarily -- there's some personal stuff that I
14     A Every product team inside Facebook had a          14 don't want to talk about. I mean, I could, if you
15 security team at that moment, so I remember talking     15 really want to.
16 about what -- about having a security team              16        But the primary one was I was there -- it
17 beforehand. I don't remember exactly the details of     17 was my first full-time job. I had never worked at
18 the conversations. I -- it's been a while since         18 any other company before -- before Facebook.
19 then.                                                   19        It was -- I was closing in on almost,
20        But the idea of having a security team           20 like, 10 years. I was actually planning to leave
21 already existed. We already had security partners       21 around, like, the time of the attack.
22 championing that idea internally.                       22        And after this attack, I just became so
23        The reason why we thought it was a good          23 interested and fascinated by what happened that I
24 thing to do is because we got so many ideas after       24 continued my tenure.
25 the incidents about what we can do, and it became --    25        So it was really just -- in my career, if
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 12 of 144

                                                 Page 74                                                    Page 75
 1     A I don't know the reason for that.                  1    Q Who is                      ?
 2     Q There's four authors listed on the front           2    A He is a team member of Otto working from
 3 of this paper. I just want to run through who each       3 London on understanding the attack. He's a security
 4 of these people are.                                     4 engineer.
 5        Who is Andrey Labunets?                           5    Q So he reported to Otto?
 6     A Andrey.                                            6    A I don't think so. Otto was not a manager.
 7     Q Andrey Labunets.                                   7 He was a senior IC on his team. And              was
 8     A He's a member of the incident response             8 another individual contributor on the same team with
 9 team -- security incident response team at Facebook.     9 Otto.
10     Q And what was his relationship to this             10     Q So             and Otto would be peers within
11 project?                                                11 the organization?
12     A He was one of the main coordinators of the        12     A Yes.
13 project on the security side. Me and him were           13     Q And who is Brendon Tiszka?
14 basically the main coordinators for the project.        14     A He is a security engineer, a member of the
15     Q When you say "on the security side," what         15 Facebook security team in Menlo Park.
16 do you mean by that?                                    16     Q Do you know why or -- scratch that -- how
17     A So in order to fulfill the investigation          17 WhatsApp chose who would be the authors of this
18 and the remediation, it was a collaboration between     18 report?
19 experts in WhatsApp and also WhatsApp en -- also        19        ATTORNEY BLOCK: Objection to form.
20 experts outside of the WhatsApp team like Andrey and    20     A WhatsApp did not choose the authors of
21 Otto and all the other members of this presentation.    21 this report.
22     Q All right. So we spoke about Otto Ebeling         22     Q (BY ATTORNEY WEINBERG) You contributed to
23 before. You said that he was highly involved with       23 this report, didn't you?
24 this project? That's correct?                           24     A My contribution was limited only with the
25     A Yes.                                              25 review of the document and making suggestions on it,
                                                 Page 76                                                    Page 77
 1 but I did not contribute it, like, actual content.      1 what's in here is accurate?
 2    Q You didn't author it?                              2     A Yes.
 3    A I did not author it.                               3     Q All right. We spoke earlier about Exhibit
 4    Q But you reviewed it and provided feed --           4 1083, the PowerPoint. Do you have that?
 5    A Feedback.                                          5        And I think you said that was an internal
 6    Q -- back?                                           6 PowerPoint that was a collaboration between multiple
 7        THE COURT STENOGRAPHER: I didn't hear the        7 employees, including you; is that correct?
 8 answer.                                                 8     A Yes.
 9    A I'm sorry.                                         9     Q And this PowerPoint corresponds to this --
10         And provided feedback.                          10 to the White Paper at 1148?
11     Q (BY ATTORNEY WEINBERG) And so this is the         11        ATTORNEY BLOCK: Objection to form.
12 official account of WhatsApp's technical analysis of    12     A These documents are related, but I
13 the stanzaming episode?                                 13 wouldn't say they correspond -- like, it corresponds
14         ATTORNEY BLOCK: Objection to form.              14 to the other one.
15     A What do you mean by "official"?                   15        They're different contexts that they were
16     Q (BY ATTORNEY WEINBERG) This document              16 written and authored, so I would treat them as
17 reflects WhatsApp's internal technical analysis of      17 separate documents.
18 the stanzaming incident?                                18     Q (BY ATTORNEY WEINBERG) But they -- are you
19         ATTORNEY BLOCK: Objection to form.              19 aware of any inconsistencies in their technical
20     A Especially given the list of authors, I           20 analysis of the incidents between these two
21 would characterize it as the un -- it's the document    21 documents?
22 that reflects the understanding of Facebook security    22        ATTORNEY BLOCK: Objection to form.
23 about the attack against WhatsApp.                      23     A I'm not aware right now of any
24     Q (BY ATTORNEY WEINBERG) And since you're           24 inconsistency between them.
25 one of the reviewers of this paper, you believe that    25     Q (BY ATTORNEY WEINBERG) All right. Because
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25     Page 13 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                  Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                   Pages· 78..81
                                                 Page 78                                                   Page 79
1 it just seems like it's a PowerPoint presentation of      1 devices or --
2 this paper, so --                                         2    Q So it runs on?
3      A I don't think it was that.                         3    A -- on mobile devices or as a web client.
4      Q No.                                                4    Q So the client application is not something
5      A They were done in different contexts. I            5 that runs on WhatsApp servers?
6 mean, they're related. They're on the same topic,         6    A That is correct.
7 but I don't think we wrote them together,                 7    Q It's like the app that I download off --
8 essentially.                                              8    A Exactly.
9      Q Okay. So the White Paper starts, if you            9    Q -- the store?
10 turn to page -- page 4, with a section                  10         What is the server application?
11 entitled "WhatsApp VoIP Architecture."                  11     A The server application is the server that
12         Do you see that?                                12 is used between -- for clients to send messaging or
13     A Yes.                                              13 other types of messages between each other.
14     Q So I just want to talk about the VoIP             14     Q Okay. The White Paper says here:
15 architecture, the fun stuff, what -- what it looked     15             The server functions as an
16 like, in 2019. Or more specifically how it existed      16         intermediary between the WhatsApp
17 on May 1, 2019.                                         17         applications.
18         The document here says the WhatsApp VoIP        18         Do you see that part?
19 architecture has server and a client application. I     19     A Yes.
20 think we touched on this earlier.                       20     Q I'm trying to get a sense of what that
21         Do you recall?                                  21 means. So the job of the server as an intermediary
22     A Yes.                                              22 is to transit messages from one client application
23     Q And so what is the client application?            23 to another.
24     A The client application is an official             24         Is that what this is referring to?
25 application built by WhatsApp to run on mobile          25         ATTORNEY BLOCK: Objection to form.
                                                 Page 80                                                   Page 81
 1    A Yes.                                                1 the call -- the initiation of the call starts with
 2    Q (BY ATTORNEY WEINBERG) So we spoke about            2 the signaling server, but there's -- there's some
 3 two different kinds of messaging earlier, the            3 parts of the communication between the phone that
 4 signaling servers and the relay servers.                 4 also the relay is facilitating at the beginning. So
 5        I just want to make sure that we                  5 it's --
 6 distinguish those and talk a little bit about the        6     Q (BY ATTORNEY WEINBERG) So --
 7 functionality of each of them. So the White Paper        7     A -- a shared responsibility between
 8 says that the application -- I'm sorry --                8 signaling and the relay server.
 9            The server application helps                  9     Q Okay. Can you explain to me how that
10         the clients establish a call.                   10 works?
11         Is this referring to the signaling server?      11      A What part of it?
12 Let me --                                               12      Q You said that there was a shared
13         ATTORNEY BLOCK: I object -- I'm going to        13 responsibility for initiating calls; the signaling
14 object to the question.                                 14 server performed some functions the relay server
15      Q (BY ATTORNEY WEINBERG) -- let me withdraw        15 performs some attended functions as well?
16 and rephrase. I'm just trying to get a sense of --      16      A Yes.
17 when this paper -- White Paper is talking about the     17      Q I just wanted you to break that out for me
18 server application, I'm trying to figure out if it's    18 so I understand what functions they perform and how
19 talking about both of those kinds of servers or just    19 they perform them.
20 one.                                                    20         ATTORNEY BLOCK: Objection to form.
21         So my first question is: For establishing       21      A The signaling server is used to initiate
22 a call, that's the signaling server, from my            22 the voice or video call. Everything starts with the
23 understanding; is that correct?                         23 signaling server.
24         ATTORNEY BLOCK: Object to form.                 24         It is using a previously authenticated
25      A It is partially correct. So a starting of        25 channel that is also used for messaging to initiate


                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                            YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 14 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                    Pages· 90..93
                                                 Page 90                                                    Page 91
 1 but it's the same system that Facebook uses for all      1     Q So when we're at the logical layer, the
 2 the other products like Instagram and other things.      2 WhatsApp DNS resolver is sending out this request to
 3    Q Can a request specify that it has to go to          3 its chosen edge load balancer, which it chooses on
 4 a particular edge load balancer?                         4 its own?
 5        ATTORNEY BLOCK: Objection to form.                5     A Which is a logical, yes.
 6    A Not that I'm aware of.                              6     Q So what I'm asking is: How many choices
 7    Q (BY ATTORNEY WEINBERG) Where are -- I'm             7 does the WhatsApp DNS resolver have?
 8 sorry. Scratch that.                                     8     A Yes. More than hundred.
 9        You said the edge load balancer is a              9     Q Over a hundred.
10 logical server; is that correct?                        10        And so behind those 100 logical servers
11     A Yes.                                              11 that implement the edge load balancer, there are
12     Q How many are there -- or were there in            12 also physical servers, correct?
13 2019?                                                   13      A Yes, at every layer of the load balancing
14     A How many logical servers?                         14 there are -- so every layer has its own logical and
15     Q How many logical -- how many logical              15 physical set of servers.
16 servers implemented the edge load balancing layer in    16        In one PoP in one edge location there's
17 2019?                                                   17 typically, like, either four or four racks of
18         ATTORNEY BLOCK: Objection to form.              18 servers, which is, like, somewhere between, like,
19     A So how many locations across the globe?           19 32 and 128, I think, servers for each edge location.
20     Q (BY ATTORNEY WEINBERG) No. So there -- we         20      Q So are all the physical servers of any
21 spoke about logical servers and the physical            21 given logical server of the edge load balancer in
22 servers --                                              22 the same location? Maybe I'll rephrase the question
23     A Yes.                                              23 for you.
24     Q -- behind them?                                   24      A Yes, please.
25     A Yeah.                                             25      Q You said that there's over a hundred
                                                 Page 92                                                    Page 93
 1 logical servers that implement edge load balancing?     1     Q (BY ATTORNEY WEINBERG) All right. So just
 2        ATTORNEY BLOCK: Objection to form.               2 to be clear -- I just want to make sure that the --
 3    A There are hundred -- more than a hundred           3 once a request is sent to a logical server at a
 4 locations across the globe that are edge locations.     4 particular edge location, the physical server that
 5    Q (BY ATTORNEY WEINBERG) Okay. And so each           5 will handle that request is going to be at that same
 6 one of these locations will have one or more logical    6 location at a particular location, the edge
 7 servers there that can be addressed by requests         7 location?
 8 coming from the WhatsApp DNS resolver?                  8         ATTORNEY BLOCK: Objection to form.
 9        ATTORNEY BLOCK: Objection --                      9    A What do you mean by "handling"?
10     A Yes.                                              10     Q (BY ATTORNEY WEINBERG) Well, requests are
11         ATTORNEY BLOCK: -- to form.                     11 handled -- in a client server architecture, clients
12     Q (BY ATTORNEY WEINBERG) Is it typically one        12 send requests to servers and servers handle the
13 logical server per location or were there some          13 requests, right?
14 locations that had multiple logical servers?            14        ATTORNEY BLOCK: Objection to form.
15         ATTORNEY BLOCK: Objection to form.              15     A So my understanding of the handling, it
16     A What I understand as a logical server in          16 depends on the layer of -- in the software stack.
17 this case is what we call a virtual IP.                 17        The edge location will only do minimal
18         And every edge location has a lot of            18 handling. Like, it does some handling of the
19 virtual IPs for every Facebook service. So this is      19 request with regards to routing.
20 shared infrastructure that all of Facebook services     20        So it will unpack the header of the
21 use.                                                    21 request and look for some information in that header
22         Instagram will have their own IP.               22 to see to -- to see what data center it has to route
23 WhatsApp has their own IP. And behind that IP is --     23 the request to, but it doesn't do more than that.
24 it's a virtual IP, so it'll have a bunch of servers     24     Q (BY ATTORNEY WEINBERG) So there's two
25 behind it.                                              25 different layers of load balancing that you



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25     Page 15 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                  Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                 Pages· 114..117
                                                Page 114                                                  Page 115
1     A So these are concurrent. So as soon as              1 caller; and now if the callee picks up the phone,
2 the caller receives -- the -- the callee receives         2 his device will send an Answer stanza somewhere?
3 the offer, as soon as it's processed and it starts        3     A To the chatd.
4 ringing in the same time, it also sends back a            4        ATTORNEY BLOCK: Objection to form.
5 confirmation to the server that it started ringing.       5     Q (BY ATTORNEY WEINBERG) The caller, once
6        And I don't recollect specifically the             6 the caller picks up the phone, the caller's phone
7 name of that stanza, but I think it's a -- I think        7 will send an Answer stanza back to the chatdserver,
8 it's an offer ACK that is being sent.                     8 right?
9     Q (BY ATTORNEY WEINBERG) Okay. What then              9        ATTORNEY BLOCK: Object to form.
10 does the chatdserver do once it receives this offer     10      A The caller will send back an answer when
11 ACK?                                                    11 the user presses the "Answer" button, yes.
12     A I think what it does is it forwards the           12         ATTORNEY BLOCK: Did you say "caller" or
13 ACK to the call so that the caller can also start       13 "callee" on that one? I got confused.
14 the ring -- the ringing process.                        14      Q (BY ATTORNEY WEINBERG) The callee would
15     Q Have you heard the term "offer" --                15 send the answer?
16 sorry -- "Answer stanza"?                               16         ATTORNEY BLOCK: I think we have got
17     A Yes.                                              17 testimony about the "caller" sending an answer
18     Q I saw it in some of the documents.                18 stanza.
19        What is it is Answer stanza?                     19         ATTORNEY AKROTIRIANAKIS: I'm sure she is
20     A The Answer stanza, I believe, is the              20 going to have to listen when she goes through it, I
21 stanza that is sent from the callee at the moment       21 hope.
22 the user presses the "Answer" button and accepts the    22      A Yeah, that's not accurate. So the answer
23 call.                                                   23 is only sent by the callee.
24     Q All right. So at our current step, the            24      Q (BY ATTORNEY WEINBERG) Got it. All right.
25 chatdserver sent the offer ACK back to the -- to the    25 At that point is there a peer-to-peer connection
                                                Page 116                                                  Page 117
 1 established?                                             1 that the caller has been reached and the offer was
 2    A No.                                                 2 ACK'd by the callee.
 3        ATTORNEY BLOCK: Objection to form.                3        And once they both know that -- both --
 4    Q (BY ATTORNEY WEINBERG) Okay. So what                4 they know about each other, that they're aware that
 5 happens next?                                            5 there's a call happening, this is when the -- the
 6    A Even before the answer happens, there's a           6 relay and bandwidth negotiation starts happening.
 7 negotiation process between the caller and the           7    Q (BY ATTORNEY WEINBERG) Okay. Tell me
 8 callee about the latency, about the bandwidth that       8 about what you mean by "the relay and bandwidth
 9 is going to be used. So all that negotiation             9 negotiation."
10 happens before there's any -- any answer.               10         ATTORNEY BLOCK: Objection to form.
11     Q Okay. So then I'll go back one step.              11     A About each of them or --
12        The chatdserver sent the offer ACK to the        12     Q (BY ATTORNEY WEINBERG) I just want to know
13 caller and now a negotiation process begins, you        13 the steps that are involved in the negotiation
14 say?                                                    14 process that you just mentioned.
15        ATTORNEY BLOCK: Objection to form.               15         ATTORNEY BLOCK: Objection to form.
16     A Sorry. So the -- the caller -- can you            16         Wait for a question.
17 repeat the last part?                                   17     Q (BY ATTORNEY WEINBERG) What are the steps
18     Q (BY ATTORNEY WEINBERG) The callee sends an        18 of the negotiation process you just mentioned?
19 acknowledgment back to the chatdserver, the offer       19         ATTORNEY BLOCK: Objection to form.
20 acknowledgment, and what happens next?                  20     A About what negotiation?
21        You talked about a negotiation process.          21     Q (BY ATTORNEY WEINBERG) You testified that
22        ATTORNEY BLOCK: Objection to form.               22 the chatdserver sends the offer ACK back to the
23     A The chat server will forward the offer ACK        23 caller.
24 or send another stanza that I don't remember its        24         And after that happens and the two -- the
25 name. But it would signal to the callee, the fact       25 caller and the callee know that they are now ready



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                            YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 16 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 118..121
                                                Page 118                                                   Page 119
1 to communicate, a negotiation process begins wherein      1 callee attempt to connect to every relay in that
2 the caller and callee negotiate the relay and             2 list using the authorization token.
3 bandwidth parameters.                                     3     Q Okay. So to rephrase what you said, the
4         I would like to understand, if you could          4 chatdserver provides a list to the two clients of
5 explain to me, what that negotiation entails.             5 relay servers and provides them authentication
6         ATTORNEY BLOCK: Objection to form;                6 credentials, and each one tries to connect to the --
7 misstates.                                                7 to all of the relay servers provided to them by the
8     A So this negotiation, the relay                      8 chatdserver?
9 negotiation, starts by every -- both caller and           9     A Authorization token.
10 callee probing -- reaching all the relays in the        10         ATTORNEY BLOCK: Objection to the form;
11 list of relays that were distributed by the chat        11 misstates.
12 server.                                                 12      A Authorization token. It's only
13     Q (BY ATTORNEY WEINBERG) Sorry. Say that            13 authorization. It's not authentication.
14 again.                                                  14      Q (BY ATTORNEY WEINBERG) Okay. Tell me --
15     A So both caller and callee will attempt            15 what is that authorization token?
16 connecting to every relay in the list of relays that    16      A So the relay server is designed in a way
17 they both -- they were both given by the signaling      17 that it does not perform advanced authentication of
18 server.                                                 18 the devices that send data to it.
19     Q Okay. What's next?                                19         It operates at a lower security level
20     A This process is done not just by the              20 where the only thing that it does is validates an
21 IP address, but also by an authorization token that     21 authorization token that has a low expiration time.
22 is unique to the call. So both caller and callee        22         So as long as you have a valid token, you
23 will be passed a unique authorization token to use      23 can use the relay. So that is authorization for
24 only those specific relays.                             24 authentication, but we don't -- we don't
25         And using the token, both the caller and        25 authenticate the users of the relay.
                                                Page 120                                                   Page 121
1     Q (BY ATTORNEY WEINBERG) Okay. What is the            1 got done saying that?
2 purpose of trying to connect to all those relays?         2     A Yes, the chatdservers decide that. Yes.
3     A The purpose of connecting to the relays is          3     Q Okay. And then there's a second choice,
4 firstly to see which one is available; and second,        4 evidently, that you talked about just before this
5 to measure the latency to each of them.                   5 where the clients connect to this list of relay
6     Q Let me ask: How does the chatdserver                6 servers and then they -- each one decides which one
7 decide which relay servers to give to these two           7 of the connections to then use; is that --
8 clients?                                                  8     A I think it's a little confusing -- there's
9        ATTORNEY BLOCK: Object to form.                    9 some confusion in there, so let me clarify.
10    A The decision to pick -- to select the list         10     Q Sure.
11 of relays is based on latency measurements. And the     11     A Both the server -- both the signaling
12 information that it uses is the caller IP address       12 server and the clients make a decision in this
13 and the last seen IP of the callee.                     13 process. It's a hybrid decision.
14        The algorithm that we used at that time          14         So the server picks the top five, let's
15 was essentially to find the top three of each --        15 say, or three. But in the end, each client picks
16 based on each IP address, and we merged the list so     16 its own, like, relay to use, and that's just one.
17 that the sum of the latency is -- is the lowest.        17 But the client decides that based on the short list.
18        So we choose the top lowest latency sum in       18     Q Do the two clients have to agree on a
19 that merged list of the relays, and that's the one      19 specific relay server to use?
20 that we delivered to both of them.                      20     A They don't. The -- the network paths are
21    Q (BY ATTORNEY WEINBERG) Okay. So the                21 completely asynchronous and, like, they don't need
22 chatdserver chooses which relay servers the clients     22 to be the same.
23 should attempt to connect to?                           23         So the packets -- if I initiate a voice
24        ATTORNEY BLOCK: Object to form.                  24 video call to you, the packets that I sent to you
25    Q (BY ATTORNEY WEINBERG) I think you just            25 don't need to take the same network path that



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25     Page 17 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                  Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                 Pages· 130..133
                                                Page 130                                                  Page 131
1     A I'm not sure what you mean by "the parts            1       ATTORNEY WEINBERG: Do you want to do
2 of the server."                                           2 lunch?
3     Q (BY ATTORNEY WEINBERG) Areas in storage.            3       ATTORNEY BLOCK: -- it's 12:45 now.
4        ATTORNEY BLOCK: Same objection.                    4    A Yeah, I can probably -- I mean, it's up to
5     A What storage?                                       5 guys as well.
6     Q (BY ATTORNEY WEINBERG) Well, computers              6       ATTORNEY BLOCK: Do you mind if we break?
7 have computer storage, right? Memory? Hard drives?        7       ATTORNEY MARZORATI: Yeah, let's do lunch.
8     A So the chat servers do not store                    8    A No.
9 information on, like, themselves.                         9       ATTORNEY WEINBERG: Let's go off the
10    Q When a computer operates, it accesses              10 record.
11 memory, right?                                          11        THE VIDEOGRAPHER: 12:45 p.m.
12    A Yes.                                               12        (A break was taken from 12:45 p.m. to
13    Q Okay. The chatdservers have memory that            13 1:49 p.m.)
14 they access?                                            14        THE VIDEOGRAPHER: We are back on the
15    A Yes.                                               15 record at 1:49 p.m.
16    Q And when they execute, they access that            16     Q (BY ATTORNEY WEINBERG) All right. Thanks.
17 memory?                                                 17 Welcome back from lunch. Just a few cleanup items
18    A Yes.                                               18 of some of the topics we spoke about earlier today.
19    Q And so when they execute code written by           19        The -- we spoke about the servers, the
20 WhatsApp, they access only those parts of the memory    20 physical and logical servers and the whole
21 that WhatsApp had programmed them to access?            21 infrastructure for routing messages in WhatsApp's
22       ATTORNEY BLOCK: Objection to form.                22 VoIP infrastructure. You spoke about the edge load
23    A Yes.                                               23 balancers.
24       ATTORNEY BLOCK: I just want to do a time          24        I just want to confirm: How many -- in
25 check. You had talked about --                          25 2019, how many servers were there that were
                                                Page 132                                                  Page 133
 1 performing this edge load balancing?                    1 California.
 2     A Are you referring to how many locations,          2    Q In 2019?
 3 like, clusters or logical servers or how many           3    A In 2019, yes.
 4 physical servers?                                       4    Q Do you have an approximation of about how
 5     Q So let's start with the locations.                5 many?
 6     A From my understanding, it was somewhere --        6    A Two.
 7 the number of locations was around a hundred.           7    Q Two.
 8    Q And where were those locations?                    8       Two total locations in California out of
 9    A So the locations are basically Internet            9 the 100?
10 exchange points on the Internet. And they're            10    A Yes.
11 geographically distributed, so they're essentially      11    Q Okay. Are those data center locations?
12 in many countries, continents, all over the globe.      12    A Edge locations. Not data centers.
13     Q And how many servers were implementing            13    Q Okay. So as far as the data centers, how
14 that edge load balancing layer?                         14 many data centers did WhatsApp utilize in 2019?
15         ATTORNEY BLOCK: Objection to form.              15    A From my recollection, we had -- WhatsApp
16     A I don't remember exactly how many servers         16 had three data centers all located in the United
17 we had in total in all these edge locations. I just     17 States in 2019 for chat.
18 know that in general the number was somewhere           18    Q And where were they?
19 between 32 and a 120.                                   19    A One of them was Altoona. The other one
20         Like, some of them even had 200 servers in      20 was in Virginia. And then there was another one in
21 them, so I don't know the total number.                 21 New Mexico, I believe.
22     Q (BY ATTORNEY WEINBERG) Okay. And these            22    Q Altoona, that's --
23 hundreds of locations, were any of them in              23    A That's in Iowa.
24 California?                                             24    Q -- Iowa?
25     A Some of them are in California -- were in         25    A Yeah.


                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                            YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 18 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 134..137
                                                Page 134                                                   Page 135
 1    Q Any others?                                        1     A Would you want to be more specific with
 2    A Not from what I remember.                          2 regards to, like, what authorization --
 3    Q Okay. So we spoke about the chatdservers           3     Q (BY ATTORNEY WEINBERG) Sure. Let's start
 4 and the relay servers. I'll start with the              4 with the load balancers. All right.
 5 chatdservers.                                           5         The edge load balancers, when it receives
 6       Where were they implemented? The                  6 a request, will it process it automatically or will
 7 computers that executed the chatd functionality,        7 it check for some kind of authorization?
 8 where were they located?                                8         ATTORNEY BLOCK: Object to form.
 9    A They were located in the data centers that         9     A The edge location, in case of the relay,
10 we just mentioned.                                      10 it will check the author -- authorization token in
11    Q Okay. And the relay servers, were they             11 the STUN message that is sent by the client.
12 also located in the data centers we just mentioned?     12         And if that token is not valid, it will
13    A No.                                                13 not allow the use of the relay.
14    Q Okay. Where were they located?                     14     Q (BY ATTORNEY WEINBERG) And that's those
15    A The relay servers were located in the edge         15 temporary tokens that don't do authorization -- I'm
16 locations that we talked about earlier.                 16 sorry -- that don't do authentication --
17    Q And those edge locations are the 100               17     A Exactly.
18 locations, including the two in California?             18     Q -- but instead do authorization?
19    A Yes.                                               19     A Exactly.
20    Q Okay. In order to access one of these              20     Q And what about the chatdservers? What
21 servers, for example, the chatdserver or the relay      21 kind of credentials are required for accessing the
22 servers or one of these load balancing servers,         22 functionality implemented by the chatdservers?
23 there is presumably some kind of either                 23         ATTORNEY BLOCK: Objection to form.
24 authorization or authentication that occurs? Yes?       24     A The chatdservers -- and just to be clear,
25        ATTORNEY BLOCK: Object to form.                  25 we're talking about the servers in the data centers
                                                Page 136                                                   Page 137
 1 now, not in the edge locations?                          1     Q And the client passes it along with every
 2    Q (BY ATTORNEY WEINBERG) Are the                      2 request that it makes to the chatdserver?
 3 chatdservers in the edge locations?                      3     A It doesn't. It's more complicated.
 4    A No.                                                 4     Q Okay. Tell me --
 5    Q So then the chatdservers in the data                5     A It's -- it's part of the handshake -- the
 6 centers?                                                 6 initial handshake that it does with the chatd. But
 7    A In the data centers, which is only load             7 from that point on, it uses a preshared key to -- it
 8 balancers in the edge locations.                         8 uses a negotiated shared key to encrypt the rest of
 9       And those will not perform authentication          9 the traffic.
10 for the chat traffic. The authentication happens on     10      Q Got it. How are the original credentials
11 the chat servers inside the data centers.               11 obtained?
12        And it's based on -- it's a proprietary          12      A The credentials are obtained through the
13 protocol -- it's the noise protocol that essentially    13 registration process to WhatsApp.
14 provides both encryption and authentication at the      14      Q Okay. And what does WhatsApp then send
15 same time.                                              15 the user that constitutes these credentials?
16     Q Okay. Tell me about this authentication           16         ATTORNEY BLOCK: Object to form.
17 protocol for accessing the chatdservers.                17      A I'm not sure what you mean by "what does
18        ATTORNEY BLOCK: Object to form.                  18 it send to users."
19    A What specifically do you want to know              19      Q (BY ATTORNEY WEINBERG) When the user needs
20 about it?                                               20 to authenticate the chatdservers, it needs to
21    Q (BY ATTORNEY WEINBERG) What is the form of         21 provide some kind of authenticating information, so
22 the credentials?                                        22 I'm asking: What does WhatsApp provide the client
23    A In a simplified way, the credential is             23 to help it authenticate those requests?
24 essentially an identity key that's stored on the        24         ATTORNEY BLOCK: Object to form.
25 client device.                                          25      A So in order to validate -- to



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 19 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 138..141
                                                Page 138                                                   Page 139
 1 authenticate, the WhatsApp server sends an               1     A You can refer to it as a private key, yes.
 2 activation code to verify that the person who            2     Q (BY ATTORNEY WEINBERG) Okay. And how does
 3 initiates the registration process has ownership         3 it use that private key to authenticate to the
 4 over the phone number.                                   4 chatdserver?
 5        And it's over SMS. So we'll send the code         5     A It is a complex protocol which is part of
 6 over SMS. In using that code, the client can finish      6 what noise does, but it's essentially a key to
 7 the registration process. And after that is              7 there.
 8 finished, the credentials are being admitted.            8        So there's a public key and a private key.
 9        But just to be clear, that identity key           9 The public key is what is sent to the server so the
10 that I was talking about is never seen by the           10 server can verify that the client is indeed who --
11 server. It's the basis of the internal encryption.      11 who they claim they are.
12 So the identity key -- identity key is never -- does    12         So there's multiple keys involved. And
13 not -- does never leave the client device.              13 this protocol is fairly complex. So I'm not an
14      Q I'm not sure that I followed all of that.        14 encryption expert, by the way, so I can talk to some
15         The identity key is -- how does it arrive       15 aspects of it, but I don't know, like, the -- very
16 at the client device?                                   16 little details of, like, how -- how, like -- all the
17         ATTORNEY BLOCK: Objection to form.              17 steps involved and all the types of keys. There are
18      A It is generated -- like, it is generated         18 multiple keys involved in this process.
19 locally by the client device before the registration    19         But the idea is that the identity key is
20 starts and when someone installs the app on their       20 something that -- or the private key does never
21 phone.                                                  21 leave the client device.
22      Q (BY ATTORNEY WEINBERG) So the client             22      Q Okay. So client device uses this private
23 creates its own identity key kind of like a private     23 key to obtain a negotiated key with a chatdserver
24 key?                                                    24 for each session?
25         ATTORNEY BLOCK: Object to form.                 25         ATTORNEY BLOCK: Object to form.

                                                Page 140                                                   Page 141
1     A Yes.                                                1 chatdserver, the server then decrypts it using the
2     Q (BY ATTORNEY WEINBERG) Okay. And that               2 same shared key.
3 negotiated key is what gets passed to -- from the         3        How does it decide that it's an authentic
4 client to the chatdserver upon each request to the        4 message?
5 chatdserver?                                              5        ATTORNEY BLOCK: Object to form.
6     A The shared key not passed. The shared key           6    A It would not be able to decrypt the
7 is only used an encryption key for the -- as a block      7 content. And it would not pass all the -- the
8 cipher encryption key for the traffic.                    8 checks on the -- so the -- basically, the -- there's
9         And the server uses that shared key to            9 a verification process that checks whether the --
10 decrypt the -- that payload.                            10 the message was tampered with, it was modified.
11    Q And that same shared key is used to                11         And it will do all of that upon receival.
12 encrypt it?                                             12 The chatdserver will do that before using the
13    A By the client, yes.                                13 payload.
14    Q Okay.                                              14     Q (BY ATTORNEY WEINBERG) And that's just
15    A And this is only metadata, by the way. It          15 based on the shared key?
16 does not include, like, the actual content of the       16     A Yes.
17 messages. That's a different -- a different thing.      17     Q Okay. You told us a moment ago about the
18    Q I'm sorry. The key is used to encrypt              18 server locations for the chat features. And I think
19 only metadata?                                          19 that you testified earlier today that the VoIP uses
20    A The -- yes, it's used to encrypt the data          20 the -- those chat servers.
21 that is sent between the client and the server over     21         So I just want to confirm that the --
22 the Internet so that someone cannot just look at the    22 those server locations we discussed just now are for
23 traffic and understand what the client is talking       23 the -- are the servers being used for voice over IP.
24 with the server.                                        24         ATTORNEY BLOCK: Object to the form of the
25    Q When that message arrives at the                   25 question.


                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 20 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 202..205
                                                Page 202                                                   Page 203
1 factual basis for Plaintiffs' contention that            1        including a QuadraNet server in
2 Defendants purposely directed their conduct at           2        California.
3 California, including conduct at this QuadraNet          3        And I will refer generally to Responses
4 server, which I believe is this "220 server" in          4 and Objections that we served shortly after
5 paragraph 4?                                             5 receiving your amended notice.
6        ATTORNEY BLOCK: I object to the form of           6        ATTORNEY WEINBERG: All right. So I'm
7 the question. And that's not the witness's               7 asking about any factual basis that Plaintiffs have
 8 designation.                                            8 to contend that Pegasus or NSO had access -- had
 9       ATTORNEY WEINBERG: He's not designated on         9 contact with this QuadraNet server.
10 Topic 1?                                                10    Q (BY ATTORNEY WEINBERG) And is your
11       ATTORNEY BLOCK: He's not designated on            11 contention that the analysis by Andrew Robinson was
12 what you read.                                          12 simply that the user's target phone accessed this
13       ATTORNEY WEINBERG: Okay. What is he               13 QuadraNet server?
14 designated on for Topic 1?                              14        ATTORNEY BLOCK: I object to the form of
15       ATTORNEY BLOCK: He is designated to:              15 the question.
16           Provide relevant nonprivileged                16        The witness is here to provide testimony,
17       information as to matters known or                17 not contentions. And the question misstates the
18       reasonably available to Plaintiffs                18 record.
19       regarding Plaintiffs' understanding               19    Q (BY ATTORNEY WEINBERG) Okay. I think we
20       of the operation of the NSO spyware               20 may have exhausted your knowledge about these -- the
21       involved in NSO's unauthorized                    21 nature of the contact with these servers.
22       access to Plaintiffs' computers in                22        Do you know anything about the QuadraNet
23       May and April 2019, including the                 23 server, which is this Server 220 in paragraph 4?
24       contact of such spyware with                      24    A I reviewed a document that showed that
25       California-based infrastructure,                  25 this IP was assigned to QuadraNet as an
                                                Page 204                                                   Page 205
 1 organization. It was part of an IP range that was        1 that showed that this IP was part of an IP range
 2 assigned to QuadraNet.                                   2 assigned to QuadraNet in -- at that time.
 3        So that's a document that I reviewed, and         3    Q (BY ATTORNEY WEINBERG) Part of an IP range
 4 I can confirm that that's accurate.                      4 assigned to QuadraNet?
 5    Q (BY ATTORNEY WEINBERG) Okay. What                   5    A Yes.
 6 document did you review that said that?                  6    Q And so this range is encompassing how many
 7    A It was a document provided by -- I don't            7 IP addresses?
 8 remember the name of the person who provided the         8    A I don't remember the -- like, how large
 9 document.                                                9 was the IP range.
10        It was based on the MaxMind database, a          10     Q Do you know whether this particular IP in
11 public IP -- GeoIP database that showed an IP range     11 paragraph 4 was assigned to a server physically
12 that contained this IP address, and it was assigned     12 located in California?
13 to QuadraNet.                                           13     A I know it was assigned to QuadraNet, but I
14     Q Was it the Mornin declaration, Joseph D.          14 did not video QuadraNet data centers to verify that
15 Mornin?                                                 15 myself. I...
16     A That does not sound familiar, but...              16     Q What about the second IP address, the one
17     Q Okay. You said that you confirmed it              17 in paragraph 5 of your declaration, the 200 server?
18 yourself. And that -- you may have just answered        18 What do you know about that IP address?
19 this, but how did you confirm it yourself that this     19     A Unfortunately, I don't know anything about
20 IP address in 2019 was assigned to a physical server    20 that IP.
21 in California?                                          21     Q Okay. Do Plaintiffs know anything about
22        ATTORNEY BLOCK: Objection, vague;                22 any server in California that was specifically
23 misstates.                                              23 targeted by -- they believe was specifically
24     A I did not confirm it. I did not do any            24 targeted by Pegasus software?
25 work to confirm it. I just reviewed the document        25        ATTORNEY BLOCK: Object to form.



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25     Page 21 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                  Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                 Pages· 206..209
                                                Page 206                                                  Page 207
 1    A What kind of server?                                1 can't be targeted by client requests, right?
 2    Q (BY ATTORNEY WEINBERG) Any server                   2        ATTORNEY BLOCK: Object to form.
 3 physically located in California.                        3    Q (BY ATTORNEY WEINBERG) It's -- WhatsApp
 4        ATTORNEY BLOCK: Same objection.                   4 decides to how to route the relay servers -- how to
 5    A Any server owned by Facebook?                       5 write requests to the relay servers?
 6    Q (BY ATTORNEY WEINBERG) Any server in                6        ATTORNEY BLOCK: Object to form.
 7 California owned by anybody.                             7    A So the signaling server picks the relay
 8        The question is: Does -- do Plaintiffs            8 servers from all the available edge locations.
 9 know about any server physically located in              9    Q (BY ATTORNEY WEINBERG) And the signaling
10 California that was specifically targeted by Pegasus    10 server is programmed by WhatsApp?
11 software?                                               11     A By -- yes.
12        ATTORNEY BLOCK: Objection to form.               12     Q And the user can't select the relay server
13     A The only thing that I know is that during         13 to use?
14 the attack that we observed, there were some servers    14     A The user can select the relay server.
15 located in the edge locations in the San Jose and       15         What the signaling server does is selects
16 Los Angeles metro areas that were involved in those     16 from the hundred, it selects the top three or five.
17 attacks, relay servers.                                 17         But ultimately any of the clients can
18        That's the only thing -- the only                18 decide on each -- like, what relay server can you
19 information that I have.                                19 use from the set of three or five.
20     Q (BY ATTORNEY WEINBERG) Okay. But do               20     Q And the relay servers, remind me, are
21 you --                                                  21 located in -- can you confirm that a user cannot
22        ATTORNEY BLOCK: Can we take a short              22 purposely direct requests at a particular relay
23 break?                                                  23 server?
24        ATTORNEY WEINBERG: Just one second.              24         ATTORNEY BLOCK: Object to form.
25     Q (BY ATTORNEY WEINBERG) The relay server           25     A That's not entirely correct. So a user
                                                Page 208                                                  Page 209
1 a -- a client is given a lister of relays.                1 week or so before closing the vulnerability to see
2        And as part of the relay negotiation               2 if they could gain some insight into -- into the
3 process, every client conducts all the relays they        3 incident; is that correct?
4 were given. But ultimately, the data packets that         4        ATTORNEY BLOCK: Object to form.
5 are being sent is up in the decision of each client.      5      A Yes, we firstly detected the suspicious
6 So they decide on their own which relay server to         6 activity. I don't remember exactly the day. I
7 use.                                                      7 think it was Thursday or Friday.
8     Q (BY ATTORNEY WEINBERG) Okay.                        8        And the following Friday -- until the
 9       ATTORNEY BLOCK: Can we take that short             9 following Friday, we did logging of the activity of
10 break?                                                  10 the attack in order to gain an understanding of how
11        ATTORNEY WEINBERG: Sure.                         11 the attack works.
12        THE VIDEOGRAPHER: Off the record at              12         ATTORNEY BLOCK: I don't want to interrupt
13 4:11 p.m.                                               13 you, but I probably should have done it before you
14        (A break was taken from 4:11 p.m. to             14 started. I thought you were going to go there
15 4:30 p.m.)                                              15 first.
16        THE VIDEOGRAPHER: We were on the record          16         As I mentioned to you off the record,
17 at 4:30 p.m.                                            17 during the break Mr. Gheorghe did some rereview of
18     Q (BY ATTORNEY WEINBERG) Thank you.                 18 some of the prep that he did for his incorporate
19        So just before we left off you were              19 representative topics, including with respect to
20 talking about the investigation that WhatsApp           20 QuadraNet, so I commend to you revisiting those
21 conducted for -- I guess it's about -- around the       21 topics when you wish to do so.
22 week of May 2, 2019?                                    22         ATTORNEY WEINBERG: All right. Thank you.
23     A What investigation about the attack?              23      Q (BY ATTORNEY WEINBERG) If you could take a
24     Q The stanzaming investigation. From what I         24 quick look at 1167. That's Exhibit 1167. It's the
25 understand, WhatsApp studied traffic for about a        25 stanzaming chat. Just at page -- I'll remind you



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                            YVer1f
       Case 4:19-cv-07123-PJH            Document 679-2            Filed 04/04/25      Page 22 of 144

                                                  Page 210                                                   Page 211
 1 that at the bottom of page 1, there was this --           1         ATTORNEY BLOCK: Object to form.
 2 actually, I guess, the -- yeah, at the top of page 2      2     A I haven't reviewed that "diff" for, like,
 3 where it says that the suspicious stanza received in      3 years, so I don't know about all the details in it,
 4 this incident was being sent on May 2, 2019. That's       4 but it's likely a change that enforces the
 5 the second and third line of that.                        5 validation -- like, the blocking -- it does
 6         So this instance sort of began it -- on           6 enforcement for the stanza validation --
 7 May 2, 2019, correct?                                     7     Q (BY ATTORNEY WEINBERG) Got it.
 8     A Yes.                                                8     A -- for the signaling server.
 9     Q And then if you go down to the next line            9     Q Understood. And it says:
10 where you have got                 speak -- writing on    10            This can mitigate the impact,
11 Friday, May 3, at 4:49 a.m., he says:                     11        but we would like to first identify
12              Here is a "diff" -- with the                 12        the vulnerability, if there is,
13         name of a "diff" -- that will                     13        before modifying this.
14         enforce our servers to only accept                14        And so what he is saying there is: Hey,
15         valid stanzas. This could mitigate                15 let's not push this valid -- this enforcement out to
16         the impact, but we would like to                  16 the server just yet; let's leave it open for a
17         first identify the vulnerability,                 17 while, observe some traffic, and see what we can
18         if there is, before modifying this.               18 learn about this incident?
19         My understanding of the "diff" in this            19        Is that what you guys ended up doing?
20 context is that there's a code change that's              20     A Yes. That is -- and by the way, this is
21 available to push to the server?                          21 an industry standard practice. We're not -- like,
22     A That's exactly right.                               22 we're just following the process, basically.
23     Q And once that gets pushed to the server,            23     Q I see.
24 it will modify the servers to only accept valid           24        So going through all these materials,
25 stanzas; is that correct?                                 25 there were a lot of logs with different names. And
                                                  Page 212                                                   Page 213
 1 I just want to go through some of them to figure out       1 chat server about -- at different points in handling
 2 which ones of them refer to what and whether there's       2 stanzas.
 3 repeats and -- just for nomenclature sake.                 3        So once the trace log -- it's a tool.
 4     A Sure.                                                4 It's an internal tool where we would, for a
 5     Q "Server trace logs," what does that                  5 particular number, enable trace logs. And we
 6 typically refer to in these documents? And I can           6 would -- once that's enabled, we would see in
 7 show you a document, if you're confused about it,          7 realtime all the activity from that number
 8 but server trace logs.                                     8 throughout the chat servers.
 9     A Refreshing my memory right now, I think              9     Q Did you also have server trace logs for
10 server trace log -- can I see the document? I think       10 the relay servers?
11 that'll be easier.                                        11      A Those are called differently. Those are
12      Q Sure. It's in 1105, the "stanza                    12 called EdgeRay logs.
13 validation project task."                                 13      Q EdgeRay logs.
14         Let's see if I can find exactly where. So         14         And what kind of information is contained
15 May 4, 2019 is page 13 of the document.                   15 in the EdgeRay log?
16      A What page? Sorry.                                  16      A In the EdgeRay log, we did some custom
17      Q Page 13 of the document is -- there's a            17 logging regarding the source IP of the packet, the
18 comment by Jesus on May 4, 2019. He says:                 18 destination IP, the size of the packet, and the
19             Adding server trace logs for                  19 content of the packet, I believe.
20         some number, sending the malicious                20         We were changing that logging format quite
21         stanza.                                           21 a lot, so I don't know off the top of my head, like,
22         ATTORNEY BLOCK: Object to form.                   22 all the fields that we were logging.
23      Q (BY ATTORNEY WEINBERG) The question is:            23         But at a high level, that's -- those are
24 What is the trace log?                                    24 the ones that I remember right now.
25      A The server trace log is a log from the             25      Q Okay. Validation log?
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 23 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 270..273
                                                Page 270                                                   Page 271
 1 of the C2 servers was located on AW -- was hosted by     1 remediation of the attack entailed three fixes. Two
 2 AWS. And we tried to reach out to AWS to give us         2 of them were server side, and one of them --
 3 whatever they had on that machine that had that IP.      3     Q Two server side?
 4        I don't know what he means by "payload" in        4     A -- two server-side fixes and one client
 5 this case. Payload is kind of a generic name, so I       5 side fix that was rolled out with all the
 6 don't know what he means by "payload." But that's        6 applications, all the platforms that use WhatsApp,
 7 what I know that we tried to get from AWS.               7 the Android, iPhone, whatever. Like, all the
 8     Q (BY ATTORNEY WEINBERG) I would presume             8 phones.
 9 that the payload from a C2 server is whatever it is      9     Q The client-side fixes were for Android and
10 that the C2 server is programmed to deliver to a        10 iPhone?
11 client, right?                                          11     A Yes. It was a cross -- cross-platform
12         ATTORNEY BLOCK: Object to form; calls for       12 fix. It was the same fix that would apply to both
13 speculation.                                            13 platforms.
14     A Yeah, I don't know what he meant.                 14     Q Okay. So the vulnerability on the client
15     Q (BY ATTORNEY WEINBERG) All right. All             15 was both an Android and an iOS exploit?
16 right. So just about the fixes then.                    16         ATTORNEY BLOCK: Object to form.
17         In this document, do you see on page --         17     A So the vulnerability was in the C code
18 the second page in that same Aby John comment that      18 responsible for handling voice and video calling
19 we just spoke about, it discusses server fixes and      19 logic, and it was the same code running on both of
20 client fixes.                                           20 these platforms.
21         So can you tell me about the remediation        21     Q (BY ATTORNEY WEINBERG) Okay. Did WhatsApp
22 work that WhatsApp did in response to this -- to        22 have any evidence that any iOS devices were
23 this incident?                                          23 compromised using this vulnerability?
24     A Yeah, I can talk about that.                      24     A From what I remember, yes, we had some
25         So the remediation -- the immediate             25 iOS -- some samples of the attacks that were

                                                Page 272                                                   Page 273
 1 targeting iOS devices, but a majority of the             1 server-side fix -- sorry -- the client-side fix, you
 2 samples, from what I remember, was all Android.          2 rolled out an update to the Android Google store?
 3    Q I'll have you take a look at Exhibit 1119.          3     A The Play Store.
 4         (Exhibit 1119 was marked for                     4     Q The Play Store; is that correct?
 5 identification and is attached to the transcript.)       5     A Yes.
 6    A Yeah.                                               6        ATTORNEY BLOCK: Objection to form.
 7    Q (BY ATTORNEY WEINBERG) Just -- my only              7 Sorry. Belated.
 8 questions on this is: This is a WorkChat that you        8     Q (BY ATTORNEY WEINBERG) Did you send the
 9 received on May 14, 2019?                                9 same update to the Apple Store -- App Store?
10     A Yeah.                                             10         ATTORNEY BLOCK: Objection to form.
11     Q I think that's it.                                11      A Yes, we did.
12     A Okay.                                             12      Q (BY ATTORNEY WEINBERG) Tell me about the
13     Q What was the client-side fix that you             13 server-side fixes.
14 talked about?                                           14      A The first fix we rolled out on the server
15     A The client-side fix was preventing the            15 side was for the relay. And we rolled that out on
16 buffer overflow that was used in the remote code        16 Friday. I don't remember the actual date, that
17 execution.                                              17 week.
18          So we limited the buffer size sent -- that     18      Q Okay. So what did you do to the relay
19 is sent from the remote end. We limited it to the       19 server --
20 size of the buffer that we have locally. So after       20      A The relay server --
21 that fix, memory corruption could not occur anymore.    21      Q -- software?
22     Q Was the buffer overflow vulnerability in a        22      A -- sorry?
23 piece of third-party software?                          23      Q The relay server software.
24     A No.                                               24      A Yes. So the relay server fix was about
25     Q And you -- to roll out this                       25 limiting the messages that were used, the SRTPSR and



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 24 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 274..277
                                                Page 274                                                   Page 275
 1 RR.                                                     1 temporary change that we made only for this. We
 2       The messages that were used to do -- to           2 pulled it out after we rolled out the client fix.
 3 exploit the buffer overflow were being kept and         3 We did it just to break their exploit, basically.
 4 dropped by the -- by the server. So a normal            4        From a protocol perspective, the
 5 WhatsApp application would not send these really        5 message -- like, you -- it wasn't -- it was just
 6 large SR and RR SRTP packets. So it was very easy       6 very -- something very specific that only those
 7 for us to identify the ones sent by a malicious --      7 clients were sending, so that's why we could do it.
 8 by a fake client.                                       8     Q And in that respect, the change to the
 9       In this case it was the fake client that          9 relay server created an additional barrier to -- to
10 was attacking the victim, so it was very easy for us    10 the exploit that didn't exist before; so it,
11 to basically put some logic in place that would         11 therefore, enhanced the security of the relay server
12 basically -- that would just drop those SRTPRR          12 beyond what it was?
13 messages.                                               13    A It -- it did not enhance the security of
14        And as an effect, we observed immediately        14 the relay server at all. It -- the only reason why
15 a different behavior in the pattern of the attacks,     15 we put that change is to break that specific
16 so we knew for sure that -- that we -- we broke         16 exploit, yes.
17 their exploit.                                          17    Q Did the change restore the server to a
18        It seemed kind of like it was broken, but        18 previous condition?
19 it wasn't clear. It seemed broken, but it wasn't        19       ATTORNEY BLOCK: Objection to form.
20 clear that we actually found it. And we did it --       20    A Restore the server to a previous
21 that intentionally to monitor their behavior.           21 condition? I'm not sure what that means.
22     Q So this change to the relay server                22    Q (BY ATTORNEY WEINBERG) The client-side
23 enhanced the security of the relay server beyond        23 vulnerability, I think that's the one that was
24 what it was before the fix?                             24 reported in the CVE, right?
25     A No, it did not. It was actually a                 25       ATTORNEY BLOCK: Object to form.
                                                Page 276                                                   Page 277
1     A What CVE?                                           1        number. The issue affects WhatsApp
2     Q (BY ATTORNEY WEINBERG) It's this -- the             2        for Android prior to
3 number is listed on the White Paper, if you want to       3        Version 2.19.134, WhatsApp Business
4 look at it, but CVE-2019-3568.                            4        for Android prior to
5     A Can I get that?                                     5        Version 2.19.44, WhatsApp for iOS
6     Q And 1148 is the exhibit number.                     6        prior to Version 2.19.51, and so
7        ATTORNEY BLOCK: You're looking for --              7        on.
8     A Yeah, got it. 3568. Yes, that's the one.            8        All right. So this only refers to the
9     Q (BY ATTORNEY WEINBERG) So just for the              9 client-side vulnerability, right? And this -- this
10 record, you have identified the same CVE number on      10 CVE refers to the client-side vulnerability?
11 the CVE list at Exhibit 1163?                           11         ATTORNEY BLOCK: Object to form.
12    A Yes.                                               12     A Yes.
13    Q So this says that the buffer overflow --           13     Q (BY ATTORNEY WEINBERG) And that
14 I'm looking at Exhibit 1163 at page 4. And I am         14 vulnerability existed in WhatsApp's code as WhatsApp
15 looking at the entry here for CVE-2019-3568.            15 wrote the code, right?
16        And that's the vulnerability that was            16         ATTORNEY BLOCK: Objection to form.
17 closed with the client-side fix, right?                 17     A So the way -- the way I look at the
18    A Yes.                                               18 vulnerability is it's a -- the vulnerability exists
19    Q So this is -- the description of that              19 in the moment when you have an attack that exploits
20 vulnerability, it says:                                 20 it.
21            A buffer overflow                            21     Q (BY ATTORNEY WEINBERG) I don't know if
22        vulnerability in WhatsApp VoIP                   22 that's right. What's the difference between a
23        stack allowed remote code execution              23 vulnerability and an exploit?
24        via a specially crafted series of                24         ATTORNEY BLOCK: Objection to form; scope.
25        RTCP packets sent to a target phone              25     Q (BY ATTORNEY WEINBERG) Isn't it the case



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
       Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25      Page 25 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                   Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                  Pages· 278..281
                                                Page 278                                                   Page 279
 1 that a vulnerability is a potential for                  1        ATTORNEY BLOCK: Huh?
 2 exploitation, and an exploit is when the                 2     A They're just flaws. The moment you build
 3 vulnerability is actually exploited?                     3 an attack --
 4        ATTORNEY BLOCK: Objection to form; and            4        ATTORNEY BLOCK: Can you just let the
 5 scope.                                                   5 witness finish his answer before you interrupt?
 6    A So the way I see a vulnerability is in --           6        ATTORNEY WEINBERG: He paused.
 7 like, that exists in the moment you have an attack       7     Q (BY ATTORNEY WEINBERG) Go ahead.
 8 that -- that uses it.                                    8     A So there's always going to be flaws in --
 9    Q (BY ATTORNEY WEINBERG) Don't you have a             9 in the software. Like, it's always there. There's
10 vulnerability the moment you write a code that has a    10 always -- any software that exists today has some
11 vulnerability?                                          11 flaws in it.
12         Like, if I make a fence and the fence has       12         The moment that becomes a vulnerability
13 a gap in it, the fence has a vulnerability. And if      13 and becomes relevant is when someone is able to
14 somebody walks through that fence -- that gap in the    14 exploit it and have an attack that uses it.
15 fence, that's -- that's an exploit of the               15         Until then, it's -- it's just software.
16 vulnerability?                                          16     Q (BY ATTORNEY WEINBERG) Okay. I think we
17     A No, I don't --                                    17 are just having a semantic discussion. So we want
18         ATTORNEY BLOCK: Object to -- sorry.             18 to call the hole in the software that is
19 Objection to form; scope; vagueness; incomplete         19 exploitable, a flaw?
20 hypothetical, et cetera.                                20         ATTORNEY BLOCK: Objection to form.
21     A -- yeah, I don't agree with that.                 21     A I think a vulnerability is -- is a flaw.
22         So software has virtually, like, always         22 My point is that an attack is the one that validates
23 some flaws in it.                                       23 that you can use that flaw to do something bad with
24     Q (BY ATTORNEY WEINBERG) What would you call        24 it.
25 those flaws?                                            25     Q (BY ATTORNEY WEINBERG) And I guess my only
                                                Page 280                                                   Page 281
 1 question is that: That flaw existed in WhatsApp's       1     A -- on the client, yes. They changed the
 2 software as WhatsApp wrote it, right? It wasn't         2 WhatsApp client on -- they changed the WhatsApp code
 3 created by anybody else?                                3 running on the victim's phone.
 4        ATTORNEY BLOCK: Objection to form.               4     Q But the flaw or vulnerability they used to
 5    A So we -- we wrote the software for the             5 do that, which is the vulnerability disclosed at
 6 VoIP stack having in mind all the -- like, we           6 CVE-2019-3568, was a vulnerability that existed in
 7 designed it and we wrote it, assuming that the          7 WhatsApp's code as WhatsApp had released it?
 8 messages being sent are a part of the WhatsApp          8        ATTORNEY BLOCK: Objection to form. It's
 9 network and that they're official clients built by      9 asked and answered. And I think it's time to move
10 the WhatsApp team.                                      10 on.
11        So with that regards, there was no flaw.         11        ATTORNEY WEINBERG: All right. Let's go
12 Voice calling was working perfectly fine.               12 off the record for a bit.
13     Q (BY ATTORNEY WEINBERG) Nobody changed             13        THE VIDEOGRAPHER: It's 6:59 p.m.
14 WhatsApp's code, right?                                 14        (A break was taken from 6:59 p.m. to
15        ATTORNEY BLOCK: Object to form.                  15 7:06 p.m.)
16     Q (BY ATTORNEY WEINBERG) No -- pegasus              16        THE VIDEOGRAPHER: Back on the record at
17 didn't change WhatsApp's code, correct?                 17 7:06 p.m.
18     A I --                                              18     Q (BY ATTORNEY WEINBERG) All right. You
19        ATTORNEY BLOCK: Object to form and scope.        19 said that there were two server changes that were
20     A -- I actually don't agree with that.              20 precipitated by this. The first one was this relay
21 Because they changed the memory layout of the           21 server change.
22 application and they actually did change the            22        What was the second?
23 WhatsApp code.                                          23     A The second fix was on the signaling server
24        They made the --                                 24 that enforced the validation of the stanza -- of the
25     Q (BY ATTORNEY WEINBERG) On the client?             25 offer stanzas and dropped them.



                                            Swivel Legal Solutions
                                     800.540.9099· |· www.swivellegal.com                                             YVer1f
        Case 4:19-cv-07123-PJH                Document 679-2                Filed 04/04/25           Page 26 of 144
WhatsApp Inc. vs NSO Group Technologies Limited et al.                                                                      Job 3296
WHATSAPP INC. on 08-16-2024               {{Attorneys Eyes Only}}                                                     Pages· 294..295
                                                          Page 294                                                            Page 295
 1        I, MARY J. GOFF, CSR No. 13427, Certified                   1                         ERRATA SHEET
 2   Shorthand Reporter of the State of California,                   2                         SWIVEL LEGAL
 3   certify;                                                         3                    560 W Main Street, C163
 4        That the foregoing proceedings were taken                   4                  Alhambra, California 91801
 5   before me at the time and place herein set forth, at             5                         213-788-2327
 6   which time the witness declared under penalty of                 6                 CASE:   WhatsApp v. NSO Group
 7   perjury; that the testimony of the witness and all               7   PAGE   LINE   FROM                       TO
 8   objections made at the time of the examination were              8   ____|______|_________________________|______________
 9   recorded stenographically by me and were thereafter
                                                                      9   ____|______|_________________________|______________
10   transcribed under my direction and supervision; that
                                                                     10   ____|______|_________________________|______________
11   the foregoing is a full, true, and correct
                                                                     11   ____|______|_________________________|______________
12   transcript of my shorthand notes so taken and of the
                                                                     12   ____|______|_________________________|______________
13   testimony so given;
                                                                     13   ____|______|_________________________|______________
14        That before completion of the deposition,
                                                                     14   ____|______|_________________________|______________
15   review of the transcript ( ) was (XX) was not
                                                                     15   ____|______|_________________________|______________
16   requested:   (    ) that the witness has failed or
                                                                     16   ____|______|_________________________|______________
17   refused to approve the transcript.
                                                                     17   ____|______|_________________________|______________
18        I further certify that I am not financially
                                                                     18
19   interested in the action, and I am not a relative or
                                                                     19           ______________________________
20   employee of any attorney of the parties, nor of any
21   of the parties.                                                 20           CLAUDIU GHEORGHE

22        I declare under penalty of perjury under the               21   Subscribed and sworn to before me

23   laws of California that the foregoing is true and               22   this _____ day of _____________, 2024.

24   correct, dated this     day of       , 2024.                    23   ______________________________________
25                _________________________                          24             Notary Public
                  MARY J. GOFF                                       25




                                                  Swivel Legal Solutions
                                           800.540.9099· |· www.swivellegal.com
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 27 of 144




              EXHIBIT 12
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
     Case 4:19-cv-07123-PJH    Document 679-2           Filed 04/04/25   Page 28 of 144




                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA




                                           )
                                           )
WHATSAPP INC. and                          )
META PLATFORMS, INC.,                      )
                                           )
                        Plaintiffs,        )
                                           )
                                           )      Case No. 19-cv-07123-PJH
v.                                         )
                                           )
                                           )
NSO GROUP TECHNOLOGIES                     )
LIMITED and Q CYBER                        )
TECHNOLOGIES LIMITED,                      )

                      Defendants.




                 EXPERT REPORT OF DANA TREXLER, CPA/CFF

                                      August 30, 2024

              HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
              Case 4:19-cv-07123-PJH           Document 679-2            Filed 04/04/25        Page 29 of 144

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                      Page 1


         I.     INTRODUCTION
1.   On October 29, 2019, WhatsApp Inc. (“WhatsApp”) and Meta Platforms, Inc. (“Meta”)1
     (collectively, “Plaintiffs”) filed a complaint against NSO Group Technologies Limited (“NSO”)
     and Q Cyber Technologies Limited (“Q Cyber”) (collectively, “Defendants”) alleging that
     Defendants used WhatsApp servers to send malware to mobile phones and devices for the purpose
     of extracting data from other WhatsApp users’ target devices and conducting surveillance on those
     users.2 As a result of Defendants’ alleged conduct, Plaintiffs assert that Defendants violated the
     Computer Fraud and Abuse Act (in violation of 18 U.S.C. § 1030) and the California
     Comprehensive Computer Data Access and Fraud Act (in violation of California Penal Code §
     502), and breached the terms of service with WhatsApp to which Defendants became bound upon
     their creation of WhatsApp accounts.3

2.   This report contains my opinions with respect to the economic remedy amounts, along with the
     bases for these opinions, to be expressed at trial with respect to the claims filed by Plaintiffs against
     Defendants.

3.   My analyses and opinions assume Defendants will be found liable for the alleged conduct. This
     assumption is necessary as a basis for my analysis. I have not been engaged to provide opinions
     on issues relating to liability; therefore, I offer no opinions on liability in this report and do not
     intend to express any such opinions at trial.




     1
       Facebook Inc. changed its name to Meta Platforms Inc. in October 2021. See Chris Stokel-Walker, Why Facebook
     Changed Its Name to Meta and What is the Metaverse?, NewScientist (Oct. 21, 2021),
     https://www.newscientist.com/article/2295438-why-has-facebook-changed-its-name-to-meta-and-what-is-the-
     metaverse/#:~:text=Here%27s%20everything%20you%20need%20to,as%20Meta%20on%2028%20October.
     (accessed February 2024); Scott Nover, Why Facebook Changed Its Name, Quartz (Oct. 29, 2021),
     https://qz.com/2081663/why-facebook-changed-its-name-to-meta (accessed February 2024).
     2
       Complaint (Dkt. No.1), ¶ 1.
     3
       Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. The Court subsequently dismissed Plaintiffs’
     fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to Dismiss and
     Denying Motion to Stay Discovery (Dkt. No.111).

                                                                                            WhatsApp, et al. v. NSO, et al.
               Case 4:19-cv-07123-PJH          Document 679-2    Filed 04/04/25      Page 30 of 144

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                            Page 2


         II.     BASIS FOR ANALYSIS
4.   The analysis and opinions in this report are based on the information and documentation identified
     to date, my education, my experience in performing similar financial analyses and economic
     damage calculations, documents and testimony in the record, accepted damages methodologies
     and approaches, and applications of relevant case law.

5.   I am a Managing Director at Stout Risius Ross, LLC, an advisory firm that, among other services,
     provides business, economic, financial, and consulting services to clients in a variety of industries.
     I lead Stout’s national intellectual property disputes and valuations practice. I am a Certified Public
     Accountant and Certified in Financial Forensics. My education includes a Master in Business
     Administration from The Wharton School of the University of Pennsylvania and a Bachelor of
     Science degree in Accounting from Bucknell University. My curriculum vitae is attached as
     EXHIBIT A.

6.   In forming my opinions, I considered various documents produced by the parties and non-parties,
     deposition testimony, and certain legal documents from this case. Specifically, I considered the
     documents identified throughout this report and the accompanying exhibits. A list of the
     documents that I considered in forming my opinions is provided in EXHIBIT B. The documents
     and information used in my analysis and report are the types of documents and information upon
     which experts in my field typically rely when performing such an analysis. In addition to the
     documents produced by the parties, I considered relevant publicly available information of the
     type typically relied upon by experts in this field. I also spoke with the following individuals:

                Cortney Padua, Security Engineer within the Cross-Meta Security Detection and Response
                 Team at Meta;4

                Michael Scott, Threat Investigator within the Espionage Team at Meta;

                Drew Robinson, Security Engineer at Meta;

                Aashin Guatam, Director of Product Management at WhatsApp;

                Otto Ebeling, former Security Engineer at Meta (UK);



     4
         Deposition of Cortney Padua, 13:120-121.

                                                                                  WhatsApp, et al. v. NSO, et al.
          Case 4:19-cv-07123-PJH                Document 679-2            Filed 04/04/25        Page 31 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                      Page 3


             Jesus Barcons Palau, Software Engineer at Meta;

             Claudiu Gheorghe, former Software Engineering Manager at Meta;

             YuanYuan Wang, Software Engineering Manager at Meta;

                            , Payroll Manager at Meta;

                             , Equity Programs Analyst within the Securities and Disclosure Equity
              Operations Group at Meta; and

                               , Director in Global Equity Programs at Meta.

7.    I understand that discovery is ongoing; therefore, this report is based on information available to
      date. As discussed in more detail in this report, Defendants have not produced the relevant
      information sought by Plaintiffs through discovery. Further, depositions of all of the parties’
      witnesses have yet to be completed as of the date of this report, including that of Sarit Bizinsky
      Gil, Defendants’ designated witness for financial, contract, and other relevant topics.

8.    Should additional information, testimony, or documents that affect my analysis or opinions
      become available after the issuance of my report, I reserve the right to supplement or update my
      analysis and/or opinions. Additionally, I reserve the right to supplement or update my report based
      on information, testimony, or documents that have become available within only a short period of
      time prior to the issuance of this report, as I have had insufficient time to analyze such new
      information.5

9.    I reserve the right to prepare supplemental materials such as summaries, graphical exhibits, or
      charts for trial, as well as to provide opinions and other materials in response to any additional
      expert opinions.

10.   This report is prepared in accordance with the American Institute of Certified Public Accountants
      (“AICPA”) Statement on Standards for Forensic Services. The work performed does not include
      the performance of an audit, review, or compilation of financial statements in accordance with


      5
        On August 26, 2024, four days before the deadline for this report, NSO produced a document
      (NSO_WHATSAPP_00045858) that appears to include revenue information for certain NSO products. Further, I
      understand that two of Defendants’ witnesses were deposed on August 27, 2024 (Ramon Eshkar) and August 29,
      2024 (Yaron Shohat). I have yet to have the opportunity to review these transcripts and incorporate any relevant
      information into my analysis.

                                                                                             WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH             Document 679-2             Filed 04/04/25         Page 32 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                        Page 4


      Generally Accepted Auditing Standards (“GAAS”) or with attest standards established by the
      AICPA.

11.   My firm is being compensated at a rate of $795 per hour for my time in this matter, regardless of
      the outcome of this litigation.

      III.     SUMMARY OF OPINIONS
12.   Assuming Defendants are found liable, it is my opinion that the Plaintiffs’ expenditure of
      resources for their response totals $444,719 and a reasonable estimation of Defendants’ profits
      earned in connection with the targeting of 1,500 devices through Defendants’ Exploit ranges from
      $4.3 million to $13.9 million (at a 29% operating profit margin) or $9.5 million to $30.3 million
      (at a 63% operating profit margin).

                                   Table 1: Summary of Plaintiffs’ Claimed Damages and
                                              Available Equitable Recoveries6
                          Category                                                  Amount
                          Plaintiffs’ Response Expenses                                      $444,719
                          Defendants’ Profits Subject to Disgorgement
                            At 29% Operating Profit Margin                 $4.3 million - $13.9 million
                            At 63% Operating Profit Margin                 $9.5 million - $30.3 million


13.   Plaintiffs’ response costs reflect labor expenditures related to internal efforts to identify, evaluate
      and remediate Defendants’ improper use of WhatsApp servers and targeting of select WhatsApp
      users.7 The estimate for Plaintiffs’ response expense is conservative, as the calculations only
      consider the low-end of employee estimates, exclude certain employees who worked on the
      response for whom I do not have estimated hours, and while employees expressed that they worked




      6
        EXHIBIT 1.1; EXHIBIT 1.2. I reserve the right to supplement or amend this report to account for damages to which
      Plaintiffs assert they are entitled for Defendants’ use of Plaintiffs’ computers beyond the 1,500 targeted devices
      discussed in this report. At this time, it is my understanding Defendants have provided insufficient information from
      which to calculate profits subject to disgorgement that are attributable to Defendants’ use of Plaintiffs’ computers
      beyond the 1,500 targeted devises discussed in this report. I understand Plaintiffs reserve any and all rights to seek
      damages relating to Defendants’ use of their servers, including the period during, before, and after 2019.
      7
        This report does not calculate or express an opinion on litigation or other legal costs to which Plaintiffs may be
      entitled and which Plaintiffs may seek to recover from Defendants. I am informed that Plaintiffs do not waive any
      rights with regard to seeking such costs or others from Defendants.

                                                                                               WhatsApp, et al. v. NSO, et al.
              Case 4:19-cv-07123-PJH              Document 679-2             Filed 04/04/25         Page 33 of 144

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                       Page 20


       security patches to stop NSO.95 On May 13, 2019, Plaintiffs publicly announced their discovery
       and remediation of the exploit.96

47.    As a result of Defendants’ alleged conduct, Plaintiffs assert the following causes of action against
       Defendants:97

               Violation of the Computer Fraud and Abuse Act (18 U.S.C. §1030);

               Violation of the California Comprehensive Computer Data Access and Fraud Act
                (California Penal Code §502); and

               Breach of Contract in connection with WhatsApp terms.

      VIII.     QUANTIFICATION OF PLAINTIFFS’ CLAIMED DAMAGES AND AVAILABLE
                REMEDIES
48.    I understand that Plaintiffs seek to recover damages in the form of their actual losses (i.e.,
       compensatory damages) and disgorgement of Defendants’ ill-gotten gains. In this instance, the ill-
       gotten gains reflect the profits that Defendants derived from their alleged conduct. I offer no
       opinion on whether either remedy is available on Plaintiffs’ causes of action, which I understand
       is a legal question. I have only been asked to calculate Plaintiffs’ actual losses and Defendants’ ill-
       gotten gains.

49.    As the determination of Plaintiffs’ actual losses considers labor cost expenditures, and Defendants’
       profits reflect those earned from the licensing of NSO’s spyware, it is my opinion that these two
       categories are not duplicative of one another, and therefore, may be additive.

50.    Accordingly, I quantify Plaintiffs’ actual damages in the form of the expenditure of resources to
       respond to and remediate Defendants’ conduct described in the Complaint and Defendants’ profits
       derived from targeting WhatsApp.



       95
          See e.g., WA-NSO-00018457-463.
       96
          WhatsApp Reveals Major Security Flaw That Could Let Hackers Access Phones, CBS News (May 14, 2019),
       https://www.cbsnews.com/sanfrancisco/news/whatsapp-reveals-major-security-flaw-that-could-let-hackers-access-
       phones/ (accessed February 2024).
       97
          Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. Plaintiffs originally alleged that Defendants
       wrongfully trespassed on Plaintiffs’ property, in violation of California law. The Court subsequently dismissed
       Plaintiffs’ fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to
       Dismiss and Denying Motion to Stay Discover (Dkt. No.111).

                                                                                                 WhatsApp, et al. v. NSO, et al.
           Case 4:19-cv-07123-PJH             Document 679-2           Filed 04/04/25        Page 34 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                 Page 21


              A. PLAINTIFFS’ EXPENDITURE OF RESOURCES FOR RESPONSE

51.   I understand that on or around April 23, 2019, Plaintiffs began logging activity on servers in
      connection with a security review.98 On May 2, 2019, one of WhatsApp’s engineers discovered in
      that logging a malformed and potentially malicious message.99 Over the following days,
      WhatsApp and Meta engineers and others investigated the source of the malicious message and its
      impact on Plaintiffs’ systems.100 Between May 10, 2019 and May 13, 2019, Plaintiffs applied
      software patches to their relay servers and signaling servers and published a security patch for
      users’ WhatsApp client applications to successful resolve the exploit.101 On May 13, 2019,
      Plaintiffs publicly announced their discovery and remediation of the exploit.102 I understand that
      Plaintiffs continued to perform ongoing work related to the exploit after the security patch was
      implemented on May 13, 2019.103

52.   I understand that Plaintiffs’ employees investigated Defendants’ Exploit, determined its impact on
      Plaintiffs’ systems, developed and implemented the security patches to resolve the exploit, and
      performed ongoing work to fully understand the source of the attack, the methods used and full
      nature of the vulnerability, and the impact on WhatsApp users.104 As such, the cost incurred by
      Plaintiffs response to the exploit includes the labor cost associated with certain of Plaintiffs’
      employees involved in the investigation, remediation, and ongoing efforts surrounding
      Defendants’ alleged conduct, which occurred beginning on or around April 23, 2019, and
      continued through the latter part of 2019.

53.   In the following sections, I describe and quantify select labor hours and associated costs for this
      work.




      98
         See e.g., WA-NSO-00018457-463.
      99
         See WA-NSO-00017583-604 at 593. See also WA-NSO-00166464.
      100
          See WA-NSO-00017583-604 at 593-601. See also WA-NSO-00164559-566.
      101
          See WA-NSO-00017583-604 at 601-603.
      102
          https://www.cbsnews.com/sanfrancisco/news/whatsapp-reveals-major-security-flaw-that-could-let-hackers-
      access-phones/ (accessed February 2024).
      103
          Discussion with Cortney Padua, Michael Scott, Drew Robinson, Aashin Guatam, Otto Ebeling, Jesus Palau,
      Claudiu Gheorghe, and YuanYuan Wang. See also WA-NSO-00164559-566.
      104
          Discussion with Cortney Padua, Michael Scott, Drew Robinson, Aashin Guatam, Otto Ebeling, Jesus Palau,
      Claudiu Gheorghe, and YuanYuan Wang. See also WA-NSO-00018457-463.

                                                                                          WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH             Document 679-2           Filed 04/04/25         Page 35 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                  Page 22


            1. Plaintiffs’ Employee Labor

54.   To determine Plaintiffs’ labor costs incurred in connection with investigating Defendants’ Exploit,
      determining its impact on Plaintiffs’ systems, developing and implementing the security patch to
      resolve it, and any associated ongoing work after implementing the security patch, I relied on
      information from discussions with the following individuals, who were involved with these efforts:

               Cortney Padua, Security Engineer within the Cross-Meta Security Detection and Response
                Team at Meta;105

               Michael Scott, Threat Investigator within the Espionage Team at Meta;

               Drew Robinson, Security Engineer at Meta;

               Aashin Guatam, Director of Product Management at WhatsApp;

               Otto Ebeling, former Security Engineer at Meta (UK);

               Jesus Barcons Palau, Software Engineer at Meta;

               Claudiu Gheorghe, former Software Engineering Manager at Meta; and

               Yuan Yuan Wang, Software Engineering Manager at Meta.

55.   My discussions with each of these individuals include an overview of each of their then-in-effect
      positions and responsibilities, a description of the work they performed in connection with
      Defendants’ Exploit when they performed this work, and an estimation of the amount of time spent
      in connection with this work. I describe the information represented to me by these individuals in
      more detail in the following sections.

                       a. Cortney Padua106

56.   Cortney Padua is currently a Security Engineer on the Cross-Meta Security Detection and
      Response Team at Meta.107 At the time of Defendants’ Exploit, Ms. Padua was a Security Engineer
      on the Computer Emergency Response Team at Meta.




      105
          Deposition of Cortney Padua, August 20, 2024, pp. 114, 120-121.
      106
          Discussion with Cortney Padua; Deposition of Cortney Padua, August 20, 2024, pp. 24-25, 49-52, 60-61.
      107
          Deposition of Cortney Padua, August 20, 2024, pp. 114, 120-121.

                                                                                           WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH           Document 679-2           Filed 04/04/25        Page 36 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                               Page 23


57.   Ms. Padua described her role in the process as including:108

               General coordination and support of the response team and strategizing remediation steps
                and timelines.109

               Reviewing WhatsApp logs to gather evidence of Defendants’ Exploit and determine
                population of targeted users.110

               Formatting data contained in these WhatsApp logs for further review and analysis by
                internal data teams.111

               Ongoing review of WhatsApp logs to monitor for potential ongoing exploitation of
                WhatsApp servers.112

               Assisting with eDiscovery preservation of WhatsApp logs obtained during the
                investigation and remediation.113

               Supporting reporting efforts, including drafting summaries and presentations of the subject
                incident.

58.   Ms. Padua estimates that she worked approximately the following number of hours during the
      noted periods on these tasks:

               May 2 through May 7, 2019 - 24 hours.

               May 8 through May 16, 2019 - 36 hours.

               May 20 through May 28, 2019 - 24 hours.

               Mid-June - 12 hours.

59.   Based on my discussion with Ms. Padua, she estimates that she worked a total of 96 hours in
      relation to Defendants’ Exploit. Using Ms. Padua’s estimates, 44 hours are allocated to the period
      May 2 through May 13,114 and 52 hours are allocated to the period after May 13.115




      108
          Discussion with Cortney Padua.
      109
          See also Deposition of Cortney Padua, August 20, 2024, pp. 24-25, 60-61.
      110
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52, 60-61.
      111
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52, 60-61.
      112
          See also Deposition of Cortney Padua, August 20, 2024, p. 105.
      113
          See also Deposition of Cortney Padua, August 20, 2024, pp. 49-52.
      114
          60 hours during the 11-workday period May 2 through May 16 = 5.5 hours per workday x 8 workdays between
      May 2 and May 13.
      115
          96 total hours less 44 hours between May 2 and May 13.

                                                                                        WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH             Document 679-2           Filed 04/04/25        Page 37 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                  Page 24


                       b. Michael Scott116

60.   Michael Scott is currently a Threat Investigator on the Espionage Team at Meta, which was also
      his title at the time of Defendants’ Exploit.

61.   Mr. Scott described his role as including:

               Analyzing data to assist in understanding the exploit and determining how it was
                conducted.

               Reviewing and analyzing WhatsApp logs to obtain information such as IP addresses and
                phone numbers that could help identify targeted WhatsApp users. The identification of
                targeted users also considered research of publicly available information and other profile
                information maintained by Meta (e.g., Facebook and Instagram profile information).

               Efforts related to determining the source of the exploit, including cross referencing current
                information from WhatsApp logs (e.g., IP addresses, domains, and phone numbers) with
                previously identified information for suspected “test accounts” used by attackers prior to
                the exploit, which included suspected accounts associated with NSO. Identifying the source
                of the exploit and related accounts to assist in disabling accounts and preventing those
                accounts from accessing WhatsApp.

               Attempting to map attackers with victims, including the determination of countries of
                origin for attacker accounts.

62.   Mr. Scott represented that in relation to Defendants’ Exploit, he spent nearly all his working time
      on these efforts over a 2 to 3-month period beginning in or around April/May 2019. Mr. Scott
      further stated that ongoing work continued for “months and months,” but did not provide an
      estimate of the portion of his time spent on these ongoing efforts. Using the low end of Mr. Scott’s
      estimate (i.e., 2 months), 64 hours are allocated to the period May 2 through May 13,117 and 256
      hours are allocated to the period after May 13118 in relation to Defendants’ Exploit.

                       c. Drew Robinson119

63.   Drew Robinson is currently a Security Engineer at Meta. At the time of Defendants’ Exploit, Mr.
      Robinson was a Security Investigator at Meta.


      116
          Discussion with Michael Scott.
      117
          8 hours per workday x 8 workdays between May 2 and May 13.
      118
          320 hours over a 2-month period (160 work hours in a month [40 hours per week x 4 weeks] x 2 months) less 64
      hours between May 2 and May 13.
      119
          Discussion with Drew Robinson.

                                                                                           WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH            Document 679-2            Filed 04/04/25      Page 38 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                 Page 25


64.   Mr. Robinson described his role as including:

                Serving as the “on call” for malware analysis and working with WhatsApp engineers to
                 immediately analyze WhatsApp logs to evaluate the “payload” used to deliver the malware
                 to victims.

                Performing various analyses of WhatsApp logs and server information to extract the
                 payloads that had been deployed to help identify the source of the payload (i.e., the
                 orchestrator of the attack).

                Assisting with identification of targeted WhatsApp users and map them back to the
                 malware users. This included analyzing country codes associated with targeted accounts
                 and the nature of the accounts (based in part on publicly available information and
                 Facebook and Instagram profile information).

                Assisting WhatsApp engineers in developing and deploying the security patch.

                Ongoing monitoring for future attacks/exploits and further analysis of ways that NSO was
                 targeting Plaintiffs’ services.

                Continued assistance with victim identification.

                Supporting Plaintiffs’ legal department and responding to requests for information.

65.   Mr. Robinson represented that he initially worked full time on the exploit for 3 weeks up to the
      deployment of the security patch, which he conservatively estimated to approximate 120 hours.
      Mr. Robinson estimated that he worked another 150-200 hours after the security patch was
      implemented. Using Mr. Robinson’s estimates, 64 hours are allocated to the period May 2 through
      May 13,120 and 150 hours are allocated to the period after May 13 in relation to Defendants’
      Exploit.

                         d. Aashin Guatam121

66.   Aashin Guatam is currently a Director of Product Management at WhatsApp. At the time of
      Defendants’ Exploit, Mr. Guatam was a Director of Customer Operations at WhatsApp.

67.   Mr. Guatam described his role as including:




      120
            8 hours per workday x 8 workdays between May 2 and May 13.
      121
            Discussion with Aashin Guatam.

                                                                                          WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH            Document 679-2      Filed 04/04/25      Page 39 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                           Page 26


                Overall project management of the plan implemented by Plaintiffs to resolve Defendants’
                 Exploit, including post-fix identification of and communication with targeted users,
                 external communication strategy, and legal pursuits.

                Working with and guiding technical teams, operations teams, legal teams, and others to
                 understand the attack and identify the victims of the exploit. This included identifying the
                 targeted accounts and mapping them to the real-life users. The accounts were mapped to
                 real-life users using information from WhatsApp accounts, associated social media
                 accounts, and other publicly available information.

                Developing a victim outreach strategy and working with technical teams, operations teams,
                 legal teams, and others to notify the identified victims of the exploit.

68.   Mr. Guatam represented to me that he spent, on average, 50% of his working hours from May/June
      to November 2019 working on this matter. As such, I have considered the low end of Mr. Guatam’s
      estimate (i.e., beginning in June) that he worked 480 hours (6 months [June through November]
      multiplied by 160 working hours per month multiplied by 50%). Using Mr. Guatam’s estimate, all
      480 hours are allocated to the period after May 13 in relation to Defendants’ Exploit.

                          e. Otto Ebeling122

69.   Otto Ebeling currently owns a cyber security consulting company that is sometimes contracted by
      Plaintiffs. At the time of responding to Defendants’ Exploit, Mr. Ebeling was a Security Engineer
      at Meta, based in the United Kingdom.

70.   Mr. Ebeling described his role as including:

                Investigating initial reports relayed to him from WhatsApp engineers to ascertain if a
                 vulnerability existed. This included determining whether the suspicious activity was
                 benign or malicious.

                Understanding Defendants’ Exploit and how it worked.

                Determining how to respond to and prevent Defendants’ Exploit. Mr. Ebeling consulted
                 with WhatsApp engineers that ultimately created and implemented the security patch.

                Monitoring applicable information to confirm the security patches were working as
                 intended after they were implemented by Plaintiffs’ employees.




      122
            Discussion with Otto Ebeling.

                                                                                    WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH               Document 679-2             Filed 04/04/25          Page 40 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                       Page 27


               Determining if Defendants were exploiting any other unknown vulnerabilities. This
                included reviewing and analyzing certain software code.

71.   Mr. Ebeling represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours for 3 weeks on this project. Mr. Ebeling also informed me
      that he spent one-third (33%) to one-half (50%) of his working time for the second half of 2019
      working on ongoing matters associated with Defendants’ Exploit. Using Mr. Ebeling’s estimates,
      64 hours are allocated to the period May 2 through May 13,123 and 320 hours124 are allocated to
      the period after May 13 in relation to Defendants’ Exploit.

                        f. Jesus Barcons Palau125

72.   Jesus Barcons Palau is currently a Software Engineer at Meta, which was also his title at the time
      of Defendants’ Exploit in May 2019.

73.   Mr. Palau described his role as including:

               Consulting with security professionals to investigate abnormal “stanzas”126 in data passing
                through WhatsApp servers. This included identifying and investigating stanzas that did not
                conform with specifications established by WhatsApp. After certain abnormal stanzas were
                identified, Mr. Palau worked to implement processes to detect other non-conforming and
                potentially malicious stanzas in data.

               Implementing code to detect malicious stanzas not adhering to WhatsApp specifications.

               Implementing measures to assure that invalid stanzas were blocked from WhatsApp
                servers.

74.   Mr. Palau informed me that during the initial response efforts, he spent all his working time, and
      additional overtime hours, on this project. Mr. Palau represented to me that he spent more than
      100% of his working hours from April 29 through May 10 on response efforts. Using Mr. Palau’s
      estimates, 56 hours are allocated to the period May 2 through May 10127 in relation to Defendants’
      Exploit.



      123
          8 hours per workday x 8 workdays between May 2 and May 13.
      124
          6 months multiplied by 160 working hours in a month multiplied by 1/3 of his working time.
      125
          Discussion with Jesus Palau.
      126
          Stanza is “a general term in WhatsApp for metadata -- for a type of metadata that is sent from a client to a
      server.” Claudiu Gheorghe Deposition, 24:19-24.
      127
          8 hours per workday x 7 workdays between May 2 and May 10.

                                                                                                WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH             Document 679-2           Filed 04/04/25      Page 41 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                Page 28


                       g. Claudiu Gheorghe128

75.   Claudiu Gheorghe was a Software Engineering Manager at Meta at the time of Defendants’ Exploit
      in May 2019.

76.   Mr. Gheorghe described his role as including:

               Coordinating the investigation and remediation of Defendants’ Exploit. Mr. Gheorghe
                orchestrated efforts among engineering teams, security teams, and legal teams.

               Supervising Meta engineers to execute the investigation and remediation of Defendants’
                Exploit. This included effectively allocating staffing resources to execute this project. Mr.
                Gheorghe performed a managerial role in connection with leading coordination for the
                investigation and remediation of Defendants’ Exploit.

               Identifying victims of Defendants’ Exploit.

               Assisting in drafting a white paper regarding Defendants’ Exploit.

77.   Mr. Gheorghe represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours from May 2, 2019 through May 13, 2019 on this project.
      After the patch was implemented on May 13, 2019, Mr. Gheorghe informed me that he spent 50%
      of his time on this project for two more weeks. Using Mr. Gheorghe’s estimates, 64 hours are
      allocated to the period May 2 through May 13,129 and 40 hours are allocated to the period after
      May 13130 in relation to Defendants’ Exploit.

                       h. YuanYuan Wang131

78.   YuanYuan Wang is currently a Software Engineering Manager at Meta, which was also his title at
      the time of Defendants’ Exploit in May 2019.

79.   Mr. Wang described his role as including:

               Confirming that the exploit was occurring. This included identifying abnormal patterns
                through his knowledge of the WhatsApp architecture.




      128
          Discussion with Claudiu Gheorghe.
      129
          8 hours per workday x 8 workdays between May 2 and May 13.
      130
          80 hours over a 2-week period (2 weeks x 40 hours per week) x 50%.
      131
          Discussion with YuanYuan Wang.

                                                                                         WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH           Document 679-2            Filed 04/04/25      Page 42 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                               Page 29


               Organizing and providing applicable information regarding Defendants’ Exploit to security
                teams at Meta.

               Consulting with security teams at Meta to identify the software code permitting
                Defendants’ Exploit.

               Understanding the software code relevant to Defendants’ Exploit.

               Consulting with security teams at Meta to improve and secure the applicable software code.
                This fixed the software code permitting Defendants’ Exploit.

80.   Mr. Wang represented to me that during the initial remediation work of resolving Defendants’
      Exploit, he spent all his working hours from May 2, 2019 through May 13, 2019 on this project.
      Using Mr. Wang’s estimate, 64 hours are allocated to the period May 2 through May 13132in
      relation to Defendants’ Exploit.

                       i. Other Employees Identified by Claudiu Gheorghe133

81.   In addition to the discussions I had with the above-noted individuals, Claudiu Gheorghe identified
      14 other Meta professionals that participated in the investigation and response efforts.134 As
      discussed, Mr. Gheorghe was a Software Engineering Manager at Meta who performed a
      managerial role leading coordination across multiple teams in connection with addressing
      Defendants’ Exploit in May 2019.

82.   Mr. Gheorghe provided descriptions of roles and estimates of hours worked for each of the Meta
      employees he identified as participating in the investigation and response efforts from May 2, 2019
      through May 13, 2019. This is reflected in EXHIBIT 2.2 to my report.

            2. Plaintiffs’ Employee Labor Cost

83.   After identifying the employees involved in responding to Defendants’ Exploit, and their
      respective estimated labor hours, I determined the cost of this labor. To determine the cost of labor
      of each applicable employee, I multiplied each applicable employee’s burdened labor rate by the
      number of hours worked on responding to Defendants’ Exploit.




      132
          8 hours per workday x 8 workdays between May 2 and May 13.
      133
          Discussion with Claudiu Gheorghe.
      134
          EXHIBIT 2.2.

                                                                                        WhatsApp, et al. v. NSO, et al.
         Case 4:19-cv-07123-PJH          Document 679-2         Filed 04/04/25      Page 43 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                        Page 30


84.   The calculation of an employee’s burdened labor rate not only considers the employee’s salary,
      but also considers other expenditures paid by an employer to, or on behalf of, an employee. These
      additional expenditures can be paid directly to an employee (e.g., performance bonus or retirement
      contributions) or paid on behalf of an employee (e.g., the employer’s share of healthcare insurance
      premiums or payroll taxes). In addition to base salary, the inclusion of an employer’s additional
      expenditures to, or on behalf of, an employee reflects the employer’s total economic cost incurred
      in connection with the subject employee’s time.

85.   To calculate each employee’s burdened labor rate, I relied on data provided by Plaintiffs detailing
      payroll information for specific employees which included wages, employee and employer payroll
      taxes, and certain employer-paid benefits. I also obtained employee bonus information and the
      amount of employer-paid health benefits. For purposes of determining a compensation rate for
      individual employees, I considered the following costs incurred by Plaintiffs:

            Salary

            Performance bonus

            Employer payroll taxes

            Employer portion of health benefits

            Restricted Stock Unit (“RSU”) grants

86.   As detailed in EXHIBIT 3.1, I considered the above amounts and determined an hourly-equivalent
      compensation rate for each of the individuals discussed in the preceding section. I determined
      Plaintiffs’ relevant expenditures by multiplying each applicable employee’s hours spent on
      resolving Defendants’ Exploit and for related ongoing work by their burdened labor rate. As
      summarized in the following table, Plaintiffs’ expenditures to respond to Defendants’ Exploit total
      $444,719.




                                                                                 WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH              Document 679-2         Filed 04/04/25       Page 44 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                 Page 31

                        Table 3: Plaintiffs’ Labor Expenses to Respond to Defendants’ Exploit 135
                                                                    Hours
            Employee Name                 2019 Title               Worked       Hourly Rate       Cost of Labor
            Cortney Padua          Security Engineer                          96         $112.51             $10,801
            Michael Scott          Threat Investigator                       320         $194.28             $62,169
            Drew Robinson          Security Investigator                     214         $107.64             $23,035
            Aashin Guatam          Director of Customer Ops.                 480         $195.38             $93,785
            Otto Ebeling           Security Engineer                         384         $149.86             $57,545
            Jesus Palau            Software Engineer                          56         $249.03             $13,946
            Claudiu Gheorghe       Software Engineering Manager              104         $404.25             $42,042
            YuanYuan Wang          Software Engineering Manager               64         $561.38             $35,928
                                                                                    Cost of Labor          $339,250
                                 Cost of Labor (Additional Employees Identified by Mr. Gheorghe)           $105,469
                                                                             Total Cost of Labor           $444,719

87.   The estimate included in Table 3 is conservative, as the calculations only consider the low-end of
      employee estimates, exclude certain employees who worked on the response for whom I do not
      have estimated hours, and while employees expressed that they worked extended hours and
      weekends, I do not include such extended hours and weekends in my calculations.

88.   While these individuals were salaried employees and were not paid on an hourly basis, the hourly
      equivalent labor rate provides a means to determine the cost of their respective time to Plaintiffs
      with respect to responding to Defendants’ Exploit. While some of these individuals perform
      security-related tasks in the ordinary course of their employment by Plaintiffs, they would have
      directed this time to other efforts in the absence of Defendants’ alleged conduct. Accordingly,
      these efforts and associated cost are reflective of an “opportunity cost” to Plaintiffs. Further, as
      this was a required effort in light of Defendants’ Exploit, in the absence of these employees,
      Plaintiffs would have needed to expend resources to obtain these types of services from third
      parties.

                 B. DEFENDANTS’ ILL-GOTTEN GAINS SUBJECT TO DISGORGEMENT

89.   In this instance, Defendants’ ill-gotten gains subject to disgorgement reflect the profit that
      Defendants derived from their unauthorized access to Plaintiffs’ systems, including the use of
      Defendants’ Exploit. I understand that Plaintiffs allege that Defendants’ Exploit for the WhatsApp
      Service was the Android zero-click installation vector for Pegasus or similar spyware in use from


      135
            EXHIBITS 1.1, 2.1, AND 2.2.

                                                                                          WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH              Document 679-2            Filed 04/04/25         Page 45 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                    Page 32


      at least January 1, 2018 through May 13, 2019, and that both Defendants’ development and sale
      of that exploit violated its Terms of Service and federal and state law. Accordingly, I estimate
      Defendants’ ill-gotten gains resulting from the development and licensing of Pegasus with the
      Android zero-click feature, and any other spyware targeting Plaintiffs’ systems based on the
      information available to date.

90.   As discussed in further detail, Plaintiffs assert that Defendants have not produced all relevant
      information, and depositions of Defendants’ witnesses have only recently occurred136 or are
      scheduled to occur after the date of this report. Accordingly, I reserve the right to update my
      analysis based on such information.

91.   Specifically, I understand that Plaintiffs requested from Defendants the information to evaluate
      Defendants’ ill-gotten gains from targeting Plaintiffs’ systems. As of the date of this report, I
      understand that Defendants have not produced certain financial information, other than the
      materials cited in this report (and in Exhibit B to this report), relevant to an assessment of
      Defendants’ ill-gotten gains.

92.   Given the absence of certain information requested from Defendants, my assessment of
      Defendants’ profits recognized in conjunction with the alleged conduct relies on the documents
      produced to date and reasonable assumptions regarding certain information contained in those
      documents. Additional documents produced by Defendants (or other parties) and future deposition
      testimony may impact my analysis, assumptions, and conclusions.

93.   The following sections address my determination of Defendants’ ill-gotten gains subject to
      disgorgement based on the information reasonably available to me to date.

            1. Total Reported Revenue from the Sale and License of the Pegasus Product

94.   As an initial matter, I consider the reported revenues for Pegasus contained in certain financial
      information produced to date. In 2018, Pegasus generated approximately $183 million in




      136
         Given the timing of Defendants’ depositions, I have not fully evaluated the testimony or its impact on my
      analysis.

                                                                                             WhatsApp, et al. v. NSO, et al.
              Case 4:19-cv-07123-PJH           Document 679-2          Filed 04/04/25      Page 46 of 144

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                              Page 45

                                        Table 8: Profit from Defendants’ Exploit188
                                                                                               Op. Profit
                                                           $ Fee/
        Category                                Devices    Device       Revenue         29%               63%
        Basic Only                                1,500   $120,000    $180,000,000    $52,172,447      $113,548,740
        Basic and Additional Concurrent           1,500    $32,000     $48,000,000    $13,912,652       $30,279,664
         Targets
          (Excl. Add’l Concurrent Targets
          Only)
        Additional Concurrent Targets             1,500     $10,000    $15,000,000     $4,347,704        $9,462,395
          Only

123.   As noted previously, the consideration of per-device fees that take into account the lower prices of
       “additional concurrent targets” is a more conservative approach to reflect the nature of concurrent
       licenses and the reduction of the per-device fee as more devices are targeted. Accordingly, based
       on the information contained in Table 8, a reasonable estimation of Defendants’ profits earned in
       connection with the targeting of 1,500 devices through Defendants’ Exploit ranges from $4.3
       million to $13.9 million (at a 29% operating profit margin) or $9.5 million to $30.3 million (at a
       63% operating profit margin).

                 C. DEFENDANTS’ USE OF PLAINTIFFS’ SYSTEMS

124.   Counsel for Plaintiffs asked me to determine whether the use of Plaintiffs’ systems for purposes
       of Defendants’ Exploit was worth more than $5,000 in one year to Defendants or their customers.
       To do so, I consider the customer revenue amounts related to the covert-Android version of
       Pegasus as a reasonable proxy to quantify this amount, based on the limited information produced
       by Defendants to date.

125.   I first consider that, in a March 2019 “Q&A” document, the Defendants state, “Pricing depends on
       the product, number of capabilities and number of licenses. On average for the mobile endpoint
       products, prices range mainly between $1m and $10m per license, i.e., target/endpoint.”189 Also
       of note, this range is the amount for one license, and Defendants benefit by being able to have
       multiple licensees to its software, including Pegasus, resulting in a multiplier effect of licensing
       revenues to Defendants.




       188
             EXHIBITS 4 AND 4.1.
       189
             WA-NSO-00074412-414 at 413-414.

                                                                                        WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH               Document 679-2                Filed 04/04/25        Page 47 of 144

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                        Page 46


126.   I next consider that the Defendants produced a document which appears to identify customer
       revenue amounts. Analysis of this document appears to enable the identification of revenue related
       to the covert-Android version of Pegasus, specifically, the upsell data contained therein.190 Table
       9 summarizes the annual revenue from three upsell transactions for the covert-Android Pegasus
       product.

                                    TABLE 9: “COVERT ANDROID”- ONLY “UPSELL” LINE ITEMS
                                      ANNUAL REVENUES BASED ON FIRST FOUR QUARTERS191
                                                                                     Annual
                                                                                    First Year
                              Account No.      Start Qtr.       End Qtr.             Revenue
                              Acc-04              Q3 2018                Q2 2019             $6,835,000
                              Acc-06192           Q1 2019                Q4 2019              1,412,000
                              Acc-57              Q3 2018                Q2 2019              5,630,000


                              Total                                                         $13,877,000

127.   From this data, it is my opinion that the use of Plaintiffs’ systems for purposes of Defendants’
       Exploit was worth $13,877,00 for these three accounts193 alone, which exceeds $5,000 in one year.

                                                   *      *    *     *      *      *




       190
           See NSO_WHATSAPP_00045858.
       191
           NSO_WHATSAPP_00045858.
       192
           Only considering “No” responses for other capabilities (i.e., excluding “(blanks)”) results in this line item being
       the only “Covert Android”-Only “Upsell” Line Item.
       193
           Based solely on “Upsell” transactions of “Covert-Android.”

                                                                                                  WhatsApp, et al. v. NSO, et al.
           Case 4:19-cv-07123-PJH           Document 679-2         Filed 04/04/25      Page 48 of 144

       HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                          Page 47


128.   The procedures performed were limited to those described herein based on the documents provided
       to date and other information obtained. Information obtained after the date of this report, or within
       a short period of time prior to its issuance, may affect this analysis and this effect may be material.
       If requested, I will update my analysis.

129.   My procedures were performed solely with respect to the above referenced litigation. This report
       is not to be reproduced, distributed, disclosed, or used for any other purpose.

       STOUT




       _____________________
       Dana M. Trexler, CPA/CFF                                                   August 30, 2024




                                                                                    WhatsApp, et al. v. NSO, et al.
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 49 of 144




              EXHIBIT 16
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
     Case 4:19-cv-07123-PJH    Document 679-2       Filed 04/04/25   Page 50 of 144

                      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

                                                                           Page 1

 1                      UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                            OAKLAND DIVISION
 4
         WHATSAPP INC., et al.,                 )
 5                                              )
                         Plaintiffs,            )
 6                                              )    Case No.
                vs.                             )    4:19-cv-07123
 7                                              )    -PJH
         NSO GROUP TECHNOLOGIES                 )
 8       LIMITED, et al.,                       )
                                                )
 9                       Defendants.            )
         --------------------------             )
10
11
12                                Tuesday, September 17, 2024
13                                9:11 a.m.
14
15
16                       Videotaped Deposition of JOSHUA
17       SHANER, held at the offices of Davis Polk &
18       Wardwell LLP, 901 15th Street NW, Washington,
19       DC, before Stacey L. Daywalt, a Court Reporter
20       and Notary Public of the District of Columbia.
21
22      ** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY **
23
24
25

                                  Veritext Legal Solutions
     212-279-9424                   www.veritext.com                         212-490-3430
Case 4:19-cv-07123-PJH             Document 679-2             Filed 04/04/25        Page 51 of 144

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                               Page 42                                                  Page 44
 1   help me understand that testimony.               1           A. I'm not in any position to answer
 2          MR. AKROTIRIANAKIS: Objection,            2       that, so I don't know.
 3   misstates his testimony.                         3           Q. So for all you knew, you were not
 4          THE WITNESS: Yeah.                        4       permitted to sell NSO products and you were
 5          No, I can't.                              5       doing it freelance?
 6   BY MR. PEREZ-MARQUES:                            6           A. I don't know. I don't know.
 7      Q. Okay. None of the five employees           7           Q. You didn't know one way or the
 8   were R&D. Is that right?                         8       other?
 9      A. That's true.                               9           A. No.
10      Q. So you're not aware of WestBridge         10           Q. You certainly collaborated with NSO
11   having any employees who were engaged in        11       personnel as part of your WestBridge role,
12   developing products for sale based on your five 12       didn't you?
13   years with the company?                         13               MR. AKROTIRIANAKIS: Objection,
14      A. I'm not.                                  14       vague.
15      Q. In what geographic regions did            15               THE WITNESS: Yeah, obviously we did
16   WestBridge sell or market NSO products?         16       talk amongst ourselves, but I wouldn't call
17      A. Mostly the United States.                 17       that collaboration necessarily.
18          Well, the United States and Canada.      18       BY MR. PEREZ-MARQUES:
19      Q. Anywhere besides US and Canada?           19           Q. Okay. Well, we'll get into that in
20      A. No.                                       20       much more detail.
21      Q. Okay. And it did so with NSO's            21           A. Okay.
22   authorization. Is that right?                   22           Q. Did NSO -- did WestBridge have a
23          MR. AKROTIRIANAKIS: Objection, 23                 distribution agreement with NSO to your
24   vague.                                          24       knowledge?
25          THE WITNESS: We were -- we had           25           A. I don't know.
                                               Page 43                                                  Page 45
 1   our -- we were separated out to do what we           1       Q. You've never seen such an agreement?
 2   wanted. And WestBridge was its own thing, to         2       A. No.
 3   be able to sell and market to, you know, those       3       Q. Are you aware of any geographic
 4   markets.                                             4   restrictions on where WestBridge was permitted
 5   BY MR. PEREZ-MARQUES:                                5   to sell NSO products?
 6       Q. All right. But WestBridge was                 6       A. Can you say that one more time.
 7   authorized by NSO to sell its products. Isn't        7       Q. Are you aware of any geographic
 8   that right?                                          8   restrictions on where WestBridge was permitted
 9       A. I have no idea if NSO authorized us           9   to sell NSO products?
10   to do anything.                                     10       A. I'm not aware of any policy or
11       Q. Well, you do know that NSO had you           11   anything like that.
12   travel to Israel to meet with its presale team.     12       Q. Do you know, for instance, whether
13   Right?                                              13   WestBridge was authorized to sell NSO products
14           MR. AKROTIRIANAKIS: Objection,              14   in South America?
15   misstates his testimony.                            15       A. I'm not aware of any policy.
16           THE WITNESS: I mean, I told you             16       Q. And you're not aware of any -- so to
17   what my testimony was.                              17   your knowledge -- well, let me rephrase that.
18   BY MR. PEREZ-MARQUES:                               18           So to your knowledge, WestBridge was
19       Q. Fair to say that your understanding          19   authorized to sell NSO products, for instance,
20   was that WestBridge had permission from NSO to      20   here in Washington, DC?
21   sell NSO products?                                  21       A. Say that one more time. I'm sorry.
22       A. Can you restate that.                        22       Q. To your knowledge, WestBridge was
23       Q. Is it fair to say that your                  23   authorized to sell NSO products here in
24   understanding was that WestBridge had               24   Washington, DC?
25   permission from NSO to sell NSO products?           25       A. WestBridge was authorized to sell in

                                                                                           12 (Pages 42 - 45)
                                        Veritext Legal Solutions
212-279-9424                              www.veritext.com                                     212-490-3430
Case 4:19-cv-07123-PJH              Document 679-2              Filed 04/04/25       Page 52 of 144

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                                 Page 46                                                  Page 48
 1   the United States, yes.                                1   which are listed in Group B in Schedule A
 2       Q. Including in Washington, DC?                    2   (collectively, suppliers, or each member of
 3       A. Yes.                                            3   Group B individually as supplier)."
 4       Q. And California?                                 4           Are you familiar with OSY
 5       A. Well, so I don't know if we were                5   Technologies S.àr.l?
 6   authorized to do anything.                             6       A. I am not.
 7           I know that we could.                          7       Q. Have you ever heard that name
 8       Q. Mm-hmm.                                         8   before?
 9           You weren't aware of any                       9       A. I have heard the name. I'm just not
10   restrictions that prevented WestBridge from           10   familiar with anything about that.
11   marketing in any state of the United States.          11       Q. In what context have you heard the
12   Is that right?                                        12   name?
13       A. I don't know of any policy like                13       A. Just in -- in talking with somebody
14   that.                                                 14   at the -- yeah, I mean, I don't -- I just heard
15       Q. You were never instructed that there           15   the name before. That's the extent of it.
16   were certain states in which WestBridge was not       16       Q. Did you have an understanding as to
17   permitted to sell?                                    17   whether OSY was an affiliate of WestBridge?
18       A. I don't know any policy about that.            18       A. I don't know.
19       Q. Okay. I want to show you a                     19       Q. Did you know who owned WestBridge
20   document. Let's do 5101.                              20   when you were working there?
21           (Exhibit 2049, Intercompany                   21       A. I didn't.
22   Distribution Agreement dated 10/25/17,                22       Q. You had no idea who owned the
23   NSO_WHATSAPP_00046351-359, marked for                 23   company you were working for?
24   identification.)                                      24       A. No. No, I didn't.
25       Q. I should have said this as part of             25       Q. Did you have any understanding as to
                                                 Page 47                                                  Page 49
 1   my intro. But if you need a break at any time,         1   the corporate relationship between NSO and
 2   just let me know.                                      2   WestBridge?
 3      A. Thanks.                                          3       A. I didn't know what the relationship
 4      Q. So I'm showing you what's been                   4   was.
 5   marked as Exhibit 2049 --                              5       Q. Did you understand that there was a
 6      A. Okay.                                            6   corporate relationship between the two
 7      Q. -- which is a multipage agreement or             7   companies?
 8   document beginning on NSO_WHATSAPP_00046351            8       A. I understood that we --
 9   through 359.                                           9           MR. AKROTIRIANAKIS: Objection,
10           Do you recognize Exhibit 2049?                10   vague.
11      A. I do.                                           11           You've got to pause for a second so
12      Q. Okay. So it has a header here,                  12   I can pose objections.
13   Intercompany Distribution Agreement.                  13           THE WITNESS: Okay.
14           Do you see that?                              14           I understood that we resold
15      A. I do.                                           15   technologies, but that's the extent of the
16      Q. And it says: "This intercompany                 16   relationship.
17   distribution agreement made on October 25th,          17   BY MR. PEREZ-MARQUES:
18   2017, effective as of September 30th, 2016 (the       18       Q. Were you aware of any corporate
19   effective date) is by and among certain               19   affiliation between the two companies?
20   subsidiaries of OSY Technologies S.àr.l               20       A. Again, I was aware that we resold
21   (parent), a company incorporated under the laws       21   the technologies.
22   of Luxembourg, which are listed in Group A in         22           But as far as a corporate
23   Schedule A (collectively, distributors, or each       23   relationship, that was something I did not deal
24   member of the group -- of Group A individually,       24   with, so...
25   distributor) and other subsidiaries of Triangle       25       Q. Okay. For instance, did you have
                                                                                            13 (Pages 46 - 49)
                                          Veritext Legal Solutions
212-279-9424                                www.veritext.com                                     212-490-3430
Case 4:19-cv-07123-PJH            Document 679-2             Filed 04/04/25        Page 53 of 144

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                             Page 122                                                  Page 124
 1   the only indication of the installation."        1      populated with fake data. Is that right?
 2           Do you recall there being some blink     2         A. Yeah, the test -- our test devices
 3   in connection with the installation of Pegasus   3      had to be populated with fake data, yes.
 4   during the time you were demonstrating it?       4         Q. And that was, fair to say, for the
 5       A. No, I don't.                              5      purpose of demonstrating that that data could
 6       Q. At the top of the next page, it           6      be extracted with Pegasus?
 7   says: "From this moment on, the target can't     7         A. Yes.
 8   hide from us. We can track every move he         8         Q. And would you agree that the purpose
 9   makes."                                          9      of Pegasus is to obtain information from the
10           Do you see that sentence?               10      target devices?
11       A. I do.                                    11         A. Yes.
12       Q. And is that, based on your               12         Q. And that's what it does. Correct?
13   experience, an accurate characterization of     13         A. What do you mean by "data"?
14   Pegasus's capabilities?                         14             Just like, do you have specific data
15       A. What do you -- I don't -- I don't        15      in mind.
16   know what this author of the document is trying 16         Q. Well, let's talk about that, because
17   to say.                                         17      the next couple pages go on about the different
18           "Every move he makes," I don't          18      types of information that can be obtained.
19   understand what that is.                        19             So for instance, on that same page
20       Q. Okay. Would you make any similar         20      ending in 699, about a third of the page from
21   points in the course of your demonstrations as 21       the bottom, it says: "You can obtain a list of
22   to the scope of information that Pegasus        22      contacts."
23   afforded customers?                             23             Are you on the -- it ends in 699.
24       A. I wouldn't make this declaration         24             Are you on that page?
25   here.                                           25         A. Oh, sorry.
                                             Page 123                                                  Page 125
 1      Q. I'm sorry? You said you wouldn't?             1           MR. AKROTIRIANAKIS: Sorry. Where
 2      A. I would not.                                  2   are you reading from, Counsel?
 3      Q. Okay. About a third of the page               3           MR. PEREZ-MARQUES: So Page 699.
 4   down, it says: "Once the agent is installed,        4           MR. AKROTIRIANAKIS: Yeah, I'm
 5   information will be retrieved from the device."     5   there.
 6           Do you see that?                            6           MR. PEREZ-MARQUES: A little --
 7      A. I do.                                         7   maybe a quarter of the page from the bottom, or
 8      Q. And as part of the demonstrations             8   maybe more like a third.
 9   that you ran, you would similarly demonstrate       9   BY MR. PEREZ-MARQUES:
10   the ability to extract information from the        10       Q. It says -- well, in the bold it
11   devices?                                           11   says: "Now, if you don't have any questions,
12           MR. AKROTIRIANAKIS: Objection,             12   we can start going through the different types
13   leading.                                           13   of information the agent sent us."
14      Q. Is that right?                               14           Do you see that?
15      A. Can you say that one more time.              15       A. Yes.
16      Q. Yeah.                                        16       Q. And do you need a break, Mr. Shaner?
17           As part of the demonstrations that         17           I saw you looking at your watch.
18   you ran, would you similarly demonstrate the       18       A. No. No. I'm just fixing my cuff.
19   ability to extract information from the            19       Q. Okay. And when you did
20   devices?                                           20   demonstrations, would you similarly demonstrate
21           MR. AKROTIRIANAKIS: Objection,             21   the types of information that could be obtained
22   vague.                                             22   from -- through Pegasus?
23           THE WITNESS: Yes.                          23       A. Can you say that one more time,
24      Q. Right. I think you said earlier              24   please.
25   that the test devices would have to be             25       Q. When you did demonstrations, would

                                                                                       32 (Pages 122 - 125)
                                       Veritext Legal Solutions
212-279-9424                             www.veritext.com                                      212-490-3430
Case 4:19-cv-07123-PJH             Document 679-2              Filed 04/04/25        Page 54 of 144

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                               Page 190                                                   Page 192
 1   did you use that phone?                               1   see if the messages go through, so I would use
 2      A. I can't recall.                                 2   my personal phone with the phone with the
 3      Q. Okay. Do you know one way or                    3   software installed on it.
 4   another whether you used it for zero-click            4   BY MR. PEREZ-MARQUES:
 5   Android installation?                                 5      Q. Okay.
 6      A. Yeah, I don't know.                             6      A. And that's what this is.
 7      Q. Okay. Well, it says in your                     7      Q. And when you say "the phone with the
 8   message: "I'm trying to install Eden."                8   software installed on it," what do you mean?
 9          So would that suggest that you were            9      A. With the Pegasus software installed
10   trying to install Eden on this device with the       10   on it.
11   202 number?                                          11      Q. So to show that it can still send
12      A. Yeah, that would suggest it, yeah.             12   messages after the Pegasus has been installed?
13      Q. This 202 number, if I just call it             13           MR. AKROTIRIANAKIS: Objection,
14   "the 202 number," will that be clear to you?         14   leading, assumes facts not in evidence, no
15      A. Yes.                                           15   foundation.
16      Q. Where was -- or rather, did you                16           THE WITNESS: Yes.
17   purchase the device associated with that             17   BY MR. PEREZ-MARQUES:
18   number?                                              18      Q. And would you do that in the course
19      A. I don't remember.                              19   of a client demonstration?
20      Q. Do you know when or where it was               20      A. No, not typically.
21   purchased?                                           21      Q. Just as part of your testing, or for
22      A. No, I don't remember that.                     22   what purpose would you do that?
23      Q. Okay. Do you still have the device             23      A. If I didn't have another phone with
24   associated with that 202 number?                     24   me and I used my phone, that's where this would
25      A. No.                                            25   come in (indicating).
                                               Page 191                                                   Page 193
 1          I don't have any device from my time           1     Q.     Okay. Let's do 67A.
 2   at WestBridge.                                        2           Let me show you what we'll mark as
 3      Q. Okay. Was a WhatsApp account                    3   Exhibit 2062.
 4   created for that phone?                               4           (Exhibit 2062, WhatsApp chat dated
 5      A. I don't know.                                   5   5/9/19, SHANER_WHATSAPP_00001484-1485, marked
 6      Q. Okay. If we go to -- let's go to                6   for identification.)
 7   the next exhibit, which will be 2061.                 7      Q. And so this is a two-page WhatsApp
 8          (Exhibit 2061, WhatsApp chat dated             8   exchange for SHANER_WHATSAPP_1484 through 1485.
 9   5/9/19, SHANER_WHATSAPP_00001483, marked for          9           Do you recognize Exhibit 2062?
10   identification.)                                     10      A. (Reviewing document.)
11      Q. 2061 is a single-page WhatsApp                 11           No, I don't recognize this.
12   exchange, SHANER_WHATSAPP_1483.                      12      Q. Okay. And if you look at the -- do
13          Do you recognize this Exhibit 2061?           13   you see the first message is a JPEG file?
14      A. I do not.                                      14      A. Yes.
15      Q. And you see it's an exchange between           15      Q. And so I'm showing you what's been
16   the 202 number we were just looking at and the       16   marked as Exhibit 2063, which is Bates-stamped
17   other recipient is the 614 number that I             17   SHANER_WHATSAPP_1486, which I'll represent to
18   believe you identified as your own.                  18   you is the JPEG file that's included there.
19      A. Yes.                                           19           (Exhibit 2063, JPEG file
20      Q. And why were you having message                20   Installation Status, SHANER_WHATSAPP_00001486,
21   exchanges between the test devices and your          21   marked for identification.)
22   personal phone?                                      22      Q. And actually staying with 2062 for
23          MR. AKROTIRIANAKIS: Objection, no             23   one moment, you see that this is -- 2062 is an
24   foundation.                                          24   exchange between you and NOC. Is that right?
25          THE WITNESS: When I test, I want to           25      A. It appears to be, yep.

                                                                                          49 (Pages 190 - 193)
                                         Veritext Legal Solutions
212-279-9424                               www.veritext.com                                      212-490-3430
Case 4:19-cv-07123-PJH           Document 679-2            Filed 04/04/25        Page 55 of 144

                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                           Page 194                                                 Page 196
 1      Q. And the NOC is associated with a      1         box down is labelled User Information.
 2   number that begins 44?                      2                Do you see that on the first page?
 3      A. (Reviewing document.)                 3            A. I do.
 4          Yes.                                 4            Q. And then you see the MSISDN is that
 5      Q. And is that a UK number?              5         202 number we were looking at?
 6          MR. AKROTIRIANAKIS: Objection,       6            A. I do.
 7   foundation.                                 7            Q. All right. And at the top of this,
 8          THE WITNESS: I don't know where      8         for Name it says: "Prepaid Customer."
 9   that country code is.                       9                Do you see that at the very top of
10   BY MR. PEREZ-MARQUES:                      10         the page under Financial Liable Party?
11      Q. Okay. And so let's look at 2063,     11            A. I do.
12   which is the screenshot.                   12            Q. All right. And when you would
13          What are we seeing here in          13         purchase test devices, did you do so on a
14   Exhibit 2063?                              14         prepaid basis?
15          MR. AKROTIRIANAKIS: Objection, 15                     MR. AKROTIRIANAKIS: Object to the
16   overbroad, vague.                          16         form of the question.
17          THE WITNESS: Do you have a specific 17                THE WITNESS: We would buy phone
18   question?                                  18         cards. So prepaid, yeah.
19   BY MR. PEREZ-MARQUES:                      19         BY MR. PEREZ-MARQUES:
20      Q. Yeah.                                20            Q. Mm-hmm.
21          What is this?                       21            A. Mm-hmm.
22      A. This is the installation status      22            Q. And so you would prepay for the
23   screen for Pegasus.                        23         phone services?
24      Q. Okay. Part of the Pegasus user       24            A. We'd buy monthly -- what do you mean
25   interface?                                 25         by "prepay"? Like an account?
                                           Page 195                                                 Page 197
 1      A. Yes.                                        1      Q. Yes.
 2      Q. Okay. And it says Installation              2      A. Like a monthly account?
 3   Status.                                           3      Q. Well, would you have a monthly
 4           And then you see below that the 202       4   account where you received a bill or would you
 5   number we were looking at before?                 5   prepay in advance?
 6      A. Yes.                                        6      A. In the beginning, we did -- we had
 7      Q. And the name Steve Grover.                  7   our own accounts or we had an account that the
 8           Who is Steve Grover?                      8   company paid for.
 9      A. Steve Grover is just a made up name,        9          And then we moved because we had to
10   yeah.                                            10   buy multiple phones and have multiple SIM
11      Q. And was it your practice when you          11   cards. And I would top it up, so it
12   were setting up test devices to set them up      12   wouldn't -- yeah, I would have to top it up
13   with fake names?                                 13   every month.
14      A. Yes.                                       14      Q. With prepaid cards?
15      Q. If we look at -- let me show you           15      A. Yeah, prepaid cards, yeah.
16   another exhibit. This will be 2064.              16      Q. And why did you have to have
17           (Exhibit 2064, Wireless Subscriber       17   multiple SIM cards?
18   Information, WA-NSO-00000127-131, marked for     18      A. Yeah, different carriers. They had
19   identification.)                                 19   different carriers. That was one of the
20      Q. Which is multipage document                20   biggest things.
21   beginning on WA-NSO-127 through 131.             21          And then multiple phones, so...
22           Do you recognize Exhibit 2064?           22      Q. The address that's reflected there
23      A. (Reviewing document.)                      23   under Prepaid Customer, 7101 Democracy
24           No, I don't.                             24   Boulevard, Bethesda, Maryland, do you recognize
25      Q. Do you see there's a -- the third          25   that address?

                                                                                     50 (Pages 194 - 197)
                                      Veritext Legal Solutions
212-279-9424                            www.veritext.com                                    212-490-3430
Case 4:19-cv-07123-PJH           Document 679-2           Filed 04/04/25        Page 56 of 144

                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                            Page 198                                                Page 200
 1      A. I don't.                                   1           Do you recall who that is?
 2      Q. Do you know where that is in               2       A. I don't know Chris Haley, no.
 3   Bethesda?                                        3       Q. Do you recall marketing NSO products
 4      A. I do know roughly where that is in         4   to agencies in California?
 5   Bethesda.                                        5       A. I do, but not the specific ones.
 6      Q. Okay. But do you know whether              6       Q. Okay. What do you recall about
 7   that's a place where you purchased phones, test 7    marketing NSO products in California?
 8   devices?                                         8       A. I believe they were sheriffs'
 9      A. I can't remember.                          9   offices.
10      Q. Where do you recall purchasing            10       Q. Do you recall which ones?
11   devices for demonstration purposes?             11       A. I don't.
12      A. I don't recall exactly every place I      12       Q. Or when it was?
13   bought a phone.                                 13       A. Not exactly, no. I don't remember,
14      Q. Do you recall any places you bought       14   no.
15   a phone?                                        15       Q. Let me show you what we'll mark as
16      A. Online, cell phone store, Best Buy.       16   Exhibit 2066.
17           But outside of that, I can't            17           (Exhibit 2066, Series of e-mails,
18   remember.                                       18   WA-NSO-00013354-13407, marked for
19      Q. Do you know anything about marketing 19        identification.)
20   efforts for NSO products in Brazil?             20       Q. Ready, Mr. Shaner?
21      A. No.                                       21       A. Oh, sorry.
22      Q. What about Peru?                          22           Thank you.
23      A. No.                                       23       Q. Which is a multipage document
24      Q. Okay. All right.                          24   beginning on WA-NSO-13354 through 13407.
25           MR. PEREZ-MARQUES: Why don't we 25                   And I'd like to just direct your
                                            Page 199                                                Page 201
 1 take a break for lunch and then we can press  1        attention to the page -- these are a series of
 2 on.                                           2        e-mails that were just produced to us in this
 3         THE VIDEOGRAPHER: Going off the       3        way, so I'm marking it in the way it was
 4 record. The time is 1320 p.m.                 4        produced.
 5         (Recess was taken from 1:20 p.m. to   5                But I want to direct you to the page
 6 2:11 p.m.)                                    6        ending 3389, if you could go there.
 7         THE VIDEOGRAPHER: Going back on the 7              A. (Complying.)
 8 record. The time is 1411 p.m.                 8            Q. Actually, let me start you on 3407
 9 BY MR. PEREZ-MARQUES:                         9        if you don't mind.
10     Q. Mr. Shaner, you understand you're     10                And on Page 3407 there's an e-mail
11 still under oath?                            11        from an Alejandro Vargas to you, is that
12     A. Yes.                                  12        correct, josh@westbridge.com? That's your
13     Q. Let me show you what we've marked as  13        e-mail?
14 Exhibit 2065.                                14            A. That is my e-mail.
15     A. Okay.                                 15            Q. And it's dated May 4, 2016.
16         (Exhibit 2065, E-mail chain dated    16        Correct?
17 6/6/16, WA-NSO-00100563, marked for          17            A. Yes.
18 identification.)                             18            Q. With the subject Phantom Brochure
19     Q. Which is a one-page e-mail exchange   19        and WestBridge Meeting.
20 Bates-stamped WA-NSO-00100563.               20                Do you see that?
21         Do you recognize Exhibit 2065?       21            A. Yes.
22     A. (Reviewing document.)                 22            Q. And Mr. Vargas writes to you:
23         No.                                  23        "Josh, I am Alex Vargas, Chief Downing's
24     Q. These are e-mails you sent to a       24        adjutant. I will be facilitating your
25 Chris Haley.                                 25        presentation here at LAPD."
                                                                                    51 (Pages 198 - 201)
                                      Veritext Legal Solutions
212-279-9424                            www.veritext.com                                    212-490-3430
Case 4:19-cv-07123-PJH              Document 679-2             Filed 04/04/25        Page 57 of 144

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                               Page 202                                                   Page 204
 1          Then he continues after a sentence:            1   BY MR. PEREZ-MARQUES:
 2   "What time were you thinking on Monday,               2       Q. Sell NSO products. Right?
 3   May 27th" and some additional scheduling notes.       3          MR. AKROTIRIANAKIS: Object to the
 4          Do you see that?                               4   form of the question.
 5       A. I do.                                          5          THE WITNESS: Yeah, they were NSO
 6       Q. Do you recall making a presentation            6   designed products.
 7   to the LAPD on NSO products?                          7   BY MR. PEREZ-MARQUES:
 8          MR. AKROTIRIANAKIS: Object to the              8       Q. And NSO owned products. Right?
 9   form of the question.                                 9          MR. AKROTIRIANAKIS: Object to the
10          THE WITNESS: I do recall making a             10   form of the question.
11   presentation, or at least I was at a                 11          THE WITNESS: What do you mean by
12   presentation at LAPD.                                12   "owned"?
13   BY MR. PEREZ-MARQUES:                                13   BY MR. PEREZ-MARQUES:
14       Q. Okay. And demonstrating NSO's                 14       Q. NSO owned the software. Right?
15   products?                                            15          It wasn't owned by WestBridge, was
16          MR. AKROTIRIANAKIS: Object to the             16   it?
17   form of the question.                                17       A. NSO, from what I understand, owns
18          THE WITNESS: I don't know if we               18   the software.
19   demonstrated any products outside of a               19       Q. Right. And when you were marketing
20   presentation.                                        20   NSO products in California, that was within
21          I can't recall if we did or not.              21   your responsibilities as a WestBridge employee?
22   BY MR. PEREZ-MARQUES:                                22          MR. AKROTIRIANAKIS: Object to the
23       Q. Okay. Let's have you take a look at           23   form of the question. It's leading.
24   Page 3389 --                                         24          THE WITNESS: My responsibilities
25       A. (Complying.)                                  25   were to demonstrate and market for WestBridge
                                               Page 203                                                   Page 205
 1       Q. -- which is an e-mail from Mark           1        in the United States and Canada.
 2   Castillo to oren@westbridge.com with the         2        BY MR. PEREZ-MARQUES:
 3   subject Product Demo on June 30th, 2016.         3            Q. Including in California?
 4           Do you see that?                         4                MR. AKROTIRIANAKIS: Object to the
 5       A. I do.                                     5        form of the question, leading.
 6       Q. And he writes: "Oren, I would like        6                THE WITNESS: Well, California's
 7   to thank you again for the product demo you put 7         part of the United States, so yes.
 8   on for us at LAPD headquarters."                 8        BY MR. PEREZ-MARQUES:
 9           Does that refresh your recollection      9            Q. Right. And that's one of the places
10   at all as to doing a product demo for the LAPD? 10        where you did in fact engage in marketing
11       A. No, it doesn't.                          11        efforts of NSO products. Right?
12           I mean, if we did a product             12                MR. AKROTIRIANAKIS: Objection,
13   demonstration, I don't remember us doing it.    13        leading.
14           I remember us being there. But if       14                THE WITNESS: Yes, we were there for
15   we did a product demo, I mean, this would show 15         at least a presentation.
16   it.                                             16        BY MR. PEREZ-MARQUES:
17       Q. Right. And you were there for the        17            Q. You can put that aside.
18   purpose of trying to sell NSO's products to the 18            A. (Complying.)
19   LAPD?                                           19            Q. Do you recall engaging in marketing
20           MR. AKROTIRIANAKIS: Object to the 20              efforts towards the San Diego Police
21   form of the question. It's leading and assumes 21         Department?
22   facts not in evidence.                          22            A. Only from a -- only from a news
23           THE WITNESS: We were there as           23        article I saw from a FOIA request that I sent
24   WestBridge trying to sell products, yeah, to    24        an e-mail.
25   the LAPD.                                       25                But I never went to San Diego for
                                                                                          52 (Pages 202 - 205)
                                         Veritext Legal Solutions
212-279-9424                               www.veritext.com                                      212-490-3430
Case 4:19-cv-07123-PJH            Document 679-2             Filed 04/04/25        Page 58 of 144

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                             Page 206                                                  Page 208
 1   anything.                                      1           Q. And that reflects that you did in
 2      Q. What do you mean when you say only 2              fact provide written materials to the San Diego
 3   from a news article you saw from a FOIA        3        Police Department on NSO products?
 4   request?                                       4               MR. AKROTIRIANAKIS: Object to the
 5      A. Well, that was in the subpoena that      5        form of the question. And also, it's leading.
 6   I got for this, that there was e-mails         6               THE WITNESS: Can you ask me that
 7   apparently that I sent to someone at the       7        again.
 8   San Diego Police Department, and that's the    8        BY MR. PEREZ-MARQUES:
 9   extent of it.                                  9           Q. Yeah.
10      Q. Okay. So you sent to someone            10               That reflects that you did in fact
11   e-mails in your capacity as a WestBridge      11        provide written materials to the San Diego
12   employee to someone at the San Diego Police 12          Police Department on NSO products, doesn't it?
13   Department. Is that right?                    13               MR. AKROTIRIANAKIS: Object to the
14      A. Yes.                                    14        form of the question and it's leading.
15      Q. All right. And you did so for the       15               THE WITNESS: I don't know if Daniel
16   purpose of marketing NSO products?            16        Meyer is part of the San Diego Police
17           MR. AKROTIRIANAKIS: Object to the 17            Department.
18   form of the question.                         18               Where is that listed?
19           THE WITNESS: I did so in the          19        BY MR. PEREZ-MARQUES:
20   confines of my job to market and sell, you    20           Q. Well, his e-mail address is
21   know, products that NSO has made, yes.        21        redacted.
22   BY MR. PEREZ-MARQUES:                         22               Do you recall a Daniel Meyer?
23      Q. Right. Okay.                            23           A. I don't.
24           And you recall you provided written   24           Q. Or a Chief Guaderrama?
25   materials to the San Diego Police Department? 25           A. Yeah, I don't. I don't.
                                             Page 207                                                  Page 209
 1           MR. AKROTIRIANAKIS: Objection,              1      Q. If you look on Page 4780 --
 2   leading.                                            2      A. (Complying.)
 3           THE WITNESS: I don't recall if I            3      Q. -- there's an e-mail to you from
 4   did or not.                                         4   Albert Guaderrama on August 8, 2016, where he
 5   BY MR. PEREZ-MARQUES:                               5   writes: "Josh, I forwarded your contact info
 6       Q. All right. Let's take a look at              6   to Sergeant Dan Meyer, who reviews/handles all
 7   what I'll mark as Exhibit 2067 --                   7   products for the SDPD."
 8           (Exhibit 2067, E-mail chain dated           8          Do you see that?
 9   6/6/16, WA-NSO-00014779-791, marked for             9      A. I do.
10   identification.)                                   10      Q. Right. And "SDPD" would be the
11       Q. -- which is a multipage document            11   San Diego Police Department. Correct?
12   beginning on WA-NSO-00014779 through 14791.        12          MR. AKROTIRIANAKIS: Object to the
13           And let me just direct your                13   form of the question.
14   attention. If you go to 786, there's an e-mail     14          THE WITNESS: I don't know.
15   exchange that starts on that page between you      15          I mean, "SDPD" could mean another
16   and Oren Kaplan and Daniel Meyer.                  16   police department. I'm not sure I could answer
17           Do you see that?                           17   that.
18       A. Yes, I do.                                  18   BY MR. PEREZ-MARQUES:
19       Q. All right. And if we look at the            19      Q. What other SDPD police departments
20   following page, 787, you write: "Sergeant          20   do you recall marketing to?
21   Meyer, great talking with you. Attached is the     21      A. I don't know.
22   two pager that describes Phantom in a bit more     22      Q. Can you think of any?
23   detail."                                           23      A. Not right now, no.
24           Do you see that?                           24      Q. And but you do remember having
25       A. I do.                                       25   contact with the San Diego Police Department.

                                                                                       53 (Pages 206 - 209)
                                       Veritext Legal Solutions
212-279-9424                             www.veritext.com                                      212-490-3430
Case 4:19-cv-07123-PJH              Document 679-2              Filed 04/04/25      Page 59 of 144

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                                Page 210                                               Page 212
 1   Right?                                         1           form of the question.
 2      A. Only through the news article that       2                   THE WITNESS: I don't. Yeah, I
 3   came out.                                      3           don't.
 4      Q. What do you mean when you say "only 4                BY MR. PEREZ-MARQUES:
 5   through the news article that came out"?       5               Q. Do you recall whether it was early
 6      A. Because I knew it was something in       6           in your tenure or late in your tenure?
 7   San Diego.                                     7               A. For marketing to who?
 8           But I don't recall any names or        8               Q. San Francisco Police Department.
 9   anything like that.                            9               A. I don't know the dates on it.
10      Q. The article refreshed your              10                   Yeah, I don't know whether it was
11   recollection that you marketed to San Diego.  11           early or later.
12           Is that what you're trying to say?    12               Q. What about San Bernardino? Do you
13      A. The article --                          13           recall when you marketed to them?
14           MR. AKROTIRIANAKIS: Objection, 14                      A. I don't.
15   leading.                                      15               Q. Do you recall how you came to select
16           THE WITNESS: The article was from 16               San Francisco as an agency you would be
17   San Diego, so...                              17           marketing to?
18   BY MR. PEREZ-MARQUES:                         18                   MR. AKROTIRIANAKIS: Objection, no
19      Q. I'm not understanding what relevance 19              foundation, assumes facts not in evidence.
20   the article has.                              20                   THE WITNESS: So I would reach out
21           What did you gather from the article  21           to major police departments and sheriff offices
22   about your marketing towards San Diego Police 22           to see if they'd be interested.
23   Department?                                   23                   And there was no rhyme or reason.
24      A. That there was a FOIA request out of 24              It wasn't because it was California or Idaho or
25   San Diego.                                    25           anything like that. If a major police
                                                Page 211                                               Page 213
 1           But yeah, I'm not sure -- I'm not              1   department had the money and they saw a use
 2   sure if it was with the San Diego Police               2   case, I would reach out.
 3   Department.                                            3   BY MR. PEREZ-MARQUES:
 4      Q. Other than LAPD and San Diego which              4       Q. So you would -- like effectively a
 5   we've discussed, are there California agencies         5   cold call, you would reach out to them and sort
 6   that you recall marketing to?                          6   of offer a demonstration?
 7      A. Yes.                                             7       A. Yes.
 8      Q. Which ones?                                      8       Q. Okay. And before doing that, did
 9      A. The San Francisco Police Department              9   you have to undergo any kind of process to
10   and the San Bernardino County Sheriff's Office.       10   clear the particular prospective customer you
11      Q. When did you market to the                      11   were going to be marketing to?
12   San Francisco Police Department?                      12       A. Only talking it over with Oren
13      A. I don't know the dates.                         13   Kaplan or Terry.
14      Q. Sometime during your tenure at                  14           But outside of that, no, I didn't
15   WestBridge?                                           15   know or I didn't have any idea about that.
16      A. Yes.                                            16       Q. How did you come to market to
17      Q. And you were marketing NSO products?            17   San Bernardino Sheriff's Office?
18           MR. AKROTIRIANAKIS: Object to the             18       A. I can't remember how we got a lead
19   form of the question.                                 19   to talk to them.
20           THE WITNESS: Yeah, I was marketing            20           (Reporter clarification.)
21   products that NSO made.                               21           THE WITNESS: How we got the lead to
22   BY MR. PEREZ-MARQUES:                                 22   talk to them, how that lead came in for us to
23      Q. Right. Do you recall whether it was             23   meet and talk with them, I don't know.
24   in 2018 or 2019?                                      24       Q. Okay. What about Los Angeles? How
25           MR. AKROTIRIANAKIS: Object to the             25   did you get the lead to talk to them?
                                                                                        54 (Pages 210 - 213)
                                         Veritext Legal Solutions
212-279-9424                               www.veritext.com                                    212-490-3430
Case 4:19-cv-07123-PJH             Document 679-2              Filed 04/04/25      Page 60 of 144

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                               Page 294                                               Page 296
 1   or a proof of concept of Pegasus/Phantom?             1   them?
 2      A. I would bring a number of phones,               2       A. Yes.
 3   SIM cards, a laptop, power cables, HDMI cables,       3       Q. And in every case, did you leave
 4   a speaker.                                            4   with them?
 5          That was pretty much -- that was               5       A. Every single case, yeah.
 6   good enough for most of what we did.                  6       Q. In the stack of documents before you
 7      Q. And referring specifically to                   7   is an Exhibit 2063. That is this one
 8   demonstrations as opposed to proofs of concept,       8   (indicating).
 9   okay, with respect to demonstrations, would you       9       A. (Reviewing documents.)
10   always bring with you the target phone?              10          Yep, I've got it.
11      A. Do you mean -- can you rephrase.               11       Q. Okay. And this is a document that
12          Like when you say "target phone,"             12   says Installation Status at the top and it has
13   you mean our phones that we bought?                  13   the name Steve Grover and the phone number
14      Q. So when you would conduct a                    14   1 (202) 765-5322.
15   demonstration as opposed to a proof of concept,      15          Do you see that?
16   you sort of -- in your mind, you separate            16       A. I do.
17   between demonstrations and proof of concept and      17       Q. And do you recognize the phone
18   demonstrations. Right?                               18   number (202) 765-5322?
19      A. Mm-hmm.                                        19       A. I do.
20      Q. Okay. So let's focus on                        20       Q. Do you know whose phone number that
21   demonstrations only for the moment.                  21   was?
22      A. Mm-hmm.                                        22       A. That was the phone number on a SIM
23      Q. When you would conduct a                       23   card that we used for our demo devices.
24   demonstration, you would have a phone that you       24       Q. And when you say "we," do you mean
25   would demonstrate Pegasus or Phantom against.        25   WestBridge?
                                               Page 295                                               Page 297
 1   Right?                                                1       A. I mean WestBridge, yes.
 2      A. We would have a series of phones                2       Q. Was that phone number and that SIM
 3   that we could use.                                    3   card that it was assigned to, property of
 4      Q. And with respect to demonstrations,             4   WestBridge?
 5   how did those phones comes to be in the room          5       A. Yes.
 6   where you were conducting the demonstration?          6       Q. Is Steve Grover a real person?
 7      A. I would bring them in a kit that I              7       A. Steve Grover is a person I just made
 8   had.                                                  8   up, yes, not real.
 9      Q. And was that true every single time             9       Q. Okay. So Steve Grover is the
10   you conducted a demonstration?                       10   profile that you used for this demonstration
11      A. Yes.                                           11   phone?
12      Q. Now, focusing on proofs of concept             12       A. No.
13   as opposed to demonstrations for the moment.         13          So actually you could just type in a
14      A. Mm-hmm.                                        14   random name in Pegasus. So that name wasn't
15      Q. How would it be that the phones                15   attached to that SIM card. That was just a
16   against which you were going to demonstrate          16   name I put in Pegasus for a demo or a test.
17   Pegasus/Phantom would come into the room if you      17       Q. But the phone against which you were
18   were going to conduct a proof of concept?            18   demonstrating in this case would have been the
19      A. The potential partner would let us             19   phone number that we see?
20   know what phones they wanted to demonstrate.         20       A. Yes.
21          We would tell them, okay, they have           21       Q. So in the demonstration that you
22   to be brand new in the wrapper, and the              22   conducted -- well, did you conduct one
23   potential client would bring them in.                23   demonstration or more than one demonstration
24      Q. Would they bring them in with the              24   using (202) 765-5322?
25   understanding that you were going to leave with      25       A. I mean, I can't recall.
                                                                                       75 (Pages 294 - 297)
                                         Veritext Legal Solutions
212-279-9424                               www.veritext.com                                   212-490-3430
Case 4:19-cv-07123-PJH             Document 679-2              Filed 04/04/25     Page 61 of 144

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                               Page 298                                            Page 300
 1           It's more than one, I'm sure, but I           1   was a covert vector for Pegasus for Android?
 2   can't recall.                                         2       A. Yeah, I believe the covert vector
 3      Q. Was any data ever removed from that             3   for iOS came first before any sort of covert
 4   phone without your consent?                           4   vector for Android.
 5      A. Can you resay that.                             5            (Exhibit 1403, Installations,
 6      Q. Yeah.                                           6   SHANER_WHATSAPP_00001416, marked for
 7           When you were operating Pegasus               7   identification.)
 8   against that phone number (202) 765-5322, were        8       Q. This will be Exhibit 1403. It's a
 9   you doing so knowing that you were removing           9   little bit hard to read.
10   data from your own phone?                            10            But are you able to make out the --
11           MR. PEREZ-MARQUES: Object to the             11   in the fourth and fifth lines, there's a 202
12   form.                                                12   number, and it looks like the name is Chris
13           THE WITNESS: Yes.                            13   McCloud?
14           That number was -- yeah. Yes, that           14       A. Yes.
15   was always and only used to remove data from         15       Q. This is -- is this a screen from the
16   the demo device itself.                              16   user interface?
17   BY MR. AKROTIRIANAKIS:                               17       A. Yes.
18      Q. When you worked for WestBridge, did            18       Q. And is that Pegasus/Phantom?
19   you ever demonstrate vectors for Pegasus other       19       A. Yes.
20   than covert Android?                                 20       Q. Is -- who is Chris McCloud? Is that
21      A. I did.                                         21   a real person?
22      Q. And is that trigger?                           22       A. No, that's a name I made up.
23           MR. PEREZ-MARQUES: Object to the             23       Q. For purposes of demonstrations?
24   form.                                                24       A. Yes.
25      Q. Did that include trigger Android?              25       Q. What is the phone number that's --
                                               Page 299                                            Page 301
 1      A. Like a one -- are you talking about       1 phone numbers that are associated to Chris
 2   one-click Android?                              2 McCloud on this exhibit, Exhibit 1403?
 3      Q. Sure.                                     3    A. You want me to read them?
 4          Are you familiar with the                4    Q. Well, I'll read them into the
 5   terminology "triggering"?                       5 record.
 6      A. I don't believe I am.                     6        But I'm going to ask you whether
 7      Q. Are you familiar with the                 7 those were phones that were -- well, if you
 8   terminology "one-click"?                        8 know who owned those phone numbers.
 9      A. Yes.                                      9        So the first one is -- associated
10      Q. And what's "one-click" as opposed to 10 with Chris McCloud is 1 (202) 695-4312.
11   "covert"?                                      11        Do you see that?
12          MR. PEREZ-MARQUES: Object to the 12           A. Yes.
13   form.                                          13    Q. And who owned the phone number
14          THE WITNESS: One-click, you have to 14 1 (202) 695-4312?
15   have someone click on the link on the device   15    A. If it was in Pegasus, any 202 would
16   and that would install the software on the     16 be a SIM card owned by WestBridge.
17   phone.                                         17    Q. Okay. And would the same be true of
18          Covert, or zero-click, would            18 the other number that we see, 1 (202) 713-0061?
19   automatically install the software on the      19    A. Yes.
20   device without the need of a click.            20    Q. And are those SIM cards or phone
21   BY MR. AKROTIRIANAKIS:                         21 numbers that you would use during your
22      Q. Do you know whether there was a          22 demonstrations of --
23   covert vector for -- withdraw that.            23    A. I don't recognize these phone
24          Do you know whether there was a         24 numbers.
25   covert vector for Pegasus for iOS before there 25        But the 202 would be a WestBridge

                                                                                      76 (Pages 298 - 301)
                                         Veritext Legal Solutions
212-279-9424                               www.veritext.com                                 212-490-3430
Case 4:19-cv-07123-PJH           Document 679-2           Filed 04/04/25      Page 62 of 144

                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                            Page 322                                             Page 324
 1          Do you stand by that testimony?           1   last page of 1401, that's not a document you
 2       A. Yeah, I mean, I --                        2   ever recall seeing during your time at
 3          MR. AKROTIRIANAKIS: Objection,            3   WestBridge?
 4   compound, overbroad.                             4       A. I don't recall seeing this document,
 5          THE WITNESS: Yeah, because I don't 5          no.
 6   know when it was created.                        6       Q. I want to make sure we have a clear
 7   BY MR. PEREZ-MARQUES:                            7   record on the question of who was the president
 8       Q. Okay. And do you stand by that            8   of WestBridge and when.
 9   testimony that you don't have an understanding 9            And I think you testified that
10   as to whether it was created shortly before you 10   DiVittorio was the only president during your
11   joined?                                         11   tenure at WestBridge. Is that correct?
12          MR. AKROTIRIANAKIS: Objection, 12                 A. That's what I recall.
13   vague.                                          13       Q. And was he president throughout your
14          THE WITNESS: I was of the                14   tenure at WestBridge?
15   understanding that it was created shortly       15       A. No, only when he joined.
16   before I joined the company, yes.               16       Q. Okay. And when did he join to the
17   BY MR. PEREZ-MARQUES:                           17   best of your recollection?
18       Q. And so when you told me earlier that 18           A. Sometime in -- I can't guess.
19   you couldn't recall that, you now do have a     19          To the best of my recollection,
20   recollection of that?                           20   sometime in 2017, I believe.
21       A. I thought I said it was created a        21       Q. Okay. You were asked some questions
22   year before I joined roughly. I do feel like I  22   by your counsel about Exhibit 2049, which was
23   mentioned that.                                 23   an intercompany distribution agreement that I
24       Q. I'd like to show you what your           24   had marked during your examination.
25   counsel marked as Exhibit 1401.                 25          Do you recall that generally?
                                            Page 323                                             Page 325
 1       A. Okay.                                    1       A. Yes.
 2       Q. And you were pointed to the second       2       Q. I asked you during your examination
 3   to last page here in 1401 --                    3    this morning: "Did WestBridge have a
 4       A. Yes.                                     4    distribution agreement with NSO to your
 5       Q. -- which is, has a header from the       5    knowledge?"
 6   IRS.                                            6            You answered: "I don't know."
 7           Do you see that?                        7            I asked you: "You've never seen
 8       A. Yes.                                     8    such an agreement?"
 9       Q. And have you seen this document          9            And you said: "No."
10   before today?                                  10            Do you stand by that testimony?
11       A. I have seen this document, yes.         11       A. Yes, I have never seen this document
12       Q. Okay. In what context have you seen 12        until this -- until today actually.
13   it?                                            13       Q. Okay. When it was given to you by
14       A. In -- when I was given the document     14    your counsel?
15   from my attorney.                              15       A. When it was given to me by you.
16       Q. Today you were shown the document by 16          Q. And the version that was marked by
17   your counsel?                                  17    your counsel, which is Exhibit 1402 --
18       A. Yes.                                    18       A. Yes.
19       Q. Did you ever see it during your time    19       Q. -- had you ever seen that document
20   at WestBridge?                                 20    before today?
21       A. I don't know if I saw this document.    21       A. No.
22           But I definitely had to know what      22       Q. So not a document you're familiar
23   the employer identification number was.        23    with?
24       Q. Okay. But the document on which you 24           A. No.
25   were questioned by your counsel, the second to 25       Q. When you created -- you were asked
                                                                                  82 (Pages 322 - 325)
                                      Veritext Legal Solutions
212-279-9424                            www.veritext.com                                  212-490-3430
Case 4:19-cv-07123-PJH              Document 679-2             Filed 04/04/25       Page 63 of 144

                     HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                               Page 326                                                Page 328
 1   some questions about the name Steve Grover and        1   questioning, you don't regard them as doing
 2   the number it was associated with in the              2   similar things?
 3   Pegasus user interface.                               3      A. No, not at all. Completely
 4          Do you recall that?                            4   different.
 5       A. When I was asked questions about it?           5      Q. Why completely different?
 6       Q. Yeah, just now by your counsel you             6      A. Remote versus plugged in. It's
 7   were asked some questions.                            7   completely different.
 8       A. Yeah, I do recall that, yes.                   8      Q. And from your perspective, is one of
 9       Q. When you created a WhatsApp account            9   the two options advantageous for the customers'
10   for that 202 test phone number, did you include      10   perspective?
11   a name with the account?                             11          MR. AKROTIRIANAKIS: Objection,
12       A. I can't recall.                               12   vague, no foundation.
13          But if that's required, then I had            13          THE WITNESS: I guess it depends on
14   to have if I created the WhatsApp account.           14   the customer and what their requirements are
15       Q. You would have followed the required          15   and what they're looking for.
16   steps?                                               16          I can see it going both ways.
17       A. To create a name if I had to? Yeah.           17   BY MR. PEREZ-MARQUES:
18       Q. And any other required steps to               18      Q. I asked you this morning -- this is
19   create a WhatsApp account you would have             19   Page 81, Line 15: "When you were doing a
20   followed?                                            20   demonstration of Pegasus, the installation
21          MR. AKROTIRIANAKIS: Objection,                21   worked the same as if Pegasus were being
22   vague.                                               22   deployed by a customer. Is that right?"
23          THE WITNESS: To create an account,            23          You answered: "I had no visibility
24   I would have followed the steps to create an         24   into our customers, so I can't answer that."
25   account.                                             25          Do you stand by that testimony?
                                               Page 327                                                Page 329
 1   BY MR. PEREZ-MARQUES:                                 1      A. I had no visibility into the way our
 2      Q. Including accepting the terms and               2   customers -- or I'm sorry -- the way Pegasus in
 3   conditions for WhatsApp?                              3   any way was deployed from our customers.
 4           MR. AKROTIRIANAKIS: Objection,                4           So if I --
 5   calls for a legal conclusion. Also, no                5           (Simultaneous crosstalk.)
 6   foundation.                                           6      Q. Go ahead if you weren't finished.
 7           THE WITNESS: If that was part of              7      A. No, I guess if I can clarify it that
 8   the steps to create an account, to sign off on        8   way, yeah, I had no visibility into that.
 9   the terms and conditions, then yes.                   9      Q. Okay. And so as to the extent to
10   BY MR. PEREZ-MARQUES:                                10   which a customer's version of Pegasus was the
11      Q. I asked you during my examination --           11   same or different to what you were
12   this is Page 132, Line 3: "Did you have an           12   demonstrating in the US, you can't speak to
13   understanding during your time at WestBridge as      13   that. Is that right?
14   to whether there were competitors out there          14      A. That's true, because I have not seen
15   marketing similar products?"                         15   an operational Pegasus system.
16           You answered: "No."                          16      Q. You talked about a marketing license
17           I asked you: "No understanding one           17   that may have existed to market in the United
18   way or the other?"                                   18   States.
19           And you answered: "I didn't                  19           Do you recall that generally?
20   remember hearing anything about competitors          20      A. I do.
21   doing similar things."                               21      Q. WestBridge wasn't involved in
22           Do you stand by that testimony?              22   obtaining such a license, were they?
23      A. I do.                                          23      A. I don't know.
24      Q. And Cellebrite, which you testified            24      Q. You testified earlier about some
25   about in response to your counsel's                  25   instances in which you demonstrated Pegasus
                                                                                        83 (Pages 326 - 329)
                                         Veritext Legal Solutions
212-279-9424                               www.veritext.com                                    212-490-3430
Case 4:19-cv-07123-PJH             Document 679-2               Filed 04/04/25            Page 64 of 144

                    HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
                                               Page 334                                                        Page 336
 1          THE REPORTER: Do you need a copy at            1 JOSEPH N. AKROTIRIANAKIS, ESQ.
 2   all?                                                  2 jakro@kslaw.com
 3          MR. AKROTIRIANAKIS: I guess, yeah.             3                 September 25, 2024
 4          Can my secretary give you our order?           4 RE: WHATSAPP INC., et al. vs.
 5   We have like a standard. I just don't know.                NSO GROUP TECHNOLOGIES LTD. et al.
 6          THE REPORTER: Yeah, I'll e-mail.               5    9/17/2024, Joshua Shaner (#6891978)
 7          THE VIDEOGRAPHER: Thank you. We                6    The above-referenced transcript is available for
 8   are off the record at 1745 p.m. Eastern.              7 review.
 9          This concludes today's testimony               8    Within the applicable timeframe, the witness should
                                                           9 read the testimony to verify its accuracy. If there are
10   given by Josh Shaner. The total number of
                                                          10 any changes, the witness should note those with the
11   media units used is nine and will be retained
                                                          11 reason, on the attached Errata Sheet.
12   by Veritext.
                                                          12    The witness should sign the Acknowledgment of
13          (Deposition adjourned at 5:45 p.m.)
                                                          13 Deponent and Errata and return to the deposing attorney.
14
                                                          14 Copies should be sent to all counsel, and to Veritext at
15
                                                          15 cs-ny@veritext.com.
16                                                        16    Return completed errata within 30 days from
17                                                        17 receipt of testimony.
18                                                        18    If the witness fails to do so within the time
19                                                        19 allotted, the transcript may be used as if signed.
20                                                        20
21                                                        21
22                                                        22           Yours,
23                                                        23           Veritext Legal Solutions
24                                                        24
25                                                        25
                                               Page 335                                                        Page 337
 1   District of Columbia, to wit:                         1 WHATSAPP INC., et al. vs.
 2           I, Stacey L. Daywalt, a Notary                    NSO GROUP TECHNOLOGIES LTD. et al.
 3   Public of the District of Columbia, do hereby         2 9/17/2024 - Joshua Shaner (#6891978)
 4   certify that the within-named witness remotely        3           ERRATA SHEET
 5   appeared before me at the time and place herein       4 PAGE_____ LINE_____ CHANGE________________________
 6   set out, and after having been duly sworn by          5 __________________________________________________
 7   me, according to law, was examined by Counsel.        6 REASON____________________________________________
 8           I further certify that the                    7 PAGE_____ LINE_____ CHANGE________________________

 9   examination was recorded stenographically by me       8 __________________________________________________
                                                           9 REASON____________________________________________
10   and this transcript is a true record of the
                                                          10 PAGE_____ LINE_____ CHANGE________________________
11   proceedings.
                                                          11 __________________________________________________
12           I further certify that I am not of
                                                          12 REASON____________________________________________
13   counsel to any of the parties, nor an employee
                                                          13 PAGE_____ LINE_____ CHANGE________________________
14   of counsel, nor related to any of the parties,
                                                          14 __________________________________________________
15   nor in any way interested in the outcome of
                                                          15 REASON____________________________________________
16   this action.
                                                          16 PAGE_____ LINE_____ CHANGE________________________
17           As witness my hand and Notarial Seal         17 __________________________________________________
18   this 18th day of September, 2024.                    18 REASON____________________________________________
19                                                        19 PAGE_____ LINE_____ CHANGE________________________
20                                                        20 __________________________________________________
21          <%11886,Signature%>                           21 REASON____________________________________________
22          Stacey L. Daywalt, Notary Public              22
23          My Commission Expires: 4/14/2026              23 ________________________________ _______________
24                                                        24 Joshua Shaner             Date
25                                                        25

                                                                                               85 (Pages 334 - 337)
                                        Veritext Legal Solutions
212-279-9424                              www.veritext.com                                           212-490-3430
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 65 of 144




              EXHIBIT 18
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 66 of 144
                           Case 4:19-cv-07123-PJH          Document 679-2                 Filed 04/04/25             Page 67 of 144


userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates         transfers               num_transfer
         6103743987   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        NL                                                               1
         6108289999   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                                               1
         6334562024   attacker     attacker       5/9/2019      4/3/2019          purge             6/8/2019        NL                                                               1
         6205347333   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                                               1
         6151092881   attacker     attacker       5/6/2019      2/27/2019         purge             7/7/2019        SE                                                               1
         6108210128   attacker     attacker       4/30/2019     2/19/2019         purge             7/1/2019        SE                                                               1
         6149450483   attacker     attacker       5/8/2019      2/27/2019         purge             7/9/2019        NL                                                               1
         6050032579   attacker     attacker       5/5/2019      2/8/2019          purge             7/6/2019        NL                                                               1
         6500203792   attacker     attacker       5/12/2019     5/5/2019          purge             6/17/2019       CY                                                               1
         5744876452   attacker     attacker       5/2/2019      12/13/2018        purge             7/3/2019        IL                                                               1
         6153549116   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                                               1
         6499248604   attacker     attacker       5/6/2019      5/5/2019          purge             6/5/2019        CY                                                               1
         6022847519   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                                               1
         6155579743   attacker     attacker       5/4/2019      2/28/2019         purge             6/3/2019        NL                                                               1
         6102570691   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                                               1
         6357577570   NSO          NSO Group      5/2/2019      4/8/2019          purge             7/9/2019        IL                ["2019-04-23","2019- ["IN -> IL","IL -> IN"]   2
                                                                                                                                      04-15"]
         6105974611   attacker     attacker       5/7/2019      2/18/2019         purge             6/6/2019        NL                                                               1
         6106812082   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                                               1
         6478849795   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                                               1
         6005916338   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                                               1
         5732503229   attacker     attacker       5/6/2019      12/10/2018        purge             7/7/2019        SE                                                               1
         6146761662   attacker     attacker       5/6/2019      2/26/2019         purge             7/7/2019        SE                                                               1
         5663498053   NSO          NSO Group      2/11/2019     11/27/2018        purge             4/20/2019       IL                                                               1
         6002339476   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                                               1
         6258373447   attacker     attacker       5/2/2019      3/20/2019         purge             7/3/2019        NL                                                               1
         6500404661   attacker     attacker       5/5/2019      5/5/2019          purge             6/5/2019        CY                                                               1
         6024496487   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                                               1
         6109448239   attacker     attacker       5/7/2019      2/19/2019         purge             7/8/2019        SE                                                               1
         6206331649   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                                               1
         6002816412   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                                               1
         6216603413   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        SE                                                               1
         6504044703   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                                               1
         6099324154   attacker     attacker       5/8/2019      2/17/2019         purge             7/9/2019        NL                                                               1
         6207724985   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                                               1
         6218708984   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        CY                                                               1
         6218150132   attacker     attacker       5/4/2019      3/12/2019         purge             6/3/2019        NL                                                               1
         6301207753   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                                               1
         6109953296   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                                               1
         6472543390   attacker     attacker       5/2/2019      4/30/2019         purge             6/2/2019        CY                                                               1
         6394764087   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                                               1
         6152974278   attacker     attacker       5/3/2019      2/28/2019         purge             6/3/2019        NL                                                               1
         6153573186   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                                               1
         6108203369   attacker     attacker       5/6/2019      2/19/2019         purge             6/6/2019        NL                                                               1
         6061647976   NSO          NSO Group      5/2/2019      2/10/2019         purge             7/9/2019        IL                ["2019-04-18","2019- ["IN -> IL","IL ->        6
                                                                                                                                      03-17","2019-03-     ID","ID -> IL","IL ->
                                                                                                                                      27","2019-04-        IN","SG -> IL","IL ->
                                                                                                                                      14","2019-04-        SG"]
                                                                                                                                      08","2019-03-31"]




                                                                         1 of 2
                           Case 4:19-cv-07123-PJH          Document 679-2                Filed 04/04/25              Page 68 of 144


userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6476845603   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6071275998   attacker     attacker       5/4/2019      2/12/2019         purge             6/3/2019        NL                                             1
         6506415140   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6205049002   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6504646455   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6513224559   attacker     attacker       5/8/2019      5/8/2019          purge             6/7/2019        CY                                             1
         6156905113   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6208790002   attacker     attacker       5/4/2019      3/10/2019         purge             6/3/2019        SE                                             1
         6104008493   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                             1
         6477477878   attacker     attacker       5/1/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6120017825   attacker     attacker       5/6/2019      2/21/2019         purge             6/5/2019        SE                                             1
         6299619093   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                             1
         6156837889   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6392792360   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                             1




                                                                         2 of 2
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 69 of 144




              EXHIBIT 19
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 70 of 144
                           Case 4:19-cv-07123-PJH          Document 679-2                   Filed 04/04/25           Page 71 of 144


userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6105444136   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6243581667   attacker     attacker       5/4/2019      3/17/2019         natural           5/4/2019        ID                                             1
         6029451264   attacker     attacker       5/12/2019     2/4/2019                                            SE                                             1
         6076902872   attacker     attacker       5/10/2019     2/13/2019                                           SE                                             1
         6103743987   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        NL                                             1
         6108289999   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                             1
         6028162683   attacker     attacker       5/10/2019     2/4/2019                                            NL                                             1
         6334562024   attacker     attacker       5/9/2019      4/3/2019          purge             6/8/2019        NL                                             1
         6501096241   attacker     attacker       5/12/2019     5/5/2019                                            CY                                             1
         6368836156   attacker     attacker       5/12/2019     4/10/2019                                           CY                                             1
         6004453026   attacker     attacker       5/12/2019     1/30/2019                                           SE                                             1
         6469249783   attacker     attacker       5/12/2019     4/29/2019                                           CY                                             1
         6152786953   attacker     attacker       5/12/2019     2/28/2019                                           NL                                             1
         6205347333   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6503225476   attacker     attacker       5/12/2019     5/6/2019                                            ID                                             1
         6078718634   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6151092881   attacker     attacker       5/6/2019      2/27/2019         purge             7/7/2019        SE                                             1
         6098770247   attacker     attacker       5/10/2019     2/17/2019                                           SE                                             1
         6325260330   attacker     attacker       5/11/2019     4/2/2019                                            CY                                             1
         6032145169   attacker     attacker       5/12/2019     2/4/2019                                            SE                                             1
         6262392959   attacker     attacker       5/12/2019     3/20/2019                                           SE                                             1
         6082128641   attacker     attacker       5/10/2019     2/14/2019                                           SE                                             1
         6108210128   attacker     attacker       4/30/2019     2/19/2019         purge             7/1/2019        SE                                             1
         6208986194   attacker     attacker       5/12/2019     3/10/2019                                           SE                                             1
         6212034284   attacker     attacker       5/10/2019     3/11/2019                                           SE                                             1
         6149450483   attacker     attacker       5/8/2019      2/27/2019         purge             7/9/2019        NL                                             1
         6267490104   attacker     attacker       5/12/2019     3/21/2019                                           SE                                             1
         6050032579   attacker     attacker       5/5/2019      2/8/2019          purge             7/6/2019        NL                                             1
         6179538473   attacker     attacker       7/3/2019      3/5/2019                                            US                                             1
         6143676951   attacker     attacker       5/12/2019     2/26/2019                                           NL                                             1
         6500203792   attacker     attacker       5/12/2019     5/5/2019          purge             6/17/2019       CY                                             1
         6467895549   attacker     attacker       5/12/2019     4/29/2019                                           CY                                             1
         5744876452   attacker     attacker       5/2/2019      12/13/2018        purge             7/3/2019        IL                                             1
         6153549116   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6499248604   attacker     attacker       5/6/2019      5/5/2019          purge             6/5/2019        CY                                             1
         6121335644   attacker     attacker       5/12/2019     2/21/2019                                           SE                                             1
         6355080920   attacker     attacker       5/11/2019     4/7/2019                                            CY                                             1
         6022847519   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                             1
         6256086398   attacker     attacker       5/12/2019     3/19/2019                                           SE                                             1
         6113150304   attacker     attacker       5/9/2019      2/20/2019                                           NL                                             1
         6032563548   attacker     attacker       5/10/2019     2/4/2019                                            NL                                             1
         6154923185   attacker     attacker       5/13/2019     2/28/2019                                           SE                                             1
         5509702620   attacker     attacker       5/24/2019     10/29/2018                                          US                                             1
         6155579743   attacker     attacker       5/4/2019      2/28/2019         purge             6/3/2019        NL                                             1
         6077635271   attacker     attacker       5/11/2019     2/13/2019                                           NL                                             1
         6102570691   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                             1
         6259834569   attacker     attacker       5/11/2019     3/20/2019                                           SE                                             1
         6247183445   attacker     attacker       5/12/2019     3/18/2019                                           SE                                             1
         6210905678   attacker     attacker       5/10/2019     3/11/2019                                           SE                                             1
         6105974611   attacker     attacker       5/7/2019      2/18/2019         purge             6/6/2019        NL                                             1



                                                                         1 of 4
                           Case 4:19-cv-07123-PJH          Document 679-2                 Filed 04/04/25             Page 72 of 144


userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         5738969028   attacker     attacker       5/13/2019     12/12/2018                                          AT                                             1
         6106812082   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                             1
         6367649888   attacker     attacker       5/12/2019     4/10/2019                                           NL                                             1
         6103780102   attacker     attacker       5/9/2019      2/18/2019                                           SE                                             1
         6478849795   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6005916338   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                             1
         6114856199   attacker     attacker       5/11/2019     2/20/2019                                           SE                                             1
         6051518815   attacker     attacker       5/12/2019     2/8/2019                                            NL                                             1
         6076081163   attacker     attacker       5/10/2019     2/13/2019                                           NL                                             1
         5732503229   attacker     attacker       5/6/2019      12/10/2018        purge             7/7/2019        SE                                             1
         6077823677   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6146761662   attacker     attacker       5/6/2019      2/26/2019         purge             7/7/2019        SE                                             1
         6050401515   attacker     attacker       5/12/2019     2/8/2019                                            NL                                             1
         6040981076   attacker     attacker       5/10/2019     2/6/2019                                            NL                                             1
         6047995313   attacker     attacker       5/10/2019     2/7/2019                                            NL                                             1
         6081075313   attacker     attacker       5/12/2019     2/14/2019                                           SE                                             1
         6259442613   attacker     attacker       5/10/2019     3/20/2019                                           NL                                             1
         6002339476   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                             1
         6076252847   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6258373447   attacker     attacker       5/2/2019      3/20/2019         purge             7/3/2019        NL                                             1
         6032654071   attacker     attacker       5/9/2019      2/4/2019                                            CY                                             1
         6500404661   attacker     attacker       5/5/2019      5/5/2019          purge             6/5/2019        CY                                             1
         6070521361   attacker     attacker       5/12/2019     2/12/2019                                           NL                                             1
         6024496487   attacker     attacker       5/12/2019     2/3/2019          purge             6/17/2019       CY                                             1
         6109448239   attacker     attacker       5/7/2019      2/19/2019         purge             7/8/2019        SE                                             1
         6100061526   attacker     attacker       5/12/2019     2/17/2019                                           SE                                             1
         6247061970   attacker     attacker       5/12/2019     3/18/2019                                           SE                                             1
         6078252728   attacker     attacker       5/10/2019     2/13/2019                                           SE                                             1
         6120394832   attacker     attacker       5/12/2019     2/21/2019                                           SE                                             1
         6105563586   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6206331649   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6337444467   attacker     attacker       5/9/2019      4/4/2019                                            NL                                             1
         6143553766   attacker     attacker       5/12/2019     2/26/2019                                           SE                                             1
         6002816412   attacker     attacker       5/12/2019     1/30/2019         purge             6/17/2019       SE                                             1
         6216603413   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        SE                                             1
         6114552550   attacker     attacker       5/12/2019     2/20/2019                                           SE                                             1
         6050764839   attacker     attacker       5/11/2019     2/8/2019                                            NL                                             1
         6329156411   attacker     attacker       5/12/2019     4/2/2019                                            CY                                             1
         6504044703   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6187021912   attacker     attacker       7/9/2019      3/6/2019                                            US                                             1
         6099324154   attacker     attacker       5/8/2019      2/17/2019         purge             7/9/2019        NL                                             1
         6207724985   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6218708984   attacker     attacker       5/3/2019      3/12/2019         purge             6/3/2019        CY                                             1
         6101002346   attacker     attacker       5/12/2019     2/17/2019                                           SE                                             1
         6256288700   attacker     attacker       5/9/2019      3/19/2019                                           SE                                             1
         6216568907   attacker     attacker       5/12/2019     3/12/2019                                           SE                                             1
         6109548904   attacker     attacker       5/12/2019     2/19/2019                                           SE                                             1
         6082767014   attacker     attacker       5/10/2019     2/14/2019                                           SE                                             1
         6218150132   attacker     attacker       5/4/2019      3/12/2019         purge             6/3/2019        NL                                             1
         6301207753   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                             1



                                                                         2 of 4
                           Case 4:19-cv-07123-PJH          Document 679-2                 Filed 04/04/25             Page 73 of 144


userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6174391968   attacker     attacker       5/12/2019     3/4/2019                                            ZA                                             1
         6109953296   attacker     attacker       5/6/2019      2/19/2019         purge             6/5/2019        CY                                             1
         6329749998   attacker     attacker       5/12/2019     4/2/2019                                            CY                                             1
         6108486367   attacker     attacker       5/7/2019      2/19/2019                                           CY                                             1
         6121451178   attacker     attacker       5/9/2019      2/21/2019                                           SE                                             1
         6242775066   attacker     attacker       5/12/2019     3/17/2019                                           ID                                             1
         6085286680   attacker     attacker       5/11/2019     2/14/2019                                           NL                                             1
         6148701473   attacker     attacker       5/12/2019     2/27/2019                                           SE                                             1
         6053747406   attacker     attacker       5/10/2019     2/8/2019                                            NL                                             1
         5893135494   attacker     attacker       5/8/2019      1/9/2019                                            CY                                             1
         6472543390   attacker     attacker       5/2/2019      4/30/2019         purge             6/2/2019        CY                                             1
         6105623221   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6394764087   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                             1
         6152974278   attacker     attacker       5/3/2019      2/28/2019         purge             6/3/2019        NL                                             1
         6353188228   attacker     attacker       5/12/2019     4/7/2019                                            CY                                             1
         5974715003   attacker     attacker       5/12/2019     1/24/2019                                           NL                                             1
         6096293436   attacker     attacker       5/12/2019     2/17/2019                                           SE                                             1
         6153573186   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6111174567   attacker     attacker       5/11/2019     2/19/2019                                           NL                                             1
         6371123810   attacker     attacker       5/9/2019      4/10/2019                                           CY                                             1
         6261706711   attacker     attacker       5/11/2019     3/20/2019                                           SE                                             1
         6326040444   attacker     attacker       5/11/2019     4/2/2019                                            CY                                             1
         6328452740   attacker     attacker       5/11/2019     4/2/2019                                            CY                                             1
         6368267588   attacker     attacker       5/10/2019     4/10/2019                                           CY                                             1
         6108203369   attacker     attacker       5/6/2019      2/19/2019         purge             6/6/2019        NL                                             1
         6476845603   attacker     attacker       5/2/2019      5/1/2019          purge             6/2/2019        CY                                             1
         6500911096   attacker     attacker       5/12/2019     5/5/2019                                            CY                                             1
         6029574962   attacker     attacker       5/10/2019     2/4/2019                                            NL                                             1
         6071275998   attacker     attacker       5/4/2019      2/12/2019         purge             6/3/2019        NL                                             1
         6369100390   attacker     attacker       5/10/2019     4/10/2019                                           CY                                             1
         6506415140   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6466873266   attacker     attacker       5/11/2019     4/29/2019                                           CY                                             1
         6079841064   attacker     attacker       5/11/2019     2/13/2019                                           SE                                             1
         6205049002   attacker     attacker       5/5/2019      3/10/2019         purge             6/4/2019        CY                                             1
         6080011461   attacker     attacker       5/12/2019     2/13/2019                                           SE                                             1
         6504646455   attacker     attacker       5/7/2019      5/6/2019          purge             6/6/2019        CY                                             1
         6252258794   attacker     attacker       5/9/2019      3/19/2019                                           SE                                             1
         6513224559   attacker     attacker       5/8/2019      5/8/2019          purge             6/7/2019        CY                                             1
         6255422384   attacker     attacker       5/9/2019      3/19/2019                                           SE                                             1
         6475586409   attacker     attacker       5/10/2019     4/30/2019                                           CY                                             1
         6156905113   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6338832036   attacker     attacker       5/9/2019      4/4/2019                                            NL                                             1
         6208790002   attacker     attacker       5/4/2019      3/10/2019         purge             6/3/2019        SE                                             1
         6400224506   attacker     attacker       5/12/2019     4/16/2019                                           SE                                             1
         6104008493   attacker     attacker       5/5/2019      2/18/2019         purge             6/4/2019        SE                                             1
         6114418429   attacker     attacker       5/10/2019     2/20/2019                                           NL                                             1
         6153215353   attacker     attacker       5/10/2019     2/28/2019                                           NL                                             1
         6261959812   attacker     attacker       5/11/2019     3/20/2019                                           SE                                             1
         5738500677   attacker     attacker       5/9/2019      12/12/2018                                          AT                                             1
         6477477878   attacker     attacker       5/1/2019      5/1/2019          purge             6/2/2019        CY                                             1



                                                                         3 of 4
                           Case 4:19-cv-07123-PJH          Document 679-2                 Filed 04/04/25             Page 74 of 144


userid   wa_sk        account      account_type   last_active   registration      deletion_reason   deletion_time   current_country   transfer_dates   transfers   num_transfer
         6120017825   attacker     attacker       5/6/2019      2/21/2019         purge             6/5/2019        SE                                             1
         6032594369   attacker     attacker       5/9/2019      2/4/2019                                            CY                                             1
         6248385121   attacker     attacker       5/10/2019     3/18/2019                                           SE                                             1
         6101712833   attacker     attacker       5/12/2019     2/18/2019                                           SE                                             1
         6052236642   attacker     attacker       5/11/2019     2/8/2019                                            NL                                             1
         6299619093   attacker     attacker       4/30/2019     3/28/2019         purge             7/1/2019        CY                                             1
         6150781378   attacker     attacker       5/12/2019     2/27/2019                                           NL                                             1
         6147574643   attacker     attacker       5/9/2019      2/27/2019                                           CY                                             1
         6249134404   attacker     attacker       5/12/2019     3/18/2019                                           ID                                             1
         6080922666   attacker     attacker       5/12/2019     2/14/2019                                           NL                                             1
         6244335608   attacker     attacker       5/12/2019     3/17/2019                                           ID                                             1
         6474340973   attacker     attacker       5/10/2019     4/30/2019                                           CY                                             1
         6467887309   attacker     attacker       5/10/2019     4/29/2019                                           CY                                             1
         6156837889   attacker     attacker       5/8/2019      2/28/2019         purge             7/9/2019        ID                                             1
         6116352919   attacker     attacker       5/12/2019     2/20/2019                                           SE                                             1
         6204999327   attacker     attacker       5/11/2019     3/10/2019                                           SE                                             1
         5737158373   attacker     attacker       5/8/2019      12/11/2018                                          NL                                             1
         6328577949   attacker     attacker       5/10/2019     4/2/2019                                            CY                                             1
         6151201631   attacker     attacker       5/12/2019     2/27/2019                                           NL                                             1
         6392792360   attacker     attacker       5/5/2019      4/15/2019         purge             7/7/2019        CY                                             1




                                                                         4 of 4
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 75 of 144




              EXHIBIT 26
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
     Case 4:19-cv-07123-PJH    Document 679-2         Filed 04/04/25   Page 76 of 144




                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA




                                            )
                                            )
WHATSAPP INC. and                           )
META PLATFORMS, INC.,                       )
                                            )
                        Plaintiffs,         )
                                            )
                                            )       Case No. 19-cv-07123-PJH
v.                                          )
                                            )
                                            )
NSO GROUP TECHNOLOGIES                      )
LIMITED and Q CYBER                         )
TECHNOLOGIES LIMITED,                       )

                      Defendants.




         SUPPLEMENTAL EXPERT REPORT OF DANA TREXLER, CPA/CFF

                                      September 21, 2024

              HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
               Case 4:19-cv-07123-PJH          Document 679-2            Filed 04/04/25         Page 77 of 144

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                      Page 1


          I.     INTRODUCTION
1.   On October 29, 2019, WhatsApp Inc. (“WhatsApp”) and Meta Platforms, Inc. (“Meta”)1
     (collectively, “Plaintiffs”) filed a complaint against NSO Group Technologies Limited (“NSO”)
     and Q Cyber Technologies Limited (“Q Cyber”) (collectively, “Defendants”) alleging that
     Defendants used WhatsApp servers to send malware to mobile phones and devices for the purpose
     of extracting data from other WhatsApp users’ target devices and conducting surveillance on those
     users.2 As a result of Defendants’ alleged conduct, Plaintiffs assert that Defendants violated the
     Computer Fraud and Abuse Act (in violation of 18 U.S.C. § 1030) and the California
     Comprehensive Computer Data Access and Fraud Act (in violation of California Penal Code §
     502), and breached the terms of service with WhatsApp to which Defendants became bound upon
     their creation of WhatsApp accounts.3

2.   On August 30, 2024, I submitted an expert report in this matter (“Initial Report”). I have been
     asked by Counsel to supplement my Initial Report based on information that became available
     after the issuance of my Initial Report, including testimony from the September 6, 2024 deposition
     of Sarit Bizinsky Gil (“Gil Deposition”). This report supplements, and should be read in
     conjunction with, the Initial Report. The Initial Report is incorporated herein by reference.

         II.     BASIS FOR ANALYSIS
3.   The basis for my analysis and opinions in this report are the same as those stated in the Initial
     Report.4 In addition to the information considered in the Initial Report (as identified in EXHIBIT B
     thereto), I also consider additional information since the date of that report, as identified in
     SUPPLEMENTAL EXHIBIT B.




     1
       Facebook Inc. changed its name to Meta Platforms Inc. in October 2021. See Chris Stokel-Walker, Why Facebook
     Changed Its Name to Meta and What is the Metaverse?, NewScientist (Oct. 21, 2021),
     https://www.newscientist.com/article/2295438-why-has-facebook-changed-its-name-to-meta-and-what-is-the-
     metaverse/#:~:text=Here%27s%20everything%20you%20need%20to,as%20Meta%20on%2028%20October.
     (accessed February 2024); Scott Nover, Why Facebook Changed Its Name, Quartz (Oct. 29, 2021),
     https://qz.com/2081663/why-facebook-changed-its-name-to-meta (accessed February 2024).
     2
       Complaint (Dkt. No.1), ¶ 1.
     3
       Complaint (Dkt. No.1), ¶¶ 2, 49-78, Request for Relief section, ¶ 1. The Court subsequently dismissed Plaintiffs’
     fourth cause of action, Trespass to Chattels. See Order Granting in Part and Denying in Part Motion to Dismiss and
     Denying Motion to Stay Discovery (Dkt. No.111).
     4
       My curriculum vitae has not changed since my Initial Report, which is attached as EXHIBIT A thereto.

                                                                                            WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH               Document 679-2              Filed 04/04/25          Page 78 of 144

     HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                           Page 2


4.   Should additional information, testimony, or documents that affect my analysis or opinions
     become available after the issuance of this report, I reserve the right to supplement or update my
     analysis and/or opinions. I reserve the right to prepare supplemental materials such as summaries,
     graphical exhibits, or charts for trial, as well as to provide opinions and other materials in response
     to any additional expert opinions.

     III.     SUMMARY OF OPINIONS
5.   Assuming Defendants are found liable, it is my opinion that a conservative estimate of the
     Plaintiffs’ expenditure of resources for their response totals $444,719.5 My opinion and the
     accompanying methodology I used to calculate this figure are discussed in my Initial Report.

6.   Based on the limited information available to me at the time of my Initial Report, I set forth that a
     reasonable estimation of Defendants’ profits earned specifically in connection with the targeting
     of the 1,500 devices through Defendants’ Exploit6 ranges from $4.3 million to $13.9 million (at a
     29% operating profit margin) or $9.5 million to $30.3 million (at a 63% operating profit margin).7
     Given that Defendants produced NSO_WHATSAPP_ 00045858 (“Defendants’ Spreadsheet”) and
     Ms. Sarit Bizinsky Gil has now testified (as Defendants’ corporate representative) that this
     document contains the revenue amounts for customer contracts which include at least the Covert
     Android vector, it is my opinion that Defendants’ Spreadsheet, and the related testimony, provides
     a more detailed basis upon which to calculate Defendants’ profits, than the limited information
     available to me at the date of the Initial Report.8,9

7.   Based on adjustments I made to Defendants’ Spreadsheet, as discussed herein, it is my opinion
     that a reasonable estimation of Defendants’ profits earned in connection with Defendants’ Exploit
     ranges between at least $21.3 million to $40.2 million, which includes adjustments for the profit



     5
       Initial Report, ¶ 12.
     6
       The use of “Defendants’ Exploit” herein is consistent with the use of this term in the Initial Report. See e.g., Initial
     Report, ¶¶ 44-45.
     7
       Initial Report, ¶ 12.
     8
       I understand that during the period generally covered by Defendants’ Spreadsheet (Q2 2018 through Q2 2020),
     Defendants did not have zero-click/covert installation vectors for Android other than those that were activated
     through WhatsApp. See e.g., Deposition of Tamir Gazneli, September 4, 2024, pp. 39, 67-68, and 103.
     9
       As noted throughout this report, there is additional information that Defendants have not yet produced, which
     would be useful for the calculation of Defendants’ profits; therefore, I reserve the right to update the opinions and
     analyses expressed herein, if asked, if additional information is received.

                                                                                                 WhatsApp, et al. v. NSO, et al.
             Case 4:19-cv-07123-PJH              Document 679-2          Filed 04/04/25          Page 79 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                       Page 3


      margins and reductions to revenue made by Defendants for time (i.e., availability of the Covert
      Android vector) and maintenance.10 Given the lack of information provided by Defendants to
      assess the value of the Covert Android vector relative to other vectors (Triggered Android,
      Triggered iOS, and Covert iOS), Defendants’ subject revenues and profits could exceed even these
      revised amounts calculated herein.

8.    My opinions are summarized in the table below.

                                     Table 1: Summary of Plaintiffs’ Claimed Damages and
                                                Available Equitable Recoveries11
           Category                                                                                  Amount
           Plaintiffs’ Response Expenses                                                                         $444,719


           Defendants’ Profits Subject to Disgorgement – Defendants’ Spreadsheet Approach
            Adjusted Profit Margin                                                           $5.5 million - $10.5 million
            Adjusted Profit Margin; Adjusted Revenue for Time                               $17.3 million - $32.6 million
            Adjusted Profit Margin; Adjusted Revenue for Time and Maintenance               $21.3 million - $40.2 million

9.    I understand that there are certain legal arguments advanced by counsel for the Plaintiffs, wherein
      the Plaintiffs posit that certain costs may not be deductible from Defendants’ revenues generated
      by Defendants’ Exploit, because those costs and related activities themselves involved conduct
      that is the subject of Plaintiff’s claims. To the extent the fact finder needs to identify the revenues
      or certain expenses attributed to Defendants’ Exploit, this information can be found in
      SUPPLEMENTAL EXHIBITS 1, 2, AND 3 and INITIAL REPORT EXHIBITS 4, 5.1, AND 5.1.1.

10.   Counsel for Plaintiffs also asked me to determine whether the use of Plaintiffs’ systems for
      purposes of Defendants’ Exploit was worth more than $5,000 in one year to NSO or its customers.
      It is my opinion that the use of Plaintiffs’ systems for purposes of Defendants’ Exploit was worth
      $13,877,000 for three accounts alone,12,13 which exceeds $5,000 in one year. My opinion and the
      accompanying methodology I used to calculate this figure is discussed in my Initial Report.




      10
         SUPPLEMENTAL EXHIBIT 1.
      11
         See my Initial Report, Table 1; SUPPLEMENTAL EXHIBITS 1, 2, AND 3.
      12
         Based solely on “Upsell” transactions of “Covert-Android.”
      13
         Initial Report, ¶¶ 126-127.

                                                                                              WhatsApp, et al. v. NSO, et al.
            Case 4:19-cv-07123-PJH             Document 679-2              Filed 04/04/25       Page 80 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                                     Page 4


      IV.     SUPPLEMENTAL ANALYSES AND OPINIONS
11.   On September 6, 2024, after my Initial Report was served, Sarit Bizinsky Gil, Vice President of
      Global Business Operations at Q Cyber, was deposed.14 Ms. Bizinsky Gil testified regarding an
      Excel    spreadsheet      produced      by    Defendants       and     prepared    by    Ms.      Bizinsky       Gil
      (NSO_WHATSAPP_00045858),15 which purports to set forth Pegasus (and other products)
      contract revenues and purported profits during the period Q2 2018 through Q2 2020 (“Defendants’
      Spreadsheet”). Besides quarterly revenue amounts, other information includes a revenue
      classification (e.g., upsell, maintenance), Defendants’ own allocation of revenue to Defendants’
      Exploit, and a calculation of purported profits on the allocated revenues.

12.   It is my understanding that Defendants’ Spreadsheet was prepared specifically for this litigation,
      based in part on instructions from counsel, and is not a document prepared or maintained in the
      ordinary course of Defendants’ business.16 Ms. Bizinsky Gil testified to the meaning of the
      information contained within the columns and rows of Defendants’ Spreadsheet and provided an
      overview of the methodology employed by Defendants in preparing Defendants’ Spreadsheet and
      their assessment of the revenue and profit amounts attributable to Defendants’ Exploit reflected in
      it. Defendants have not produced any of the contracts or other underlying information on which
      Defendants’ Spreadsheet is based.

13.   Even assuming the revenue and contract information reported in Defendants’ Spreadsheet is
      accurate, based on my analysis of Defendants’ Spreadsheet, Ms. Bizinsky Gil’s testimony, and
      other materials produced by Defendants, as well as my experience and training, I believe the
      calculations of revenues and profits earned through Defendants’ Exploit that appear in Defendants’
      Spreadsheet require adjustment for the reasons I explain in the remainder of this section.17




      14
         Deposition of Sarit Bizinsky Gil, September 6, 2024, pp. 12, 16.
      15
         Deposition of Sarit Bizinsky Gil, September 6, 2024, p. 158.
      16
         Deposition of Sarit Bizinsky Gil, September 6, 2024, pp. 158-160.
      17
         E.g., Ms. Bizinsky Gil testified that she used a spreadsheet from Defendants’ finance department with customer
      contract information (Deposition of Sarit Bizinsky Gil, September 6, 2024, pp. 161-162), customer deal information
      from the CRM system (Deposition of Sarit Bizinsky Gil, September 6, 2024, p. 166), and customer contracts
      (Deposition of Sarit Bizinsky Gil, September 6, 2024, p. 187).

                                                                                            WhatsApp, et al. v. NSO, et al.
           Case 4:19-cv-07123-PJH          Document 679-2           Filed 04/04/25      Page 81 of 144

      HIGHLY CONFIDENTIAL-ATTORNEYS’ EYES ONLY                                                            Page 17


      Spreadsheet to not limit revenues to only the days when the Covert Android vector was allegedly
      operational, and adjusting revenue to include all maintenance revenues results in calculated profits
      of $21.3 million (using operating profit margin) and $40.2 million (using operating profit margin
      excluding research and development expenses),94 compared to the $72,000 calculated by
      Defendants.95 It is my opinion that all of these adjustments are reasonable and appropriate for the
      reasons explained above.       Accordingly, it is my opinion that a reasonable estimation of
      Defendants’ profits earned in connection with Defendants’ Exploit ranges between at least $21.3
      million to $40.2 million.

48.   Adjusted Revenue for Time and Maintenance: Adjusting revenue presented in Defendants’
      Spreadsheet to not limit revenues to only the days when the Covert Android vector was allegedly
      operational, and to include all maintenance revenues, results in calculated revenues of $61.7
      million (this amount is not reduced by expenses).96 This adjusted revenue amount is compared to
      the approximately $16.1 million of revenue estimated by Defendants.97

                                            *    *    *   *     *     *
49.   The procedures performed were limited to those described herein based on the documents provided
      to date and other information obtained. Information obtained after the date of this report, or within
      a short period of time prior to its issuance, may affect this analysis and this effect may be material.
      If requested, I will update my analysis.

50.   My procedures were performed solely with respect to the above referenced litigation. This report
      is not to be reproduced, distributed, disclosed, or used for any other purpose.

      STOUT



      _____________________

      Dana M. Trexler, CPA/CFF                                                   September 21, 2024



      94
         SUPPLEMENTAL EXHIBIT 1.
      95
         See NSO_WHATSAPP_00045858.
      96
         SUPPLEMENTAL EXHIBIT 1.
      97
         See NSO_WHATSAPP_00045858.

                                                                                     WhatsApp, et al. v. NSO, et al.
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 82 of 144




                                                   Supplemental Exhibit 1
                         Case 4:19-cv-07123-PJH                    Document 679-2                  Filed 04/04/25               Page 83 of 144


    WhatsApp, et al. v. NSO Group, et al.
    Profits Subject to Disgorgement Based on Presented Pegasus "Final Relevant Revenue" Excluding Time and Maintenance Adjustments (Q2 2018 - Q2 2020)
    Supplemental Exhibit 1



                                                                                                                                      Q2 2018 -
                                                                       Q2 - Q4 2018         2019               Q1 - Q2 2020           Q2 2020

  Presented Pegasus "Final Relevant Revenue" Excluding Time
1
  and Maintenance Adjustments                               [1] $          19,439,947 $     31,055,220 $           11,213,759     $     61,708,926
2 NSO Group Technologies Ltd. Operating Margin              [2]                 44.0%            29.0%                  33.5%                34.5%

3 Profits Subject to Disgorgement                                  $        8,552,765   $    9,001,260     $        3,760,462     $     21,314,487



                                                                                                                                      Q2 2018 -
                                                                       Q2 - Q4 2018         2019               Q1 - Q2 2020           Q2 2020

    Presented Pegasus "Final Relevant Revenue" Excluding Time
4
    and Maintenance Adjustments                               [1] $        19,439,947   $   31,055,220     $       11,213,759     $     61,708,926
  NSO Group Technologies Ltd. Operating Margin
5
  (Excluding R&D Expenses)                                   [3]                67.9%              63.1%                66.4%                65.2%

6 Profits Subject to Disgorgement                                  $       13,207,238   $   19,590,451     $        7,446,204     $     40,243,892



[1] Supplemental Exhibit 1.1.
[2] See my Initial Report, Exhibit 5.1.
[3] See my Initial Report, Exhibit 5.1.1.




                                                                                                                                   HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
Case 4:19-cv-07123-PJH                       Document 679-2                    Filed 04/04/25                   Page 84 of 144


    WhatsApp, et al. v. NSO Group, et al.
    Presented Pegasus "Final Relevant Revenue" Excluding Time and Maintenance Adjustments (Q2 2018 - Q2 2020)
    Supplemental Exhibit 1.1



                                                                                                                     Q2 2018 -
    Account No.                                         Q2 - Q4 2018         2019              Q1 - Q2 2020          Q2 2020

 1 Acc-01                                           $                -   $            -    $               -     $              -
 2 Acc-02                                           $                -   $            -    $               -     $              -
 3 Acc-03                                           $          933,500   $    1,402,390    $         660,831     $      2,996,721
 4 Acc-04                                           $        6,069,231   $    2,410,849    $         763,671     $      9,243,751
 5 Acc-05                                           $                -   $      604,000    $         633,306     $      1,237,306
 6 Acc-06                                           $                -   $    1,412,348    $         180,620     $      1,592,969
 7 Acc-07                                           $                -   $            -    $         807,022     $        807,022
 8 Acc-08                                           $                -   $            -    $               -     $              -
 9 Acc-09                                           $                -   $            -    $               -     $              -
 10 Acc-10                                          $          455,792   $    1,055,518    $         545,751     $      2,057,060
 11 Acc-12                                          $                -   $            -    $               -     $              -
 12 Acc-13                                          $           54,963   $       69,431    $          35,709     $        160,102
 13 Acc-14                                          $                -   $       60,706    $          37,238     $         97,944
 14 Acc-16                                          $                -   $      693,527    $          87,913     $        781,440
 15 Acc-18                                          $                -   $      945,151    $          54,849     $      1,000,000
 16 Acc-19                                          $                -   $            -    $               -     $              -
 17 Acc-20                                          $                -   $            -    $               -     $              -
 18 Acc-21                                          $          990,725   $    1,256,314    $         654,452     $      2,901,491
 19 Acc-22                                          $                -   $            -    $               -     $              -
 20 Acc-23                                          $                -   $    1,570,849    $         189,981     $      1,760,831
 21 Acc-24                                          $                -   $            -    $               -     $              -
 22 Acc-25                                          $                -   $            -    $               -     $              -
 23 Acc-26                                          $          779,683   $      188,844    $          74,452     $      1,042,979
 24 Acc-27                                          $                -   $      917,783    $         105,149     $      1,022,932
 25 Acc-29                                          $                -   $    1,593,128    $         212,159     $      1,805,287
 26 Acc-31                                          $          169,166   $      200,592    $         100,830     $        470,588
 27 Acc-32                                          $                -   $    1,446,189    $         296,739     $      1,742,928
 28 Acc-33                                          $          694,000   $      567,096    $         431,750     $      1,692,846
 29 Acc-34                                          $          211,916   $       21,577    $               -     $        233,493
 30 Acc-37                                          $                -   $            -    $               -     $              -
 31 Acc-38                                          $                -   $            -    $               -     $              -
 32 Acc-39                                          $                -   $      479,698    $          38,702     $        518,400
 33 Acc-40                                          $          442,500   $      180,096    $         176,168     $        798,764
 34 Acc-41                                          $                -   $            -    $               -     $              -
 35 Acc-43                                          $                -   $            -    $               -     $              -
 36 Acc-44                                          $           96,250   $      368,959    $         185,959     $        651,167
 37 Acc-45                                          $          914,805   $      378,237    $         160,112     $      1,453,155
 38 Acc-46                                          $          791,169   $      214,157    $          98,598     $      1,103,924
 39 Acc-47                                          $          129,736   $      (15,909)   $               -     $        113,828
 40 Acc-48                                          $          574,075   $    1,182,686    $         745,545     $      2,502,306
 41 Acc-49                                          $          343,289   $      (42,096)   $               -     $        301,193
 42 Acc-50                                          $                -   $            -    $               -     $              -
 43 Acc-51                                          $                -   $            -    $               -     $              -




                                                                1 of 2                                                       HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
Case 4:19-cv-07123-PJH                            Document 679-2                        Filed 04/04/25                    Page 85 of 144


    WhatsApp, et al. v. NSO Group, et al.
    Presented Pegasus "Final Relevant Revenue" Excluding Time and Maintenance Adjustments (Q2 2018 - Q2 2020)
    Supplemental Exhibit 1.1



                                                                                                                               Q2 2018 -
    Account No.                                               Q2 - Q4 2018           2019              Q1 - Q2 2020            Q2 2020

 44 Acc-53                                                $                -   $               -   $                -      $              -
 45 Acc-54                                                $                -   $               -   $                -      $              -
 46 Acc-55                                                $                -   $               -   $                -      $              -
 47 Acc-56                                                $                -   $       1,127,134   $          159,667      $      1,286,800
 48 Acc-57                                                $          855,852   $         144,148   $                -      $      1,000,000
 49 Acc-61                                                $                -   $               -   $                -      $              -
 50 Acc-62                                                $                -   $               -   $                -      $              -
 51 Acc-63                                                $                -   $               -   $                -      $              -
 52 Acc-66                                                $          337,500   $         448,695   $          223,181      $      1,009,376
 53 Acc-67                                                $                -   $               -   $                -      $              -
 54 Acc-68                                                $           16,141   $          21,541   $            9,899      $         47,580
 55 Acc-69                                                $                -   $               -   $                -      $              -
 56 Acc-70                                                $                -   $               -   $                -      $              -
 57 Acc-71                                                $          815,360   $         224,314   $          111,893      $      1,151,566
 58 Acc-72                                                $          404,591   $         109,874   $           54,849      $        569,315
 59 Acc-73                                                $           51,293   $               -   $           27,420      $         78,713
 60 Acc-74                                                $          890,211   $               -   $                -      $        890,211
 61 Acc-75                                                $          529,697   $         460,762   $           78,789      $      1,069,248
 62 Acc-76                                                $                -   $         981,264   $          109,147      $      1,090,411
 63 Acc-77                                                $                -   $               -   $          967,883      $        967,883
 64 Acc-78                                                $                -   $               -   $                -      $              -
 65 Acc-79                                                $                -   $       4,873,901   $        1,794,195      $      6,668,096
 66 Acc-80                                                $        1,357,418   $               -   $                -      $      1,357,418
 67 Acc-81                                                $           58,333   $          93,174   $           69,808      $        221,315
 68 Acc-82                                                $                -   $               -   $                -      $              -
 69 Acc-83                                                $          131,250   $         186,707   $                -      $        317,957
 70 Acc-84                                                $                -   $               -   $                -      $              -
 71 Acc-85                                                $                -   $         766,944   $           97,741      $        864,685
 72 Acc-86                                                $                -   $               -   $                -      $              -
 73 Acc-87                                                $                -   $       2,400,000   $          231,781      $      2,631,781
 74 Acc-88                                                $                -   $               -   $                -      $              -
 75 Acc-89                                                $                -   $               -   $                -      $              -
 76 Acc-90                                                $          341,502   $          54,640   $                -      $        396,143

 77 Total                                                 $       19,439,947   $      31,055,220   $       11,213,759      $     61,708,926

 78 Accounts Generating Revenue                                           28                  38                   37                      45



    Source: NSO_WHATSAPP_00045858. I have included revenue for accounts labeled "PGS" in "Product" column and
    "Yes" in "Covert Android was provided" column.
    Calculated as revenue in columns C through K (revenue without considerations for time-based adjustments) multiplied
    by allocation presented for Covert Android deal portion (column V).




                                                                      2 of 2                                                           HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 86 of 144




              EXHIBIT 27
   to Declaration of Micah G. Block in Support of
  Plaintiffs’ Motion for Partial Summary Judgment
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 87 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 88 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 89 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 90 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 91 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 92 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 93 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 94 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 95 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 96 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 97 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 98 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 99 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 100 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 101 of 144




               EXHIBIT 28
    to Declaration of Micah G. Block in Support of
   Plaintiffs’ Motion for Partial Summary Judgment
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 102 of 144
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25     Page 103 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries     attacker_phones
                                           ["2401:db00:f01f:0011:face:000 ["cdt1","mba1"]   ["fnedge247.01.cdt1.facebook.co ["Paris,
                                           0:000d:0000","2401:db00:f034:                    m","fnedge020.01.mba1.faceboo FR","Mombasa, KE "]
                                           0001:face:0000:0027:0000"]                       k.com"]
                                           ["2401:db00:f013:4016:face:000 ["dfw5","lga3"]   ["fnedge527.02.dfw5.facebook.c ["Dallas, Texas,
                                           0:0011:0000","2401:db00:f012:                    om","fnedge559.01.lga3.faceboo US","New York, NY,
                                           2002:face:0000:001f:0000"]                       k.com"]                         US"]
                                           ["2401:db00:f030:0007:face:000 ["maa2"]          ["fnedge141.01.maa2.facebook.c ["Chennai,
                                           0:0003:0000","2401:db00:f01b:                    om","2401:db00:f01b:100b:face: India","unknown"]
                                           100b:face:0000:001d:0000"]                       0:1d:0"]
                                           ["2401:db00:f013:1018:face:000 ["dfw5"]          ["fnedge454.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001b:0000","2401:db00:f013:                    om","fnedge150.01.dfw5.facebo
                                           100c:face:0000:0013:0000"]                       ok.com"]
                                           ["2401:db00:f00b:2011:face:000 ["ort2"]          ["fnedge238.02.ort2.facebook.co ["Chicago, IL, US"]
                                           0:001b:0000"]                                    m"]
                                           ["2401:db00:f012:200a:face:000 ["lga3"]          ["fnedge819.01.lga3.facebook.co ["New York, NY, US"]
                                           0:0005:0000"]                                    m"]
                                           ["2401:db00:f00b:2004:face:000 ["ort2","lax3"]   ["fnedge364.02.ort2.facebook.co ["Chicago, IL,
                                           0:0019:0000","2401:db00:f00b:                    m","fnedge504.02.ort2.facebook US","Los Angeles, CA,
                                           2007:face:0000:000f:0000","240                   .com","fnedge050.02.lax3.facebo US"]
                                           1:db00:f00d:2006:face:0000:001                   ok.com"]
                                           3:0000"]
                                           ["2401:db00:f01f:0001:face:000 ["cdt1","cdg2"]   ["fnedge013.01.cdt1.facebook.co ["Paris, FR"]
                                           0:0019:0000","2401:db00:f01f:1                   m","fnedge662.01.cdg2.facebook
                                           014:face:0000:000d:0000"]                        .com"]
                                           ["2401:db00:f036:0001:face:000 ["dus1"]          ["fnedge014.01.dus1.facebook.c ["Dusseldorf, DE"]
                                           0:0003:0000","2401:db00:f036:                    om","fnedge080.01.dus1.facebo
                                           0002:face:0000:0027:0000"]                       ok.com"]
                                           ["2401:db00:f01b:0008:face:000 ["amt2","mrs2"]   ["fnedge192.01.amt2.facebook.c ["Amsterdam,
                                           0:0019:0000","2401:db00:f006:                    om","fnedge412.01.mrs2.facebo NL","Marseille, FR"]
                                           1016:face:0000:0027:0000"]                       ok.com"]
                                           ["2401:db00:f01c:0001:face:000 ["frx5"]          ["fnedge481.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:001f:0000"]                                    m"]
                                           ["2401:db00:f02a:0008:face:000 ["bom1"]          ["fnedge206.01.bom1.facebook.c ["Bombay, IN"]
                                           0:0027:0000"]                                    om"]
                                           ["2401:db00:f01b:1010:face:000 ["amt2"]          ["2401:db00:f01b:1010:face:0:13 ["unknown","Amster
                                           0:0013:0000","2401:db00:f01b:                    :0","fnedge042.01.amt2.faceboo dam, NL"]
                                           0004:face:0000:0007:0000"]                       k.com"]




                                                                         1 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2           Filed 04/04/25      Page 104 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries      attacker_phones
                                           ["2401:db00:f00b:200e:face:000 ["ort2","msp1"]   ["fnedge300.02.ort2.facebook.co ["Chicago, IL,
                                           0:001f:0000","2401:db00:f033:0                   m","fnedge112.01.msp1.faceboo US","Minneapolis,
                                           005:face:0000:0027:0000"]                        k.com"]                         MN, US"]
                                           ["2401:db00:f00b:200c:face:000 ["ort2","dfw5"]   ["fnedge518.02.ort2.facebook.co ["Chicago, IL,
                                           0:0001:0000","2401:db00:f013:                    m","fnedge468.01.dfw5.faceboo US","Dallas, Texas,
                                           1013:face:0000:000d:0000"]                       k.com"]                         US"]
                                           ["2401:db00:f01b:0012:face:000 ["amt2"]          ["fnedge293.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:0017:0000"]                                    om"]
                                           ["2401:db00:f006:2008:face:000 ["mrs2"]          ["fnedge008.02.mrs2.facebook.c ["Marseille, FR"]
                                           0:0015:0000","2401:db00:f006:                    om","fnedge046.02.mrs2.facebo
                                           2007:face:0000:001f:0000"]                       ok.com"]
                                           ["2401:db00:f00b:0005:face:000 ["ort2"]          ["fnedge433.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:000b:0000","2401:db00:f00b:                    m","fnedge453.01.ort2.facebook
                                           0006:face:0000:0027:0000"]                       .com"]
                                           ["2401:db00:f00d:0012:face:000 ["lax3","ort2"]   ["fnedge764.01.lax3.facebook.co ["Los Angeles, CA,
                                           0:0027:0000","2401:db00:f00b:                    m","fnedge555.02.ort2.facebook US","Chicago, IL, US"]
                                           2009:face:0000:0015:0000"]                       .com"]
                                           ["2401:db00:f013:4013:face:000 ["dfw5","mia3"]   ["fnedge764.02.dfw5.facebook.c ["Dallas, Texas,
                                           0:0007:0000","2401:db00:f000:                    om","fnedge664.02.mia3.facebo US","Miami, Florida,
                                           300f:face:0000:0023:0000"]                       ok.com"]                        US"]
                                           ["2401:db00:f01b:100c:face:000                   ["2401:db00:f01b:100c:face:0:1b ["unknown"]
                                           0:001b:0000"]                                    :0"]
                                           ["2401:db00:f033:0002:face:000 ["msp1","iad3"]   ["fnedge023.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0003:0000","2401:db00:f003:                    om","fnedge679.01.iad3.faceboo US","Washington, DC,
                                           1013:face:0000:0013:0000"]                       k.com"]                         US"]
                                           ["2401:db00:f01b:1008:face:000                   ["2401:db00:f01b:1008:face:0:1d ["unknown"]
                                           0:001d:0000"]                                    :0"]
                                           ["2401:db00:f00b:0010:face:000 ["ort2"]          ["fnedge329.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:001f:0000"]                                    m"]
                                           ["2401:db00:f013:400d:face:000 ["dfw5"]          ["fnedge605.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0005:0000","2401:db00:f013:                    om","fnedge420.01.dfw5.facebo
                                           1007:face:0000:0021:0000"]                       ok.com"]
                                           ["2401:db00:f01c:0003:face:000 ["frx5"]          ["fnedge280.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0001:0000","2401:db00:f01c:0                   m","fnedge077.01.frx5.facebook.
                                           00f:face:0000:0021:0000"]                        com"]
                                           ["2401:db00:f013:1015:face:000 ["dfw5"]          ["fnedge278.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001b:0000"]                                    om"]




                                                                          2 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25      Page 105 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers            server                          center_countries      attacker_phones
                                           ["2401:db00:f00d:2008:face:000 ["lax3","ort2"]    ["fnedge147.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:001b:0000","2401:db00:f00b:                     m","fnedge257.01.ort2.facebook US","Chicago, IL, US"]
                                           0009:face:0000:001b:0000"]                        .com"]
                                           ["2401:db00:f00b:2010:face:000 ["ort2"]           ["fnedge344.02.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0009:0000"]                                     m"]
                                           ["2401:db00:f01c:0013:face:000 ["frx5","maa2"]    ["fnedge590.01.frx5.facebook.co ["Frankfurt,
                                           0:0027:0000","2401:db00:f030:                     m","fnedge166.02.maa2.faceboo DE","Chennai, India"]
                                           1006:face:0000:001f:0000"]                        k.com"]
                                           ["2401:db00:f01b:0010:face:000 ["amt2"]           ["fnedge290.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:0005:0000","2401:db00:f01b:                     om","fnedge244.01.amt2.facebo
                                           0011:face:0000:0019:0000"]                        ok.com"]
                                           ["2401:db00:f030:1006:face:000 ["maa2"]           ["fnedge167.02.maa2.facebook.c ["Chennai,
                                           0:0019:0000","2401:db00:f01b:                     om","2401:db00:f01b:100f:face: India","unknown"]
                                           100f:face:0000:0005:0000"]                        0:5:0"]
                                           ["2401:db00:f013:4015:face:000 ["dfw5"]           ["fnedge501.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0001:0000"]                                     om"]
                                           ["2401:db00:f01c:200a:face:000 ["frt3"]           ["fnedge538.01.frt3.facebook.co ["Frankfurt, DE"]
                                           0:0017:0000"]                                     m"]
                                           ["2401:db00:f01a:100e:face:000 ["lhr3"]           ["fnedge184.01.lhr3.facebook.co ["London, UK"]
                                           0:0011:0000","2401:db00:f01a:                     m","fnedge110.01.lhr3.facebook.
                                           1004:face:0000:0013:0000","24                     com","fnedge206.01.lhr3.facebo
                                           01:db00:f01a:1008:face:0000:00                    ok.com"]
                                           05:0000"]
                                           ["2401:db00:f01b:0007:face:000 ["amt2"]           ["fnedge208.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:000b:0000","2401:db00:f01b:                     om","fnedge213.01.amt2.facebo
                                           0010:face:0000:0017:0000"]                        ok.com"]
                                           ["2401:db00:f01a:100e:face:000 ["lhr3","jnb1"]    ["fnedge246.01.lhr3.facebook.co ["London,
                                           0:0025:0000","2401:db00:f01b:                     m","2401:db00:f01b:100b:face:0 UK","unknown","Joha
                                           100b:face:0000:0007:0000","24                     :7:0","fnedge172.01.jnb1.facebo nnesburg, ZA"]
                                           01:db00:f023:0009:face:0000:00                    ok.com"]
                                           25:0000"]
                                           ["2401:db00:f02a:0010:face:000 ["bom1"]           ["fnedge389.01.bom1.facebook.c ["Bombay, IN"]
                                           0:0015:0000"]                                     om"]
                                           ["2401:db00:f02a:000e:face:000 ["bom1"]           ["fnedge212.01.bom1.facebook.c ["Bombay, IN"]
                                           0:0019:0000","2401:db00:f02a:                     om","fnedge416.01.bom1.facebo
                                           000e:face:0000:0007:0000"]                        ok.com"]
                                           ["2401:db00:f02f:0005:face:000 ["ber1"]           ["fnedge113.01.ber1.facebook.c ["Berlin, DE"]
                                           0:000d:0000"]                                     om"]




                                                                          3 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2           Filed 04/04/25         Page 106 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers              server                           center_countries     attacker_phones
                                           ["2401:db00:f01b:100e:face:000 ["lht6"]             ["2401:db00:f01b:100e:face:0:15 ["unknown","London,
                                           0:0015:0000","2401:db00:f01a:                       :0","fnedge454.01.lht6.facebook. UK"]
                                           200b:face:0000:001b:0000","24                       com","fnedge005.01.lht6.facebo
                                           01:db00:f01a:2007:face:0000:00                      ok.com"]
                                           19:0000"]
                                           ["2401:db00:f008:1001:face:000 ["mxp1","mrs2","amt ["fnedge419.01.mxp1.facebook.c ["Milano,
                                           0:0017:0000","2401:db00:f01b: 2"]                   om","fnedge304.01.amt2.facebo IT","Amsterdam,
                                           000b:face:0000:000f:0000","240                      ok.com","fnedge039.01.amt2.fac NL","Marseille, FR"]
                                           1:db00:f01b:0002:face:0000:002                      ebook.com","fnedge289.01.mrs2
                                           1:0000","2401:db00:f006:100e:f                      .facebook.com","fnedge167.01.a
                                           ace:0000:0007:0000","2401:db0                       mt2.facebook.com","fnedge268.
                                           0:f01b:0004:face:0000:001f:000                      01.amt2.facebook.com"]
                                           0","2401:db00:f01b:0001:face:0
                                           000:0025:0000"]
                                           ["2401:db00:f02f:0005:face:000 ["ber1","arn2"]      ["fnedge110.01.ber1.facebook.c ["Berlin,
                                           0:000b:0000","2401:db00:f009:                       om","fnedge030.02.arn2.faceboo DE","Stockholm, SE"]
                                           1002:face:0000:0025:0000"]                          k.com"]
                                           ["2401:db00:f01c:2009:face:000 ["frt3","amt2","mad1 ["fnedge489.01.frt3.facebook.co ["Frankfurt,
                                           0:0005:0000","2401:db00:f01b: "]                    m","fnedge227.01.amt2.faceboo DE","Amsterdam,
                                           0006:face:0000:001d:0000","24                       k.com","fnedge071.01.amt2.face NL","Madrid, ES"]
                                           01:db00:f01b:000b:face:0000:00                      book.com","fnedge885.01.mad1.
                                           27:0000","2401:db00:f004:100d                       facebook.com"]
                                           :face:0000:0003:0000"]
                                           ["2401:db00:f02a:0007:face:000 ["bom1","frx5"]      ["fnedge051.01.bom1.facebook.c ["Bombay,
                                           0:0027:0000","2401:db00:f01c:0                      om","fnedge518.01.frx5.faceboo IN","Frankfurt, DE"]
                                           015:face:0000:0015:0000","240                       k.com","fnedge159.01.frx5.faceb
                                           1:db00:f01c:0004:face:0000:001                      ook.com"]
                                           3:0000"]
                                           ["2401:db00:f01b:1010:face:000                      ["2401:db00:f01b:1010:face:0:1: ["unknown"]
                                           0:0001:0000","2401:db00:f01b:                       0","2401:db00:f01b:100b:face:0:
                                           100b:face:0000:0011:0000"]                          11:0"]
                                           ["2401:db00:f00d:2008:face:000 ["lax3","ort2"]      ["fnedge058.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0015:0000","2401:db00:f00b:                       m","fnedge524.01.ort2.facebook US","Chicago, IL, US"]
                                           000a:face:0000:000b:0000"]                          .com"]
                                           ["2401:db00:f01f:0002:face:000 ["cdt1","mba1"]      ["fnedge205.01.cdt1.facebook.co ["Paris,
                                           0:000b:0000","2401:db00:f034:                       m","fnedge010.01.mba1.faceboo FR","Mombasa, KE "]
                                           0001:face:0000:0013:0000"]                          k.com"]




                                                                          4 of 33
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 107 of 144
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25         Page 108 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers               server                          center_countries       attacker_phones
                                           ["2401:db00:f01a:200f:face:000 ["lht6","lhr3"]       ["fnedge074.01.lht6.facebook.co ["London,
                                           0:001f:0000","2401:db00:f01a:2                       m","fnedge293.01.lht6.facebook. UK","unknown"]
                                           006:face:0000:0001:0000","240                        com","fnedge135.01.lhr3.facebo
                                           1:db00:f01a:100c:face:0000:001                       ok.com","2401:db00:f01b:1007:f
                                           7:0000","2401:db00:f01b:1007:f                       ace:0:1f:0"]
                                           ace:0000:001f:0000"]
                                           ["2401:db00:f01b:0004:face:000 ["amt2","mrs2"]       ["fnedge260.01.amt2.facebook.c ["Amsterdam,
                                           0:0023:0000","2401:db00:f006:                        om","fnedge023.02.mrs2.facebo NL","Marseille, FR"]
                                           2006:face:0000:0003:0000"]                           ok.com"]
                                           ["2401:db00:f006:2005:face:000 ["mrs2","amt2"]       ["fnedge082.02.mrs2.facebook.c ["Marseille,
                                           0:0003:0000","2401:db00:f006:                        om","fnedge235.01.mrs2.facebo FR","unknown","Ams
                                           1005:face:0000:0013:0000","24                        ok.com","2401:db00:f01b:100b:f terdam, NL"]
                                           01:db00:f01b:100b:face:0000:00                       ace:0:1:0","2401:db00:f01c:3018
                                           01:0000","2401:db00:f01c:3018:                       :face:0:27:0","fnedge262.01.amt
                                           face:0000:0027:0000","2401:db                        2.facebook.com"]
                                           00:f01b:0008:face:0000:0001:00
                                           00"]
                                           ["2401:db00:f013:400b:face:000 ["dfw5"]              ["fnedge632.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0023:0000"]                                        om"]
                                           ["2401:db00:f033:0001:face:000 ["msp1","lax3","ort2" ["fnedge042.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0011:0000","2401:db00:f00d: ]                      om","fnedge054.02.lax3.faceboo US","Los Angeles, CA,
                                           2007:face:0000:001b:0000","24                        k.com","fnedge131.01.lax3.faceb US","Chicago, IL, US"]
                                           01:db00:f00d:0014:face:0000:00                       ook.com","fnedge481.02.ort2.fac
                                           19:0000","2401:db00:f00b:200f:                       ebook.com"]
                                           face:0000:0005:0000"]
                                           ["2401:db00:f006:1002:face:000 ["mrs2"]              ["fnedge193.01.mrs2.facebook.c ["Marseille,
                                           0:0011:0000","2401:db00:f01b:                        om","2401:db00:f01b:100f:face: FR","unknown"]
                                           100f:face:0000:0015:0000","240                       0:15:0","2401:db00:f01b:1011:fa
                                           1:db00:f01b:1011:face:0000:002                       ce:0:25:0"]
                                           5:0000"]
                                           ["2401:db00:f000:200c:face:000 ["mia3"]              ["fnedge263.01.mia3.facebook.c ["Miami, Florida, US"]
                                           0:0019:0000","2401:db00:f000:                        om","fnedge155.01.mia3.facebo
                                           2010:face:0000:0023:0000"]                           ok.com"]
                                           ["2401:db00:f00c:4018:face:000 ["sin2"]              ["fnedge215.02.sin2.facebook.co ["Singapore"]
                                           0:000b:0000"]                                        m"]
                                           ["2401:db00:f01a:2005:face:000 ["lht6","amt2"]       ["fnedge459.01.lht6.facebook.co ["London,
                                           0:000f:0000","2401:db00:f01b:0                       m","fnedge140.01.amt2.faceboo UK","Amsterdam,
                                           006:face:0000:0001:0000"]                            k.com"]                         NL"]




                                                                          6 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2           Filed 04/04/25      Page 109 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries     attacker_phones
                                           ["2401:db00:f02a:000f:face:000 ["bom1"]          ["fnedge376.01.bom1.facebook.c ["Bombay,
                                           0:000d:0000","2401:db00:f01b:                    om","2401:db00:f01b:1008:face: IN","unknown"]
                                           1008:face:0000:0021:0000"]                       0:21:0"]
                                           ["2401:db00:f01c:000c:face:000 ["frx5","maa2"]   ["fnedge111.01.frx5.facebook.co ["Frankfurt,
                                           0:001d:0000","2401:db00:f030:                    m","fnedge132.02.maa2.faceboo DE","Chennai, India"]
                                           1004:face:0000:0007:0000"]                       k.com"]
                                           ["2401:db00:f004:1012:face:000 ["mad1","cdt1"]   ["fnedge709.01.mad1.facebook.c ["Madrid, ES","Paris,
                                           0:0019:0000","2401:db00:f01f:0                   om","fnedge041.01.cdt1.faceboo FR"]
                                           007:face:0000:0015:0000","240                    k.com","fnedge062.01.cdt1.face
                                           1:db00:f01f:000e:face:0000:001                   book.com"]
                                           7:0000"]
                                           ["2401:db00:f021:1003:face:000 ["bru2","frx5"]   ["fnedge292.01.bru2.facebook.c ["Bruxelles,
                                           0:0005:0000","2401:db00:f01c:0                   om","fnedge427.01.frx5.faceboo BE","Frankfurt, DE"]
                                           018:face:0000:0009:0000"]                        k.com"]
                                           ["2401:db00:f01b:100b:face:000 ["otp1"]          ["2401:db00:f01b:100b:face:0:f: ["Bucharest,
                                           0:000f:0000","2401:db00:f016:0                   0","fnedge106.01.otp1.facebook. RO","unknown"]
                                           012:face:0000:001b:0000","240                    com","2401:db00:f01b:1008:face
                                           1:db00:f01b:1008:face:0000:001                   :0:19:0","2401:db00:f01b:100c:f
                                           9:0000","2401:db00:f01b:100c:f                   ace:0:9:0"]
                                           ace:0000:0009:0000"]
                                           ["2401:db00:f013:400b:face:000 ["dfw5","mia3"]   ["fnedge638.02.dfw5.facebook.c ["Dallas, Texas,
                                           0:001b:0000","2401:db00:f000:                    om","fnedge650.02.mia3.facebo US","Miami, Florida,
                                           300e:face:0000:001b:0000"]                       ok.com"]                        US"]
                                           ["2401:db00:f00b:0005:face:000 ["ort2"]          ["fnedge434.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:000d:0000"]                                    m"]
                                           ["2401:db00:f023:0008:face:000 ["jnb1","lht6"]   ["fnedge136.01.jnb1.facebook.co ["Johannesburg,
                                           0:0001:0000","2401:db00:f01a:                    m","fnedge153.01.lht6.facebook. ZA","London, UK"]
                                           2014:face:0000:000d:0000"]                       com"]
                                           ["2401:db00:f01b:000e:face:000 ["amt2"]          ["fnedge254.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:001f:0000"]                                    om"]
                                           ["2401:db00:f008:1014:face:000 ["mxp1"]          ["fnedge645.01.mxp1.facebook.c ["Milano, IT"]
                                           0:0009:0000","2401:db00:f008:                    om","fnedge147.01.mxp1.facebo
                                           1004:face:0000:000f:0000"]                       ok.com"]
                                           ["2401:db00:f023:0002:face:000 ["jnb1","amt2"]   ["fnedge102.01.jnb1.facebook.co ["Johannesburg,
                                           0:0017:0000","2401:db00:f01b:                    m","fnedge364.01.amt2.faceboo ZA","Amsterdam,
                                           0011:face:0000:0027:0000"]                       k.com"]                         NL"]
                                           ["2401:db00:f011:0009:face:000 ["atl3"]          ["fnedge713.01.atl3.facebook.co ["Atlanda, Georgia,
                                           0:0001:0000"]                                    m"]                             US"]




                                                                          7 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 110 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries     attacker_phones
                                           ["2401:db00:f01f:1014:face:000 ["cdg2","cdt1"]   ["fnedge655.01.cdg2.facebook.c ["Paris, FR"]
                                           0:001d:0000","2401:db00:f01f:0                   om","fnedge111.01.cdt1.faceboo
                                           005:face:0000:0023:0000"]                        k.com"]
                                           ["2401:db00:f01c:3012:face:000 ["frt3","mia3"]   ["fnedge206.02.frt3.facebook.co ["Frankfurt,
                                           0:0025:0000","2401:db00:f01c:3                   m","fnedge362.02.frt3.facebook. DE","Miami, Florida,
                                           012:face:0000:0003:0000","240                    com","fnedge269.01.mia3.faceb US"]
                                           1:db00:f000:2011:face:0000:001                   ook.com"]
                                           f:0000"]
                                           ["2401:db00:f00d:2004:face:000 ["lax3","ort2"]   ["fnedge006.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0005:0000","2401:db00:f00b:                    m","fnedge032.02.ort2.facebook US","Chicago, IL, US"]
                                           2002:face:0000:0011:0000"]                       .com"]
                                           ["2401:db00:f01f:0010:face:000 ["cdt1","frx5"]   ["fnedge194.01.cdt1.facebook.co ["Paris,
                                           0:0023:0000","2401:db00:f01c:0                   m","fnedge205.01.frx5.facebook. FR","Frankfurt, DE"]
                                           018:face:0000:0005:0000"]                        com"]
                                           ["2401:db00:f013:400c:face:000 ["dfw5"]          ["fnedge362.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0021:0000"]                                    om"]
                                           ["2401:db00:f01c:200b:face:000 ["frt3","bom1"]   ["fnedge549.01.frt3.facebook.co ["Frankfurt,
                                           0:000b:0000","2401:db00:f02a:                    m","fnedge168.02.bom1.faceboo DE","Bombay, IN"]
                                           100b:face:0000:0007:0000"]                       k.com"]
                                           ["2401:db00:f01b:100c:face:000                   ["2401:db00:f01b:100c:face:0:15 ["unknown"]
                                           0:0015:0000"]                                    :0"]
                                           ["2401:db00:f01c:3004:face:000 ["frt3"]          ["fnedge297.02.frt3.facebook.co ["Frankfurt,
                                           0:0009:0000","2401:db00:f01c:3                   m","2401:db00:f01c:3017:face:0: DE","unknown"]
                                           017:face:0000:0021:0000"]                        21:0"]
                                           ["2401:db00:f01c:3013:face:000 ["frt3"]          ["fnedge484.02.frt3.facebook.co ["Frankfurt, DE"]
                                           0:0023:0000","2401:db00:f01c:3                   m","fnedge344.02.frt3.facebook.
                                           005:face:0000:0025:0000"]                        com"]
                                           ["2401:db00:f00b:000d:face:000 ["ort2"]          ["fnedge547.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:000b:0000"]                                    m"]
                                           ["2401:db00:f01a:2009:face:000 ["lht6","lhr3"]   ["fnedge286.01.lht6.facebook.co ["London, UK"]
                                           0:001f:0000","2401:db00:f01a:1                   m","fnedge192.01.lhr3.facebook.
                                           009:face:0000:001b:0000"]                        com"]
                                           ["2401:db00:f01b:0005:face:000 ["amt2"]          ["fnedge307.01.amt2.facebook.c ["Amsterdam,
                                           0:0009:0000","2401:db00:f01b:                    om","2401:db00:f01b:1008:face: NL","unknown"]
                                           1008:face:0000:0023:0000"]                       0:23:0"]
                                           ["2401:db00:f006:1005:face:000 ["mrs2","amt2"]   ["fnedge232.01.mrs2.facebook.c ["Marseille,
                                           0:0023:0000","2401:db00:f01b:                    om","fnedge111.01.amt2.facebo FR","Amsterdam,
                                           0003:face:0000:001d:0000"]                       ok.com"]                        NL"]




                                                                         8 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 111 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                           center_countries  attacker_phones
                                           ["2401:db00:f01a:1006:face:000 ["lhr3","amt2"]   ["fnedge059.01.lhr3.facebook.co ["London,
                                           0:0015:0000","2401:db00:f01a:                    m","fnedge246.01.lhr3.facebook. UK","unknown","Ams
                                           100e:face:0000:0025:0000","24                    com","2401:db00:f01b:1009:face terdam, NL"]
                                           01:db00:f01b:1009:face:0000:00                   :0:f:0","2401:db00:f01b:1007:fac
                                           0f:0000","2401:db00:f01b:1007:                   e:0:b:0","2401:db00:f01b:100a:f
                                           face:0000:000b:0000","2401:db                    ace:0:13:0","fnedge145.01.amt2.
                                           00:f01b:100a:face:0000:0013:00                   facebook.com"]
                                           00","2401:db00:f01b:0002:face:
                                           0000:000b:0000"]
                                           ["2401:db00:f00b:000d:face:000 ["ort2"]          ["fnedge551.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0013:0000","2401:db00:f00b:                    m","fnedge489.01.ort2.facebook
                                           000c:face:0000:0013:0000"]                       .com"]
                                           ["2401:db00:f02a:0007:face:000 ["bom1"]          ["fnedge097.01.bom1.facebook.c ["Bombay, IN"]
                                           0:000b:0000","2401:db00:f02a:                    om","fnedge073.02.bom1.facebo
                                           1004:face:0000:000b:0000"]                       ok.com"]
                                           ["2401:db00:f009:1003:face:000 ["arn2"]          ["fnedge081.02.arn2.facebook.co ["Stockholm, SE"]
                                           0:0001:0000","2401:db00:f009:                    m","fnedge062.02.arn2.facebook
                                           1006:face:0000:0019:0000"]                       .com"]
                                           ["2401:db00:f033:0001:face:000 ["msp1","dfw5"]   ["fnedge059.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:001d:0000","2401:db00:f013:                    om","fnedge234.01.dfw5.facebo US","Dallas, Texas,
                                           1014:face:0000:0019:0000","24                    ok.com","fnedge387.01.dfw5.fac US"]
                                           01:db00:f013:1008:face:0000:00                   ebook.com"]
                                           05:0000"]
                                           ["2401:db00:f00c:0016:face:000 ["sin2","lax3"]   ["fnedge420.01.sin2.facebook.co ["Singapore","Los
                                           0:0013:0000","2401:db00:f00c:0                   m","fnedge275.01.sin2.facebook. Angeles, CA, US"]
                                           00d:face:0000:000d:0000","240                    com","fnedge169.01.sin2.facebo
                                           1:db00:f00c:000a:face:0000:001                   ok.com","fnedge936.01.lax3.face
                                           9:0000","2401:db00:f00d:0004:f                   book.com"]
                                           ace:0000:0025:0000"]
                                           ["2401:db00:f01b:1010:face:000 ["amt2"]          ["2401:db00:f01b:1010:face:0:b: ["unknown","Amster
                                           0:000b:0000","2401:db00:f01b:                    0","2401:db00:f01b:100a:face:0: dam, NL"]
                                           100a:face:0000:0001:0000","24                    1:0","fnedge160.01.amt2.facebo
                                           01:db00:f01b:0009:face:0000:00                   ok.com","fnedge055.01.amt2.fac
                                           1f:0000","2401:db00:f01b:000d:                   ebook.com"]
                                           face:0000:0019:0000"]
                                           ["2401:db00:f013:1001:face:000 ["dfw5"]          ["fnedge015.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001b:0000","2401:db00:f013:                    om","fnedge604.02.dfw5.facebo
                                           400d:face:0000:0011:0000"]                       ok.com"]




                                                                         9 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2           Filed 04/04/25      Page 112 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries      attacker_phones
                                           ["2401:db00:f02a:1012:face:000 ["bom1"]          ["fnedge367.02.bom1.facebook.c ["Bombay, IN"]
                                           0:0011:0000"]                                    om"]
                                           ["2401:db00:f013:4002:face:000 ["dfw5"]          ["fnedge408.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001d:0000","2401:db00:f013:                    om","fnedge328.01.dfw5.facebo
                                           1010:face:0000:0015:0000"]                       ok.com"]
                                           ["2401:db00:f013:400e:face:000 ["dfw5"]          ["fnedge659.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001b:0000","2401:db00:f013:                    om","fnedge024.01.dfw5.facebo
                                           1003:face:0000:0009:0000"]                       ok.com"]
                                           ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge670.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000d:0000"]                                    om"]
                                           ["2401:db00:f01a:200a:face:000 ["lht6"]          ["fnedge233.01.lht6.facebook.co ["London,
                                           0:0017:0000","2401:db00:f01b:                    m","2401:db00:f01b:100e:face:0 UK","unknown"]
                                           100e:face:0000:001b:0000"]                       :1b:0"]
                                           ["2401:db00:f01b:0012:face:000 ["amt2"]          ["fnedge320.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:000f:0000"]                                    om"]
                                           ["2401:db00:f006:2007:face:000 ["mrs2","cdg2"]   ["fnedge053.02.mrs2.facebook.c ["Marseille,
                                           0:0005:0000","2401:db00:f01f:1                   om","fnedge807.01.cdg2.facebo FR","Paris, FR"]
                                           015:face:0000:0021:0000"]                        ok.com"]
                                           ["2401:db00:f00b:0010:face:000 ["ort2","lax3"]   ["fnedge117.01.ort2.facebook.co ["Chicago, IL,
                                           0:0027:0000","2401:db00:f00d:                    m","fnedge079.02.lax3.facebook. US","Los Angeles, CA,
                                           2001:face:0000:0019:0000"]                       com"]                           US"]
                                           ["2401:db00:f00b:200e:face:000 ["ort2","lax3"]   ["fnedge100.02.ort2.facebook.co ["Chicago, IL,
                                           0:0011:0000","2401:db00:f00d:                    m","fnedge1025.01.lax3.faceboo US","Los Angeles, CA,
                                           0009:face:0000:0027:0000"]                       k.com"]                         US"]
                                           ["2401:db00:f00b:2005:face:000 ["ort2","lax3"]   ["fnedge165.02.ort2.facebook.co ["Chicago, IL,
                                           0:001b:0000","2401:db00:f00d:                    m","fnedge751.01.lax3.facebook. US","Los Angeles, CA,
                                           0010:face:0000:0011:0000","24                    com","fnedge734.01.lax3.facebo US"]
                                           01:db00:f00d:000e:face:0000:00                   ok.com","fnedge056.02.lax3.face
                                           23:0000","2401:db00:f00d:2001                    book.com"]
                                           :face:0000:0009:0000"]
                                           ["2401:db00:f01a:1004:face:000 ["lhr3"]          ["fnedge068.01.lhr3.facebook.co ["London, UK"]
                                           0:0003:0000","2401:db00:f01a:                    m","fnedge041.01.lhr3.facebook.
                                           1001:face:0000:0017:0000"]                       com"]
                                           ["2401:db00:f034:0006:face:000 ["mba1"]          ["fnedge114.01.mba1.facebook.c ["Mombasa, KE "]
                                           0:000b:0000"]                                    om"]
                                           ["2401:db00:f01b:1010:face:000                   ["2401:db00:f01b:1010:face:0:1b ["unknown"]
                                           0:001b:0000"]                                    :0"]




                                                                         10 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25      Page 113 of 144


victim_phone   attacker_ips   victim_ips   server_ips                      centers           server                          center_countries      attacker_phones
                                           ["2401:db00:f000:300f:face:000 ["mia3"]           ["fnedge667.02.mia3.facebook.c ["Miami, Florida, US"]
                                           0:000f:0000","2401:db00:f000:2                    om","fnedge511.01.mia3.facebo
                                           014:face:0000:001d:0000"]                         ok.com"]
                                           ["2401:db00:f013:1011:face:000 ["dfw5"]           ["fnedge304.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0003:0000","2401:db00:f013:                     om","fnedge130.01.dfw5.facebo
                                           100b:face:0000:000f:0000"]                        ok.com"]
                                           ["2401:db00:f01b:100e:face:000                    ["2401:db00:f01b:100e:face:0:27 ["unknown"]
                                           0:0027:0000"]                                     :0"]
                                           ["2401:db00:f01c:0011:face:000 ["frx5"]           ["fnedge034.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0019:0000"]                                     m"]
                                           ["2401:db00:f01f:000f:face:0000 ["cdt1","frx5"]   ["fnedge103.01.cdt1.facebook.co ["Paris,
                                           :0007:0000","2401:db00:f01c:00                    m","fnedge411.01.frx5.facebook. FR","Frankfurt, DE"]
                                           0b:face:0000:0021:0000"]                          com"]
                                           ["2401:db00:f036:0001:face:000 ["dus1"]           ["fnedge004.01.dus1.facebook.c ["Dusseldorf, DE"]
                                           0:000f:0000","2401:db00:f036:0                    om","fnedge016.01.dus1.facebo
                                           001:face:0000:0017:0000"]                         ok.com"]
                                           ["2401:db00:f01b:000c:face:000 ["amt2"]           ["fnedge029.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:0015:0000","2401:db00:f01b:                     om","fnedge210.01.amt2.facebo
                                           000f:face:0000:000d:0000"]                        ok.com"]
                                           ["2401:db00:f01c:0008:face:000 ["frx5"]           ["fnedge620.01.frx5.facebook.co ["Frankfurt,
                                           0:0007:0000","2401:db00:f01b:                     m","2401:db00:f01b:100e:face:0 DE","unknown"]
                                           100e:face:0000:000b:0000"]                        :b:0"]
                                           ["2401:db00:f013:4018:face:000 ["dfw5"]           ["fnedge573.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0019:0000","2401:db00:f013:                     om","fnedge307.01.dfw5.facebo
                                           1011:face:0000:000b:0000"]                        ok.com"]
                                           ["2401:db00:f013:400e:face:000 ["dfw5"]           ["fnedge651.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0009:0000"]                                     om"]
                                           ["2401:db00:f006:1003:face:000 ["mrs2","amt2"]    ["fnedge202.01.mrs2.facebook.c ["Marseille,
                                           0:0003:0000","2401:db00:f01b:                     om","fnedge305.01.amt2.facebo FR","Amsterdam,
                                           0007:face:0000:0007:0000"]                        ok.com"]                        NL"]
                                           ["2401:db00:f01a:200c:face:000 ["lht6"]           ["fnedge113.01.lht6.facebook.co ["London, UK"]
                                           0:0019:0000","2401:db00:f01a:                     m","fnedge221.01.lht6.facebook.
                                           2003:face:0000:001d:0000"]                        com"]
                                           ["2401:db00:f013:4015:face:000 ["dfw5"]           ["fnedge501.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0001:0000"]                                     om"]




                                                                          11 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2           Filed 04/04/25      Page 114 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries        attacker_phones
                                           ["2401:db00:f030:1004:face:000 ["maa2","frx5"]   ["fnedge126.02.maa2.facebook.c ["Chennai,
                                           0:0005:0000","2401:db00:f030:                    om","fnedge026.02.maa2.facebo India","Frankfurt,
                                           1002:face:0000:0025:0000","24                    ok.com","fnedge060.01.frx5.face DE"]
                                           01:db00:f01c:0002:face:0000:00                   book.com","fnedge075.01.frx5.fa
                                           21:0000","2401:db00:f01c:0017:                   cebook.com"]
                                           face:0000:0001:0000"]
                                           ["2401:db00:f01f:1013:face:000 ["cdg2","lht6"]   ["fnedge637.01.cdg2.facebook.c ["Paris, FR","London,
                                           0:0007:0000","2401:db00:f01a:                    om","fnedge454.01.lht6.faceboo UK"]
                                           200b:face:0000:001b:0000"]                       k.com"]
                                           ["2401:db00:f013:1011:face:000 ["dfw5"]          ["fnedge309.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000d:0000"]                                    om"]
                                           ["2401:db00:f00b:2011:face:000 ["ort2","dfw5"]   ["fnedge042.02.ort2.facebook.co ["Chicago, IL,
                                           0:0021:0000","2401:db00:f00b:                    m","fnedge354.01.ort2.facebook US","Dallas, Texas,
                                           0001:face:0000:001b:0000","24                    .com","fnedge739.02.dfw5.faceb US"]
                                           01:db00:f013:4001:face:0000:00                   ook.com"]
                                           1f:0000"]
                                           ["2401:db00:f00b:0006:face:000 ["ort2","msp1"]   ["fnedge449.01.ort2.facebook.co ["Chicago, IL,
                                           0:0019:0000","2401:db00:f033:                    m","fnedge094.01.msp1.faceboo US","Minneapolis,
                                           0004:face:0000:0011:0000"]                       k.com"]                         MN, US"]
                                           ["2401:db00:f01b:100b:face:000 ["bom1"]          ["2401:db00:f01b:100b:face:0:17 ["unknown","Bombay
                                           0:0017:0000","2401:db00:f02a:                    :0","fnedge278.02.bom1.faceboo , IN"]
                                           1011:face:0000:0007:0000"]                       k.com"]
                                           ["2401:db00:f013:1003:face:000 ["dfw5","qro1"]   ["fnedge031.01.dfw5.facebook.c ["Dallas, Texas,
                                           0:0011:0000","2401:db00:f02e:                    om","fnedge181.01.qro1.facebo US","Queretaro, MX"]
                                           000b:face:0000:001d:0000"]                       ok.com"]
                                           ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge665.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0009:0000","2401:db00:f013:                    om","fnedge146.01.dfw5.facebo
                                           100c:face:0000:0007:0000"]                       ok.com"]
                                           ["2401:db00:f033:0005:face:000 ["msp1"]          ["fnedge103.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0017:0000","2401:db00:f033:                    om","fnedge014.01.msp1.facebo US"]
                                           0006:face:0000:0019:0000"]                       ok.com"]
                                           ["2401:db00:f00b:000f:face:000 ["ort2","lax3"]   ["fnedge565.01.ort2.facebook.co ["Chicago, IL,
                                           0:001b:0000","2401:db00:f00d:                    m","fnedge104.02.lax3.facebook. US","Los Angeles, CA,
                                           2003:face:0000:0001:0000"]                       com"]                           US"]
                                           ["2401:db00:f023:0006:face:000 ["jnb1","mba1"]   ["fnedge018.01.jnb1.facebook.co ["Johannesburg,
                                           0:000d:0000","2401:db00:f034:                    m","fnedge104.01.mba1.faceboo ZA","Mombasa, KE "]
                                           0006:face:0000:001f:0000"]                       k.com"]




                                                                         12 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 115 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries      attacker_phones
                                           ["2401:db00:f000:3008:face:000 ["mia3"]          ["fnedge089.02.mia3.facebook.c ["Miami, Florida, US"]
                                           0:001d:0000","2401:db00:f000:                    om","fnedge188.01.mia3.facebo
                                           2009:face:0000:0027:0000"]                       ok.com"]
                                           ["2401:db00:f02a:000f:face:000 ["bom1"]          ["fnedge375.01.bom1.facebook.c ["Bombay, IN"]
                                           0:0013:0000","2401:db00:f02a:                    om","fnedge302.01.bom1.facebo
                                           0003:face:0000:0011:0000"]                       ok.com"]
                                           ["2401:db00:f01c:2007:face:000 ["frt3"]          ["fnedge515.01.frt3.facebook.co ["Frankfurt,
                                           0:000b:0000","2401:db00:f01c:2                   m","fnedge614.01.frt3.facebook. DE","unknown"]
                                           00d:face:0000:001d:0000","240                    com","2401:db00:f01c:3015:face
                                           1:db00:f01c:3015:face:0000:002                   :0:21:0"]
                                           1:0000"]
                                           ["2401:db00:f013:4016:face:000 ["dfw5"]          ["fnedge522.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0001:0000"]                                    om"]
                                           ["2401:db00:f01c:3002:face:000 ["frt3"]          ["fnedge050.02.frt3.facebook.co ["Frankfurt, DE"]
                                           0:0003:0000","2401:db00:f01c:2                   m","fnedge655.01.frt3.facebook.
                                           010:face:0000:0011:0000"]                        com"]
                                           ["2401:db00:f00c:0018:face:000 ["sin2","sjc3"]   ["fnedge455.01.sin2.facebook.co ["Singapore","San
                                           0:000d:0000","2401:db00:f022:                    m","fnedge694.01.sjc3.facebook. Jose, CA, uS"]
                                           1010:face:0000:0025:0000"]                       com"]
                                           ["2401:db00:f006:100f:face:000 ["mrs2","amt2"]   ["fnedge262.01.mrs2.facebook.c ["Marseille,
                                           0:0013:0000","2401:db00:f01b:                    om","fnedge367.01.amt2.facebo FR","Amsterdam,
                                           000d:face:0000:0013:0000"]                       ok.com"]                        NL"]
                                           ["2401:db00:f00d:0009:face:000 ["lax3","msp1"]   ["fnedge1012.01.lax3.facebook.c ["Los Angeles, CA,
                                           0:0021:0000","2401:db00:f00d:                    om","fnedge148.02.lax3.faceboo US","Minneapolis,
                                           2005:face:0000:0019:0000","24                    k.com","fnedge887.01.lax3.faceb MN, US"]
                                           01:db00:f00d:000b:face:0000:00                   ook.com","fnedge028.01.msp1.f
                                           01:0000","2401:db00:f033:0002                    acebook.com"]
                                           :face:0000:0009:0000"]
                                           ["2401:db00:f01a:2013:face:000 ["lht6"]          ["fnedge361.01.lht6.facebook.co ["London, UK"]
                                           0:0011:0000","2401:db00:f01a:                    m","fnedge399.01.lht6.facebook.
                                           2013:face:0000:0023:0000"]                       com"]
                                           ["2401:db00:f01b:1007:face:000                   ["2401:db00:f01b:1007:face:0:11 ["unknown"]
                                           0:0011:0000"]                                    :0"]
                                           ["2401:db00:f022:1006:face:000 ["sjc3"]          ["fnedge920.01.sjc3.facebook.co ["San Jose, CA, uS"]
                                           0:001b:0000"]                                    m"]
                                           ["2401:db00:f013:4002:face:000 ["dfw5"]          ["fnedge407.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0025:0000","2401:db00:f013:                    om","fnedge702.02.dfw5.facebo
                                           4010:face:0000:000f:0000"]                       ok.com"]




                                                                         13 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25          Page 116 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers               server                         center_countries      attacker_phones
                                           ["2401:db00:f02a:000c:face:000 ["bom1","ber1","dus   ["fnedge213.01.bom1.facebook.c ["Bombay,
                                           0:0023:0000","2401:db00:f02f:0 1"]                   om","fnedge015.01.ber1.facebo IN","Berlin,
                                           002:face:0000:0001:0000","240                        ok.com","fnedge118.01.dus1.fac DE","Dusseldorf, DE"]
                                           1:db00:f036:0005:face:0000:001                       ebook.com"]
                                           f:0000"]
                                           ["2401:db00:f013:400f:face:000 ["dfw5"]              ["fnedge671.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0019:0000"]                                        om"]
                                           ["2401:db00:f013:4008:face:000 ["dfw5"]              ["fnedge428.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001f:0000","2401:db00:f013:4                       om","fnedge541.02.dfw5.facebo
                                           017:face:0000:0001:0000"]                            ok.com"]
                                           ["2401:db00:f006:1012:face:000 ["mrs2"]              ["fnedge380.01.mrs2.facebook.c ["Marseille, FR"]
                                           0:0011:0000","2401:db00:f006:                        om","fnedge068.02.mrs2.facebo
                                           2009:face:0000:0027:0000"]                           ok.com"]
                                           ["2401:db00:f00b:2011:face:000 ["ort2","lax3"]       ["fnedge238.02.ort2.facebook.co ["Chicago, IL,
                                           0:001b:0000","2401:db00:f00b:                        m","fnedge285.01.ort2.facebook US","Los Angeles, CA,
                                           0008:face:0000:0017:0000","24                        .com","fnedge082.02.lax3.facebo US"]
                                           01:db00:f00d:2006:face:0000:00                       ok.com","fnedge091.02.lax3.face
                                           1d:0000","2401:db00:f00d:2008                        book.com"]
                                           :face:0000:0025:0000"]
                                           ["2401:db00:f033:0005:face:000 ["msp1","dfw5","qro   ["fnedge120.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0013:0000","2401:db00:f013: 1"]                    om","fnedge033.02.dfw5.facebo US","Dallas, Texas,
                                           4006:face:0000:0011:0000","24                        ok.com","fnedge225.01.qro1.fac US","Queretaro, MX"]
                                           01:db00:f02e:0008:face:0000:00                       ebook.com","fnedge155.01.qro1.
                                           0b:0000","2401:db00:f02e:0004                        facebook.com"]
                                           :face:0000:0023:0000"]
                                           ["2401:db00:f009:1001:face:000 ["arn2"]              ["fnedge010.02.arn2.facebook.co ["Stockholm, SE"]
                                           0:0021:0000","2401:db00:f009:                        m","fnedge287.01.arn2.facebook
                                           0010:face:0000:0013:0000"]                           .com"]
                                           ["2401:db00:f00c:4003:face:000 ["sin2"]              ["fnedge077.02.sin2.facebook.co ["Singapore"]
                                           0:0009:0000","2401:db00:f00c:0                       m","fnedge313.01.sin2.facebook.
                                           00f:face:0000:0003:0000"]                            com"]
                                           ["2401:db00:f013:4017:face:000 ["dfw5"]              ["fnedge560.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0021:0000","2401:db00:f013:                        om","fnedge525.02.dfw5.facebo
                                           4016:face:0000:000f:0000"]                           ok.com"]
                                           ["2401:db00:f01b:1008:face:000                       ["2401:db00:f01b:1008:face:0:7: ["unknown"]
                                           0:0007:0000"]                                        0"]
                                           ["2401:db00:f01b:100e:face:000 ["amt2"]              ["2401:db00:f01b:100e:face:0:25 ["unknown","Amster
                                           0:0025:0000","2401:db00:f01b:                        :0","fnedge352.01.amt2.faceboo dam, NL"]
                                           000a:face:0000:000b:0000"]                           k.com"]



                                                                         14 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 117 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries       attacker_phones
                                           ["2401:db00:f01f:0007:face:000 ["cdt1","jnb1"]   ["fnedge125.01.cdt1.facebook.co ["Paris,
                                           0:0009:0000","2401:db00:f01f:0                   m","fnedge164.01.cdt1.facebook FR","Johannesburg,
                                           005:face:0000:001b:0000","240                    .com","fnedge187.01.jnb1.faceb ZA"]
                                           1:db00:f023:000b:face:0000:000                   ook.com"]
                                           9:0000"]
                                           ["2401:db00:f01b:000f:face:000 ["amt2"]          ["fnedge334.01.amt2.facebook.c ["Amsterdam,
                                           0:001b:0000","2401:db00:f01b:                    om","2401:db00:f01b:1008:face: NL","unknown"]
                                           1008:face:0000:0021:0000"]                       0:21:0"]
                                           ["2401:db00:f013:1015:face:000 ["dfw5"]          ["fnedge264.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000d:0000"]                                    om"]
                                           ["2401:db00:f013:1009:face:000 ["dfw5","msp1"]   ["fnedge440.01.dfw5.facebook.c ["Dallas, Texas,
                                           0:0027:0000","2401:db00:f013:                    om","fnedge321.02.dfw5.facebo US","Minneapolis,
                                           400c:face:0000:0001:0000","24                    ok.com","fnedge010.01.msp1.fac MN, US"]
                                           01:db00:f033:0006:face:0000:00                   ebook.com"]
                                           03:0000"]
                                           ["2401:db00:f013:100e:face:000 ["dfw5","lga3"]   ["fnedge197.01.dfw5.facebook.c ["Dallas, Texas,
                                           0:0027:0000","2401:db00:f012:                    om","fnedge115.01.lga3.faceboo US","New York, NY,
                                           200d:face:0000:0003:0000"]                       k.com"]                         US"]
                                           ["2401:db00:f00b:2011:face:000 ["ort2"]          ["fnedge205.02.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0003:0000","2401:db00:f00b:                    m","fnedge512.02.ort2.facebook
                                           2007:face:0000:001d:0000"]                       .com"]
                                           ["2401:db00:f01f:1003:face:000 ["cdg2"]          ["fnedge450.01.cdg2.facebook.c ["Paris, FR"]
                                           0:0005:0000"]                                    om"]
                                           ["2401:db00:f013:100c:face:000 ["dfw5"]          ["fnedge148.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000d:0000"]                                    om"]
                                           ["2401:db00:f02f:0007:face:000 ["ber1","bom1"]   ["fnedge122.01.ber1.facebook.c ["Berlin,
                                           0:0003:0000","2401:db00:f02a:                    om","fnedge217.01.bom1.facebo DE","Bombay, IN"]
                                           000b:face:0000:0019:0000","24                    ok.com","fnedge172.02.bom1.fa
                                           01:db00:f02a:100b:face:0000:00                   cebook.com"]
                                           15:0000"]
                                           ["2401:db00:f016:0012:face:000 ["otp1"]          ["fnedge310.01.otp1.facebook.c ["Bucharest, RO"]
                                           0:001f:0000"]                                    om"]
                                           ["2401:db00:f01b:1010:face:000 ["mrs2"]          ["2401:db00:f01b:1010:face:0:1b ["unknown","Marseill
                                           0:001b:0000","2401:db00:f006:                    :0","fnedge111.01.mrs2.faceboo e, FR"]
                                           1009:face:0000:0021:0000"]                       k.com"]
                                           ["2401:db00:f009:1004:face:000 ["arn2"]          ["fnedge041.02.arn2.facebook.co ["Stockholm, SE"]
                                           0:0001:0000"]                                    m"]




                                                                         15 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 118 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                         center_countries         attacker_phones
                                           ["2401:db00:f01b:0005:face:000 ["amt2","mrs2"]   ["fnedge038.01.amt2.facebook.c ["Amsterdam,
                                           0:0005:0000","2401:db00:f01b:                    om","fnedge342.01.amt2.facebo NL","Marseille, FR"]
                                           0004:face:0000:0013:0000","24                    ok.com","fnedge229.01.mrs2.fac
                                           01:db00:f006:1005:face:0000:00                   ebook.com"]
                                           07:0000"]
                                           ["2401:db00:f036:0004:face:000 ["dus1","frt3"]   ["fnedge078.01.dus1.facebook.c ["Dusseldorf,
                                           0:0027:0000","2401:db00:f01c:2                   om","fnedge447.01.frt3.faceboo DE","Frankfurt, DE"]
                                           006:face:0000:0005:0000","240                    k.com","fnedge300.02.frt3.faceb
                                           1:db00:f01c:3008:face:0000:002                   ook.com"]
                                           5:0000"]
                                           ["2401:db00:f006:2009:face:000 ["mrs2"]          ["fnedge070.02.mrs2.facebook.c ["Marseille, FR"]
                                           0:0007:0000"]                                    om"]
                                           ["2401:db00:f013:1001:face:000 ["dfw5"]          ["fnedge016.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001d:0000","2401:db00:f013:                    om","fnedge755.02.dfw5.facebo
                                           4009:face:0000:0009:0000"]                       ok.com"]
                                           ["2401:db00:f013:1015:face:000 ["dfw5"]          ["fnedge274.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0011:0000"]                                    om"]
                                           ["2401:db00:f01b:1011:face:000                   ["2401:db00:f01b:1011:face:0:b: ["unknown"]
                                           0:000b:0000","2401:db00:f01b:                    0","2401:db00:f01b:1010:face:0:
                                           1010:face:0000:0011:0000"]                       11:0"]
                                           ["2401:db00:f033:0005:face:000 ["msp1"]          ["fnedge119.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0011:0000"]                                    om"]                            US"]
                                           ["2401:db00:f01a:2011:face:000 ["lht6"]          ["fnedge047.01.lht6.facebook.co ["London, UK"]
                                           0:000d:0000"]                                    m"]
                                           ["2401:db00:f00c:0005:face:000 ["sin2"]          ["fnedge100.01.sin2.facebook.co ["Singapore","unkno
                                           0:000b:0000","2401:db00:f01b:                    m","2401:db00:f01b:100f:face:0: wn"]
                                           100f:face:0000:001d:0000"]                       1d:0"]
                                           ["2401:db00:f000:2010:face:000 ["mia3"]          ["fnedge174.01.mia3.facebook.c ["Miami, Florida, US"]
                                           0:0019:0000","2401:db00:f000:                    om","fnedge619.02.mia3.facebo
                                           3007:face:0000:0013:0000"]                       ok.com"]
                                           ["2401:db00:f01c:0016:face:000 ["frx5","vie1"]   ["fnedge536.01.frx5.facebook.co ["Frankfurt,
                                           0:0007:0000","2401:db00:f007:                    m","fnedge119.01.vie1.facebook DE","Vienna, AT"]
                                           1018:face:0000:000f:0000","240                   .com","fnedge510.01.vie1.facebo
                                           1:db00:f007:1002:face:0000:000                   ok.com"]
                                           5:0000"]
                                           ["2401:db00:f013:100e:face:000 ["dfw5"]          ["fnedge195.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001f:0000","2401:db00:f013:4                   om","fnedge736.02.dfw5.facebo
                                           001:face:0000:000b:0000"]                        ok.com"]




                                                                         16 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25      Page 119 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers            server                          center_countries       attacker_phones
                                           ["2401:db00:f00b:200a:face:000 ["ort2"]           ["fnedge102.02.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0009:0000"]                                     m"]
                                           ["2401:db00:f004:100d:face:000 ["mad1"]           ["fnedge899.01.mad1.facebook.c ["Madrid,
                                           0:001f:0000","2401:db00:f01b:1                    om","2401:db00:f01b:100b:face: ES","unknown"]
                                           00b:face:0000:0027:0000"]                         0:27:0"]
                                           ["2401:db00:f01c:3005:face:000 ["frt3","mad1"]    ["fnedge064.02.frt3.facebook.co ["Frankfurt,
                                           0:0003:0000","2401:db00:f01c:2                    m","fnedge429.01.frt3.facebook. DE","Madrid, ES"]
                                           005:face:0000:0015:0000","240                     com","fnedge659.01.frt3.facebo
                                           1:db00:f01c:2010:face:0000:001                    ok.com","fnedge525.01.mad1.fa
                                           b:0000","2401:db00:f004:1003:f                    cebook.com"]
                                           ace:0000:0023:0000"]
                                           ["2401:db00:f006:2005:face:000 ["mrs2"]           ["fnedge082.02.mrs2.facebook.c ["Marseille, FR"]
                                           0:0003:0000"]                                     om"]
                                           ["2401:db00:f013:4004:face:000 ["dfw5"]           ["fnedge861.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0001:0000"]                                     om"]
                                           ["2401:db00:f013:4006:face:000 ["dfw5"]           ["fnedge021.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0001:0000","2401:db00:f013:                     om","fnedge594.02.dfw5.facebo
                                           400a:face:0000:001b:0000"]                        ok.com"]
                                           ["2401:db00:f01c:200a:face:000 ["frt3","ber1"]    ["fnedge526.01.frt3.facebook.co ["Frankfurt,
                                           0:0005:0000","2401:db00:f01c:2                    m","fnedge624.01.frt3.facebook. DE","Berlin, DE"]
                                           00e:face:0000:0013:0000","240                     com","fnedge063.01.ber1.facebo
                                           1:db00:f02f:0003:face:0000:000                    ok.com"]
                                           7:0000"]




                                                                         17 of 33
                               Case 4:19-cv-07123-PJH         Document 679-2            Filed 04/04/25           Page 120 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers                  server                          center_countries     attacker_phones
                                           ["2401:db00:f00c:4006:face:000 ["sjc3","lax3","sin2"]   ["fnedge303.02.sin2.facebook.co ["Singapore","San
                                           0:0003:0000","2401:db00:f00c:4                          m","fnedge033.02.sin2.facebook. Jose, CA, uS","Los
                                           001:face:0000:0021:0000","240                           com","fnedge233.01.sin2.facebo Angeles, CA, US"]
                                           1:db00:f00c:000b:face:0000:001                          ok.com","fnedge018.02.sin2.face
                                           7:0000","2401:db00:f00c:400d:f                          book.com","fnedge151.01.sin2.f
                                           ace:0000:001f:0000","2401:db0                           acebook.com","fnedge077.02.sin
                                           0:f00c:0008:face:0000:0013:000                          2.facebook.com","fnedge785.01.
                                           0","2401:db00:f00c:4003:face:0                          lax3.facebook.com","fnedge074.
                                           000:0009:0000","2401:db00:f00                           02.lax3.facebook.com","fnedge0
                                           d:0012:face:0000:0003:0000","2                          81.02.lax3.facebook.com","fnedg
                                           401:db00:f00d:2006:face:0000:0                          e789.01.lax3.facebook.com","fne
                                           021:0000","2401:db00:f00d:200                           dge269.02.sin2.facebook.com","f
                                           6:face:0000:0027:0000","2401:d                          nedge382.02.sin2.facebook.com"
                                           b00:f00d:0011:face:0000:000b:0                          ,"fnedge437.01.sin2.facebook.co
                                           000","2401:db00:f00c:4015:face                          m","fnedge365.02.sin2.facebook.
                                           :0000:0027:0000","2401:db00:f                           com","fnedge954.01.sjc3.facebo
                                           00c:4004:face:0000:000f:0000",                          ok.com","fnedge799.01.lax3.face
                                           "2401:db00:f00c:0014:face:000                           book.com","fnedge739.01.lax3.fa
                                           0:0027:0000","2401:db00:f00c:4                          cebook.com","fnedge688.01.lax3
                                           007:face:0000:0005:0000","240                           .facebook.com","fnedge171.02.si
                                           1:db00:f022:1005:face:0000:000                          n2.facebook.com","fnedge378.0
                                           d:0000","2401:db00:f00d:0011:f                          1.sin2.facebook.com","fnedge88
                                           ace:0000:0021:0000","2401:db0                           9.01.sjc3.facebook.com","fnedge
                                           0:f00d:000e:face:0000:0005:000                          021.02.lax3.facebook.com","fned
                                           0","2401:db00:f00d:0013:face:0                          ge084.02.lax3.facebook.com","fn
                                           000:0017:0000","2401:db00:f00                           edge098.02.lax3.facebook.com",
                                           c:4008:face:0000:0009:0000","2                          "fnedge980.01.lax3.facebook.co
                                           401:db00:f00c:0013:face:0000:0                          m","fnedge078.01.lax3.facebook.
                                           00d:0000","2401:db00:f022:101
                                           ["2401:db00:f01b:1010:face:000                          com","fnedge484.01.lax3.facebo
                                                                                                   ["2401:db00:f01b:1010:face:0:1d ["unknown"]
                                           0:001d:0000"]                                           :0"]
                                           ["2401:db00:f01b:000b:face:000 ["amt2"]                 ["fnedge099.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:0015:0000"]                                           om"]
                                           ["2401:db00:f01c:0016:face:000 ["frx5","bom1"]          ["fnedge540.01.frx5.facebook.co ["Frankfurt,
                                           0:001f:0000","2401:db00:f01c:0                          m","fnedge236.01.frx5.facebook. DE","Bombay, IN"]
                                           002:face:0000:0019:0000","240                           com","fnedge033.02.bom1.faceb
                                           1:db00:f02a:1002:face:0000:001                          ook.com","fnedge185.02.bom1.f
                                           5:0000","2401:db00:f02a:100d:f                          acebook.com"]
                                           ace:0000:001f:0000"]




                                                                           18 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25         Page 121 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers                server                          center_countries      attacker_phones
                                           ["2401:db00:f006:1011:face:000 ["mrs2","frx5","frt3"] ["fnedge355.01.mrs2.facebook.c ["Marseille,
                                           0:0011:0000","2401:db00:f006:                         om","fnedge400.01.mrs2.facebo FR","Frankfurt, DE"]
                                           1014:face:0000:000d:0000","24                         ok.com","fnedge120.01.frx5.face
                                           01:db00:f01c:000e:face:0000:00                        book.com","fnedge101.02.frt3.fa
                                           13:0000","2401:db00:f01c:3001:                        cebook.com"]
                                           face:0000:0003:0000"]
                                           ["2401:db00:f013:4004:face:000 ["dfw5"]               ["fnedge878.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0009:0000","2401:db00:f013:                         om","fnedge503.02.dfw5.facebo
                                           4015:face:0000:000d:0000"]                            ok.com"]
                                           ["2401:db00:f013:100f:face:000 ["dfw5"]               ["fnedge218.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001d:0000"]                                         om"]
                                           ["2401:db00:f033:0001:face:000 ["msp1"]               ["fnedge056.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0009:0000"]                                         om"]                            US"]
                                           ["2401:db00:f00b:200d:face:000 ["ort2","lax3"]        ["fnedge123.02.ort2.facebook.co ["Chicago, IL,
                                           0:0003:0000","2401:db00:f00b:                         m","fnedge486.01.ort2.facebook US","Los Angeles, CA,
                                           000c:face:0000:0025:0000","24                         .com","fnedge138.02.lax3.facebo US"]
                                           01:db00:f00d:2002:face:0000:00                        ok.com"]
                                           19:0000"]
                                           ["2401:db00:f01b:100e:face:000 ["bom1"]               ["2401:db00:f01b:100e:face:0:9: ["unknown","Bombay
                                           0:0009:0000","2401:db00:f02a:                         0","fnedge033.02.bom1.faceboo , IN"]
                                           1002:face:0000:0015:0000"]                            k.com"]
                                           ["2401:db00:f013:4009:face:000 ["dfw5"]               ["fnedge750.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001d:0000","2401:db00:f013:                         om","fnedge421.01.dfw5.facebo
                                           1009:face:0000:0001:0000"]                            ok.com"]
                                           ["2401:db00:f00c:0002:face:000 ["sin2"]               ["fnedge032.01.sin2.facebook.co ["Singapore"]
                                           0:0005:0000"]                                         m"]
                                           ["2401:db00:f00c:1014:face:000 ["sin6","sin2"]        ["fnedge067.01.sin6.facebook.co ["Singapore"]
                                           0:001f:0000","2401:db00:f00c:4                        m","fnedge098.02.sin2.facebook.
                                           005:face:0000:0011:0000"]                             com"]
                                           ["2401:db00:f01a:200b:face:000 ["lht6"]               ["fnedge059.01.lht6.facebook.co ["London, UK"]
                                           0:0021:0000","2401:db00:f01a:                         m","fnedge024.01.lht6.facebook.
                                           200f:face:0000:0023:0000"]                            com"]
                                           ["2401:db00:f013:4012:face:000 ["dfw5"]               ["fnedge394.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0019:0000","2401:db00:f013:                         om","fnedge566.02.dfw5.facebo
                                           4018:face:0000:0009:0000"]                            ok.com"]
                                           ["2401:db00:f00b:200a:face:000 ["ort2","lax3"]        ["fnedge310.02.ort2.facebook.co ["Chicago, IL,
                                           0:000d:0000","2401:db00:f00d:                         m","fnedge154.02.lax3.facebook. US","Los Angeles, CA,
                                           2005:face:0000:0021:0000"]                            com"]                           US"]




                                                                          19 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25          Page 122 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers                server                           center_countries      attacker_phones
                                           ["2401:db00:f01b:1009:face:000 ["bom1"]               ["2401:db00:f01b:1009:face:0:17 ["unknown","Bombay
                                           0:0017:0000","2401:db00:f02a:                         :0","fnedge314.02.bom1.faceboo , IN"]
                                           1010:face:0000:001d:0000","24                         k.com","fnedge233.02.bom1.fac
                                           01:db00:f02a:100c:face:0000:00                        ebook.com","fnedge259.01.bom
                                           07:0000","2401:db00:f02a:0007                         1.facebook.com"]
                                           :face:0000:0009:0000"]
                                           ["2401:db00:f01a:2005:face:000 ["lht6","lhr3"]        ["fnedge326.01.lht6.facebook.co ["London, UK"]
                                           0:0021:0000","2401:db00:f01a:                         m","fnedge162.01.lhr3.facebook.
                                           100c:face:0000:001b:0000"]                            com"]
                                           ["2401:db00:f01c:200e:face:000 ["frt3","frx5","mad1"] ["fnedge637.01.frt3.facebook.co ["Frankfurt,
                                           0:000d:0000","2401:db00:f01c:0                        m","fnedge644.01.frx5.facebook. DE","Madrid, ES"]
                                           009:face:0000:0005:0000","240                         com","fnedge950.01.mad1.faceb
                                           1:db00:f004:1010:face:0000:000                        ook.com","fnedge790.01.mad1.f
                                           9:0000","2401:db00:f004:1017:f                        acebook.com"]
                                           ace:0000:000b:0000"]
                                           ["2401:db00:f02a:0007:face:000 ["bom1","frx5"]        ["fnedge114.01.bom1.facebook.c ["Bombay,
                                           0:0023:0000","2401:db00:f01c:0                        om","fnedge647.01.frx5.faceboo IN","Frankfurt, DE"]
                                           009:face:0000:0025:0000","240                         k.com","fnedge278.01.frx5.faceb
                                           1:db00:f01c:0003:face:0000:002                        ook.com"]
                                           3:0000"]
                                           ["2401:db00:f00b:200a:face:000 ["ort2"]               ["fnedge102.02.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0009:0000"]                                         m"]
                                           ["2401:db00:f00d:2001:face:000 ["lax3","ort2"]        ["fnedge072.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0013:0000","2401:db00:f00d:                         m","fnedge911.01.lax3.facebook. US","Chicago, IL, US"]
                                           0004:face:0000:0009:0000","24                         com","fnedge574.01.ort2.facebo
                                           01:db00:f00b:000f:face:0000:00                        ok.com","fnedge392.01.ort2.face
                                           23:0000","2401:db00:f00b:0003                         book.com"]
                                           :face:0000:001f:0000"]
                                           ["2401:db00:f02a:0014:face:000 ["bom1","frt3"]        ["fnedge066.01.bom1.facebook.c ["Bombay,
                                           0:0001:0000","2401:db00:f01c:2                        om","fnedge696.01.frt3.faceboo IN","Frankfurt, DE"]
                                           012:face:0000:001d:0000"]                             k.com"]
                                           ["2401:db00:f009:1002:face:000 ["arn2","dus1"]        ["fnedge025.02.arn2.facebook.co ["Stockholm,
                                           0:0021:0000","2401:db00:f036:                         m","fnedge022.01.dus1.faceboo SE","Dusseldorf, DE"]
                                           0004:face:0000:000f:0000"]                            k.com"]
                                           ["2401:db00:f00b:2001:face:000 ["ort2","msp1"]        ["fnedge006.02.ort2.facebook.co ["Chicago, IL,
                                           0:0023:0000","2401:db00:f033:                         m","fnedge050.01.msp1.faceboo US","Minneapolis,
                                           0001:face:0000:0013:0000"]                            k.com"]                          MN, US"]
                                           ["2401:db00:f01b:100f:face:000                        ["2401:db00:f01b:100f:face:0:27: ["unknown"]
                                           0:0027:0000"]                                         0"]



                                                                          20 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 123 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries     attacker_phones
                                           ["2401:db00:f01a:2013:face:000 ["lht6"]          ["fnedge423.01.lht6.facebook.co ["London, UK"]
                                           0:0009:0000"]                                    m"]
                                           ["2401:db00:f013:1001:face:000 ["dfw5"]          ["fnedge015.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001b:0000"]                                    om"]
                                           ["2401:db00:f01f:000d:face:000 ["cdt1"]          ["fnedge243.01.cdt1.facebook.co ["Paris, FR"]
                                           0:0011:0000"]                                    m"]
                                           ["2401:db00:f01b:0012:face:000 ["amt2"]          ["fnedge236.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:0009:0000"]                                    om"]
                                           ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge664.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0007:0000"]                                    om"]
                                           ["2401:db00:f01b:1011:face:000 ["mrs2"]          ["2401:db00:f01b:1011:face:0:7: ["unknown","Marseill
                                           0:0007:0000","2401:db00:f006:                    0","fnedge343.01.mrs2.facebook e, FR"]
                                           1011:face:0000:0003:0000"]                       .com"]
                                           ["2401:db00:f013:100e:face:000 ["dfw5"]          ["fnedge185.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0015:0000","2401:db00:f013:                    om","fnedge027.02.dfw5.facebo
                                           4006:face:0000:000b:0000"]                       ok.com"]
                                           ["2401:db00:f01c:2010:face:000 ["frt3"]          ["fnedge643.01.frt3.facebook.co ["Frankfurt, DE"]
                                           0:0001:0000"]                                    m"]
                                           ["2401:db00:f006:100c:face:000 ["mrs2","amt2"]   ["fnedge164.01.mrs2.facebook.c ["Marseille,
                                           0:001d:0000","2401:db00:f01b:                    om","2401:db00:f01b:1011:face: FR","unknown","Ams
                                           1011:face:0000:0017:0000","24                    0:17:0","fnedge055.01.amt2.face terdam, NL"]
                                           01:db00:f01b:000d:face:0000:00                   book.com"]
                                           19:0000"]
                                           ["2401:db00:f00c:0003:face:000 ["sin2","lax3"]   ["fnedge047.01.sin2.facebook.co ["Singapore","Los
                                           0:0011:0000","2401:db00:f00c:0                   m","fnedge465.01.sin2.facebook. Angeles, CA, US"]
                                           017:face:0000:0017:0000","240                    com","fnedge981.01.lax3.facebo
                                           1:db00:f00d:0007:face:0000:000                   ok.com","fnedge132.02.lax3.face
                                           f:0000","2401:db00:f00d:2002:f                   book.com"]
                                           ace:0000:0025:0000"]
                                           ["2401:db00:f013:1012:face:000 ["dfw5"]          ["fnedge292.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000f:0000"]                                    om"]
                                           ["2401:db00:f01c:2001:face:000 ["frt3"]          ["fnedge361.01.frt3.facebook.co ["Frankfurt, DE"]
                                           0:0017:0000"]                                    m"]
                                           ["2401:db00:f02a:100f:face:000 ["bom1"]          ["fnedge286.02.bom1.facebook.c ["Bombay,
                                           0:0013:0000","2401:db00:f01b:                    om","2401:db00:f01b:1007:face: IN","unknown"]
                                           1007:face:0000:001d:0000"]                       0:1d:0"]
                                           ["2401:db00:f00d:2003:face:000 ["lax3","ort2"]   ["fnedge097.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0011:0000","2401:db00:f00b:                    m","fnedge206.02.ort2.facebook US","Chicago, IL, US"]
                                           2006:face:0000:001f:0000"]                       .com"]



                                                                         21 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2           Filed 04/04/25      Page 124 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries      attacker_phones
                                           ["2401:db00:f013:100e:face:000 ["dfw5"]          ["fnedge195.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001f:0000"]                                    om"]
                                           ["2401:db00:f036:0005:face:000 ["dus1","mrs2"]   ["fnedge119.01.dus1.facebook.c ["Dusseldorf,
                                           0:0021:0000","2401:db00:f006:                    om","fnedge222.01.mrs2.facebo DE","Marseille, FR"]
                                           1005:face:0000:0005:0000"]                       ok.com"]
                                           ["2401:db00:f01a:100f:face:000 ["lhr3"]          ["fnedge395.01.lhr3.facebook.co ["London, UK"]
                                           0:0015:0000"]                                    m"]
                                           ["2401:db00:f013:1013:face:000 ["dfw5"]          ["fnedge462.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0003:0000"]                                    om"]
                                           ["2401:db00:f00d:2008:face:000 ["lax3"]          ["fnedge078.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:001d:0000"]                                    m"]                             US"]
                                           ["2401:db00:f000:300d:face:000 ["mia3"]          ["fnedge141.02.mia3.facebook.c ["Miami, Florida, US"]
                                           0:001b:0000","2401:db00:f000:                    om","fnedge170.01.mia3.facebo
                                           2002:face:0000:0013:0000"]                       ok.com"]
                                           ["2401:db00:f00d:2006:face:000 ["lax3"]          ["fnedge050.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0013:0000","2401:db00:f00d:                    m","fnedge756.01.lax3.facebook. US"]
                                           0010:face:0000:0023:0000"]                       com"]
                                           ["2401:db00:f013:4018:face:000 ["dfw5","qro1"]   ["fnedge569.02.dfw5.facebook.c ["Dallas, Texas,
                                           0:0023:0000","2401:db00:f013:                    om","fnedge524.02.dfw5.facebo US","Queretaro, MX"]
                                           4016:face:0000:0003:0000","24                    ok.com","fnedge211.01.qro1.fac
                                           01:db00:f02e:000b:face:0000:00                   ebook.com"]
                                           19:0000"]
                                           ["2401:db00:f01f:1015:face:000 ["cdg2"]          ["fnedge801.01.cdg2.facebook.c ["Paris, FR"]
                                           0:0005:0000"]                                    om"]
                                           ["2401:db00:f013:4011:face:000 ["dfw5"]          ["fnedge697.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001f:0000"]                                    om"]
                                           ["2401:db00:f000:2014:face:000 ["mia3"]          ["fnedge509.01.mia3.facebook.c ["Miami, Florida, US"]
                                           0:000f:0000"]                                    om"]
                                           ["2401:db00:f033:0003:face:000 ["msp1"]          ["fnedge080.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0019:0000"]                                    om"]                            US"]
                                           ["2401:db00:f013:400f:face:000 ["dfw5"]          ["fnedge680.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0021:0000","2401:db00:f013:                    om","fnedge309.01.dfw5.facebo
                                           1011:face:0000:000d:0000"]                       ok.com"]
                                           ["2401:db00:f013:400a:face:000 ["dfw5","ort2"]   ["fnedge587.02.dfw5.facebook.c ["Dallas, Texas,
                                           0:0015:0000","2401:db00:f00b:                    om","fnedge003.02.ort2.faceboo US","Chicago, IL, US"]
                                           2001:face:0000:001f:0000"]                       k.com"]
                                           ["2401:db00:f01c:2009:face:000 ["frt3"]          ["fnedge498.01.frt3.facebook.co ["Frankfurt, DE"]
                                           0:000f:0000","2401:db00:f01c:3                   m","fnedge276.02.frt3.facebook.
                                           00d:face:0000:0027:0000"]                        com"]



                                                                         22 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2           Filed 04/04/25       Page 125 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                         center_countries     attacker_phones
                                           ["2401:db00:f013:1012:face:000 ["dfw5","iad3"]   ["fnedge283.01.dfw5.facebook.c ["Dallas, Texas,
                                           0:0005:0000","2401:db00:f003:                    om","fnedge729.01.iad3.faceboo US","Washington, DC,
                                           1016:face:0000:0009:0000"]                       k.com"]                        US"]
                                           ["2401:db00:f01b:0001:face:000 ["amt2","otp1"]   ["fnedge146.01.amt2.facebook.c ["Amsterdam,
                                           0:001d:0000","2401:db00:f01b:                    om","fnedge167.01.amt2.facebo NL","Bucharest,
                                           0004:face:0000:001f:0000","240                   ok.com","twedge022.01.otp1.fac RO","unknown"]
                                           1:db00:f016:0003:face:0000:002                   ebook.com","2401:db00:f01b:10
                                           5:0000","2401:db00:f01b:100a:f                   0a:face:0:b:0"]
                                           ace:0000:000b:0000"]
                                           ["2401:db00:f013:400d:face:000 ["dfw5","ort2"]   ["fnedge611.02.dfw5.facebook.c ["Dallas, Texas,
                                           0:001d:0000","2401:db00:f00b:                    om","fnedge551.02.ort2.faceboo US","Chicago, IL, US"]
                                           2009:face:0000:000d:0000"]                       k.com"]
                                           ["2401:db00:f01c:0012:face:000 ["frx5"]          ["fnedge172.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0017:0000","2401:db00:f01c:0                   m","fnedge579.01.frx5.facebook.
                                           006:face:0000:001b:0000"]                        com"]
                                           ["2401:db00:f01b:0007:face:000 ["amt2","mxp1"]   ["fnedge232.01.amt2.facebook.c ["Amsterdam,
                                           0:0023:0000","2401:db00:f01b:                    om","fnedge193.01.amt2.facebo NL","Milano, IT"]
                                           000c:face:0000:0005:0000","24                    ok.com","fnedge420.01.mxp1.fac
                                           01:db00:f008:1018:face:0000:00                   ebook.com"]
                                           13:0000"]
                                           ["2401:db00:f013:1003:face:000 ["dfw5"]          ["fnedge034.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0021:0000","2401:db00:f013:                    om","fnedge120.01.dfw5.facebo
                                           1002:face:0000:0027:0000"]                       ok.com"]
                                           ["2401:db00:f01b:1012:face:000 ["maa2"]          ["2401:db00:f01b:1012:face:0:5: ["unknown","Chennai
                                           0:0005:0000","2401:db00:f030:                    0","fnedge055.02.maa2.faceboo , India"]
                                           1003:face:0000:001f:0000"]                       k.com"]
                                           ["2401:db00:f030:0015:face:000 ["maa2"]          ["fnedge475.01.maa2.facebook.c ["Chennai,
                                           0:0011:0000","2401:db00:f01b:                    om","2401:db00:f01b:1009:face: India","unknown"]
                                           1009:face:0000:0009:0000"]                       0:9:0"]
                                           ["2401:db00:f012:2016:face:000 ["lga3"]          ["fnedge170.01.lga3.facebook.co ["New York, NY, US"]
                                           0:001a:0000"]                                    m"]
                                           ["2401:db00:f012:200b:face:000 ["lga3","lax3"]   ["fnedge847.01.lga3.facebook.co ["New York, NY,
                                           0:0017:0000","2401:db00:f00d:                    m","fnedge161.01.lax3.facebook. US","Los Angeles, CA,
                                           0015:face:0000:0007:0000"]                       com"]                           US"]
                                           ["2401:db00:f01c:0007:face:000 ["frx5","bom1"]   ["fnedge597.01.frx5.facebook.co ["Frankfurt,
                                           0:0007:0000","2401:db00:f02a:                    m","fnedge086.01.bom1.faceboo DE","Bombay, IN"]
                                           0009:face:0000:0027:0000"]                       k.com"]




                                                                         23 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25         Page 126 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers               server                          center_countries      attacker_phones
                                           ["2401:db00:f02f:0003:face:000 ["ber1","frx5"]       ["fnedge077.01.ber1.facebook.c ["Berlin,
                                           0:0017:0000","2401:db00:f01c:0                       om","fnedge436.01.frx5.faceboo DE","Frankfurt, DE"]
                                           00b:face:0000:0017:0000"]                            k.com"]
                                           ["2401:db00:f023:0001:face:000 ["jnb1","amt2"]       ["fnedge082.01.jnb1.facebook.co ["Johannesburg,
                                           0:001d:0000","2401:db00:f01b:                        m","fnedge204.01.amt2.faceboo ZA","Amsterdam,
                                           000c:face:0000:0007:0000"]                           k.com"]                         NL"]
                                           ["2401:db00:f01a:2008:face:000 ["lht6","jnb1"]       ["fnedge041.01.lht6.facebook.co ["London,
                                           0:000f:0000","2401:db00:f01a:2                       m","fnedge413.01.lht6.facebook. UK","Johannesburg,
                                           00d:face:0000:000b:0000","240                        com","fnedge168.01.jnb1.facebo ZA"]
                                           1:db00:f023:0009:face:0000:002                       ok.com"]
                                           7:0000"]
                                           ["2401:db00:f00b:000f:face:000 ["ort2"]              ["fnedge568.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0013:0000","2401:db00:f00b:                        m","fnedge477.01.ort2.facebook
                                           000c:face:0000:000f:0000"]                           .com"]
                                           ["2401:db00:f013:4008:face:000 ["dfw5"]              ["fnedge440.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0027:0000"]                                        om"]
                                           ["2401:db00:f00b:200f:face:000 ["ort2"]              ["fnedge488.02.ort2.facebook.co ["Chicago, IL, US"]
                                           0:001d:0000","2401:db00:f00b:                        m","fnedge356.01.ort2.facebook
                                           0002:face:0000:0001:0000"]                           .com"]
                                           ["2401:db00:f00b:2009:face:000 ["ort2","lax3","dfw5" ["fnedge538.02.ort2.facebook.co ["Chicago, IL,
                                           0:0001:0000","2401:db00:f00d: ]                      m","fnedge916.01.lax3.facebook. US","Los Angeles, CA,
                                           0004:face:0000:0011:0000","24                        com","fnedge331.02.dfw5.faceb US","Dallas, Texas,
                                           01:db00:f013:400c:face:0000:00                       ook.com","fnedge102.01.dfw5.fa US"]
                                           0b:0000","2401:db00:f013:1002                        cebook.com"]
                                           :face:0000:0003:0000"]
                                           ["2401:db00:f013:100e:face:000 ["dfw5"]              ["fnedge200.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0023:0000","2401:db00:f013:                        om","fnedge400.02.dfw5.facebo
                                           4012:face:0000:0023:0000"]                           ok.com"]
                                           ["2401:db00:f01c:000e:face:000 ["frx5","maa2"]       ["fnedge047.01.frx5.facebook.co ["Frankfurt,
                                           0:0019:0000","2401:db00:f01c:0                       m","fnedge617.01.frx5.facebook. DE","Chennai, India"]
                                           008:face:0000:0017:0000","240                        com","fnedge100.01.maa2.faceb
                                           1:db00:f030:0005:face:0000:001                       ook.com","fnedge470.01.maa2.f
                                           5:0000","2401:db00:f030:0015:f                       acebook.com"]
                                           ace:0000:000b:0000"]
                                           ["2401:db00:f01c:0013:face:000 ["frx5"]              ["fnedge562.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0021:0000"]                                        m"]
                                           ["2401:db00:f00d:0009:face:000 ["lax3","ort2"]       ["fnedge1008.01.lax3.facebook.c ["Los Angeles, CA,
                                           0:0005:0000","2401:db00:f00b:                        om","fnedge216.02.ort2.faceboo US","Chicago, IL, US"]
                                           2002:face:0000:0023:0000"]                           k.com"]



                                                                         24 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 127 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries        attacker_phones
                                           ["2401:db00:f01c:2002:face:000 ["frt3"]          ["fnedge371.01.frt3.facebook.co ["Frankfurt, DE"]
                                           0:0017:0000"]                                    m"]
                                           ["2401:db00:f00d:2003:face:000 ["lax3"]          ["fnedge104.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0001:0000","2401:db00:f00d:                    m","fnedge784.01.lax3.facebook. US"]
                                           0010:face:0000:0025:0000"]                       com"]
                                           ["2401:db00:f01c:2003:face:000 ["frt3","sin2"]   ["fnedge398.01.frt3.facebook.co ["Frankfurt,
                                           0:0025:0000","2401:db00:f00c:0                   m","fnedge201.01.sin2.facebook. DE","Singapore"]
                                           00c:face:0000:0019:0000"]                        com"]
                                           ["2401:db00:f011:0006:face:000 ["atl3"]          ["fnedge637.01.atl3.facebook.co ["Atlanda, Georgia,
                                           0:0011:0000","2401:db00:f011:                    m","fnedge634.01.atl3.facebook. US"]
                                           0006:face:0000:0019:0000"]                       com"]
                                           ["2401:db00:f00d:2002:face:000 ["lax3"]          ["fnedge035.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0027:0000","2401:db00:f00d:                    m","fnedge956.01.lax3.facebook. US"]
                                           0006:face:0000:0025:0000","24                    com","fnedge498.01.lax3.facebo
                                           01:db00:f00d:0001:face:0000:00                   ok.com"]
                                           11:0000"]
                                           ["2401:db00:f033:0001:face:000 ["msp1","ort2"]   ["fnedge050.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:0013:0000","2401:db00:f00b:                    om","fnedge366.01.ort2.faceboo US","Chicago, IL, US"]
                                           0002:face:0000:000f:0000"]                       k.com"]
                                           ["2401:db00:f01b:100a:face:000                   ["2401:db00:f01b:100a:face:0:21 ["unknown"]
                                           0:0021:0000"]                                    :0"]
                                           ["2401:db00:f012:200f:face:000 ["lga3","dfw5"]   ["fnedge079.01.lga3.facebook.co ["New York, NY,
                                           0:0003:0000","2401:db00:f013:                    m","fnedge444.01.dfw5.faceboo US","Dallas, Texas,
                                           1018:face:0000:0003:0000"]                       k.com"]                         US"]
                                           ["2401:db00:f00d:2006:face:000 ["lax3"]          ["fnedge081.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0027:0000","2401:db00:f00d:                    m","fnedge873.01.lax3.facebook. US"]
                                           000a:face:0000:001f:0000"]                       com"]
                                           ["2401:db00:f013:1016:face:000 ["dfw5","msp1"]   ["fnedge360.01.dfw5.facebook.c ["Dallas, Texas,
                                           0:0027:0000","2401:db00:f013:                    om","fnedge700.02.dfw5.facebo US","Minneapolis,
                                           4011:face:0000:0021:0000","24                    ok.com","fnedge436.02.dfw5.fac MN, US"]
                                           01:db00:f013:4008:face:0000:00                   ebook.com","fnedge101.01.msp
                                           17:0000","2401:db00:f033:0005                    1.facebook.com"]
                                           :face:0000:0001:0000"]
                                           ["2401:db00:f013:100c:face:000 ["dfw5"]          ["fnedge147.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0011:0000"]                                    om"]




                                                                         25 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25         Page 128 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers                server                          center_countries     attacker_phones
                                           ["2401:db00:f01c:0017:face:000 ["frx5","sin2","mrs2"] ["fnedge263.01.frx5.facebook.co ["Frankfurt,
                                           0:0027:0000","2401:db00:f00c:0                        m","fnedge437.01.sin2.facebook. DE","Singapore","Ma
                                           014:face:0000:0027:0000","240                         com","fnedge382.01.mrs2.faceb rseille, FR"]
                                           1:db00:f006:1014:face:0000:001                        ook.com"]
                                           d:0000"]
                                           ["2401:db00:f01b:100e:face:000 ["mrs2"]               ["2401:db00:f01b:100e:face:0:11 ["unknown","Marseill
                                           0:0011:0000","2401:db00:f006:                         :0","fnedge057.02.mrs2.faceboo e, FR"]
                                           2007:face:0000:000d:0000"]                            k.com"]
                                           ["2401:db00:f013:1014:face:000 ["dfw5"]               ["fnedge226.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000b:0000","2401:db00:f013:                         om","fnedge385.01.dfw5.facebo
                                           1008:face:0000:0019:0000"]                            ok.com"]
                                           ["2401:db00:f01c:0015:face:000 ["frx5"]               ["fnedge512.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0001:0000"]                                         m"]
                                           ["2401:db00:f009:1002:face:000 ["arn2"]               ["fnedge040.02.arn2.facebook.co ["Stockholm, SE"]
                                           0:001b:0000","2401:db00:f009:                         m","fnedge022.02.arn2.facebook
                                           1001:face:0000:0015:0000"]                            .com"]
                                           ["2401:db00:f013:4012:face:000 ["dfw5"]               ["fnedge397.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0021:0000"]                                         om"]
                                           ["2401:db00:f013:400e:face:000 ["dfw5"]               ["fnedge658.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001f:0000"]                                         om"]
                                           ["2401:db00:f006:1007:face:000 ["mrs2","frx5"]        ["fnedge065.01.mrs2.facebook.c ["Marseille,
                                           0:0007:0000","2401:db00:f006:                         om","fnedge013.02.mrs2.facebo FR","Frankfurt, DE"]
                                           2008:face:0000:001f:0000","240                        ok.com","fnedge603.01.frx5.face
                                           1:db00:f01c:0007:face:0000:002                        book.com"]
                                           1:0000"]
                                           ["2401:db00:f008:1013:face:000 ["mxp1"]               ["fnedge606.01.mxp1.facebook.c ["Milano, IT"]
                                           0:000b:0000"]                                         om"]
                                           ["2401:db00:f00d:2007:face:000 ["lax3"]               ["fnedge086.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0005:0000"]                                         m"]                             US"]
                                           ["2401:db00:f000:300e:face:000 ["mia3","amt2"]        ["fnedge644.02.mia3.facebook.c ["Miami, Florida,
                                           0:0019:0000","2401:db00:f01b:                         om","fnedge309.01.amt2.facebo US","Amsterdam,
                                           000d:face:0000:001f:0000"]                            ok.com"]                        NL"]
                                           ["2401:db00:f013:1002:face:000 ["dfw5"]               ["fnedge110.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000b:0000","2401:db00:f013:                         om","fnedge690.02.dfw5.facebo
                                           4011:face:0000:000f:0000"]                            ok.com"]
                                           ["2401:db00:f00b:2011:face:000 ["ort2"]               ["fnedge111.02.ort2.facebook.co ["Chicago, IL, US"]
                                           0:000b:0000","2401:db00:f00b:                         m","fnedge324.02.ort2.facebook
                                           2006:face:0000:000f:0000"]                            .com"]




                                                                         26 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25         Page 129 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers              server                           center_countries      attacker_phones
                                           ["2401:db00:f013:1007:face:000 ["dfw5"]             ["fnedge416.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0017:0000","2401:db00:f013:                       om","fnedge515.02.dfw5.facebo
                                           4015:face:0000:0027:0000"]                          ok.com"]
                                           ["2401:db00:f034:0003:face:000 ["mba1"]             ["fnedge043.01.mba1.facebook.c ["Mombasa, KE "]
                                           0:0003:0000"]                                       om"]
                                           ["2401:db00:f012:200f:face:000 ["lga3","dfw5"]      ["fnedge270.01.lga3.facebook.co ["New York, NY,
                                           0:0027:0000","2401:db00:f013:                       m","fnedge696.02.dfw5.faceboo US","Dallas, Texas,
                                           4011:face:0000:0015:0000"]                          k.com"]                          US"]
                                           ["2401:db00:f00d:2008:face:000 ["lax3"]             ["fnedge034.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:000d:0000","2401:db00:f00d:                       m","fnedge753.01.lax3.facebook. US"]
                                           0010:face:0000:0003:0000"]                          com"]
                                           ["2401:db00:f01f:1012:face:000 ["cdg2","cdt1","amt2 ["fnedge613.01.cdg2.facebook.c ["Paris,
                                           0:0019:0000","2401:db00:f01f:0 "]                   om","fnedge133.01.cdt1.faceboo FR","Amsterdam,
                                           00e:face:0000:0007:0000","240                       k.com","fnedge118.01.amt2.face NL"]
                                           1:db00:f01b:0009:face:0000:000                      book.com"]
                                           f:0000"]
                                           ["2401:db00:f00b:0008:face:000 ["ort2","dfw5"]      ["fnedge048.01.ort2.facebook.co ["Chicago, IL,
                                           0:0003:0000","2401:db00:f013:                       m","fnedge298.01.dfw5.faceboo US","Dallas, Texas,
                                           1012:face:0000:0025:0000"]                          k.com"]                          US"]
                                           ["2401:db00:f01b:100f:face:000                      ["2401:db00:f01b:100f:face:0:19: ["unknown"]
                                           0:0019:0000","2401:db00:f01b:                       0","2401:db00:f01b:1008:face:0:
                                           1008:face:0000:0015:0000"]                          15:0"]
                                           ["2401:db00:f01c:0018:face:000 ["frx5"]             ["fnedge053.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:000d:0000"]                                       m"]
                                           ["2401:db00:f030:000c:face:000 ["maa2","frx5"]      ["fnedge252.01.maa2.facebook.c ["Chennai,
                                           0:000f:0000","2401:db00:f01c:0                      om","fnedge120.01.frx5.faceboo India","Frankfurt,
                                           00e:face:0000:0013:0000"]                           k.com"]                          DE"]
                                           ["2401:db00:f01c:0009:face:000 ["frx5"]             ["fnedge648.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0007:0000"]                                       m"]
                                           ["2401:db00:f00b:200e:face:000 ["ort2","dfw5"]      ["fnedge181.02.ort2.facebook.co ["Chicago, IL,
                                           0:0013:0000","2401:db00:f013:                       m","fnedge270.01.dfw5.faceboo US","Dallas, Texas,
                                           1015:face:0000:0009:0000"]                          k.com"]                          US"]
                                           ["2401:db00:f013:1011:face:000 ["dfw5"]             ["fnedge309.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000d:0000"]                                       om"]
                                           ["2401:db00:f013:400e:face:000 ["dfw5"]             ["fnedge655.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001d:0000"]                                       om"]




                                                                         27 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25         Page 130 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers                server                          center_countries      attacker_phones
                                           ["2401:db00:f013:1015:face:000 ["dfw5"]               ["fnedge277.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0017:0000","2401:db00:f013:                         om","fnedge595.02.dfw5.facebo
                                           400a:face:0000:001d:0000","24                         ok.com","fnedge657.02.dfw5.fac
                                           01:db00:f013:400e:face:0000:00                        ebook.com"]
                                           0f:0000"]
                                           ["2401:db00:f016:0004:face:000 ["otp1","amt2"]        ["fnedge435.01.otp1.facebook.c ["Bucharest,
                                           0:0011:0000","2401:db00:f01b:                         om","fnedge036.01.amt2.facebo RO","Amsterdam,
                                           000c:face:0000:001b:0000"]                            ok.com"]                        NL"]
                                           ["2401:db00:f013:4004:face:000 ["dfw5"]               ["fnedge863.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0027:0000","2401:db00:f013:                         om","fnedge798.02.dfw5.facebo
                                           4007:face:0000:001b:0000"]                            ok.com"]
                                           ["2401:db00:f036:0006:face:000 ["dus1"]               ["fnedge087.01.dus1.facebook.c ["Dusseldorf, DE"]
                                           0:0015:0000","2401:db00:f036:                         om","fnedge110.01.dus1.facebo
                                           0005:face:0000:0023:0000"]                            ok.com"]
                                           ["2401:db00:f02a:0003:face:000 ["bom1","frx5"]        ["fnedge137.01.bom1.facebook.c ["Bombay,
                                           0:000f:0000","2401:db00:f02a:1                        om","fnedge207.02.bom1.facebo IN","Frankfurt, DE"]
                                           008:face:0000:0003:0000","240                         ok.com","fnedge501.01.frx5.face
                                           1:db00:f01c:000d:face:0000:001                        book.com","fnedge232.01.frx5.fa
                                           5:0000","2401:db00:f01c:0011:f                        cebook.com"]
                                           ace:0000:0003:0000"]
                                           ["2401:db00:f004:1002:face:000 ["mad1","frt3","frx5"] ["fnedge513.01.mad1.facebook.c ["Madrid,
                                           0:0005:0000","2401:db00:f01c:2                        om","fnedge473.01.frt3.faceboo ES","Frankfurt, DE"]
                                           008:face:0000:0027:0000","240                         k.com","fnedge113.02.frt3.faceb
                                           1:db00:f01c:300e:face:0000:001                        ook.com","fnedge366.01.frx5.fac
                                           d:0000","2401:db00:f01c:0017:f                        ebook.com"]
                                           ace:0000:0015:0000"]
                                           ["2401:db00:f01c:0006:face:000 ["frx5"]               ["fnedge570.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:000f:0000"]                                         m"]
                                           ["2401:db00:f000:2007:face:000 ["mia3","ort2"]        ["fnedge111.01.mia3.facebook.c ["Miami, Florida,
                                           0:0011:0000","2401:db00:f00b:                         om","fnedge195.02.ort2.faceboo US","Chicago, IL, US"]
                                           200a:face:0000:000f:0000"]                            k.com"]
                                           ["2401:db00:f01c:0017:face:000 ["frx5"]               ["fnedge105.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0013:0000"]                                         m"]
                                           ["2401:db00:f013:1014:face:000 ["dfw5","qro1"]        ["fnedge231.01.dfw5.facebook.c ["Dallas, Texas,
                                           0:0011:0000","2401:db00:f013:                         om","fnedge392.02.dfw5.facebo US","Queretaro, MX"]
                                           4012:face:0000:000d:0000","24                         ok.com","fnedge036.01.dfw5.fac
                                           01:db00:f013:1003:face:0000:00                        ebook.com","fnedge050.01.qro1.
                                           1f:0000","2401:db00:f02e:0002:                        facebook.com"]
                                           face:0000:0015:0000"]



                                                                          28 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25         Page 131 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers               server                          center_countries      attacker_phones
                                           ["2401:db00:f00d:2001:face:000 ["lax3","ort2"]       ["fnedge113.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:001f:0000","2401:db00:f00b:0                       m","fnedge481.01.ort2.facebook US","Chicago, IL, US"]
                                           00c:face:0000:0007:0000"]                            .com"]
                                           ["2401:db00:f02a:1010:face:000 ["bom1"]              ["fnedge311.02.bom1.facebook.c ["Bombay, IN"]
                                           0:001b:0000"]                                        om"]
                                           ["2401:db00:f00b:0010:face:000 ["ort2"]              ["fnedge228.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0005:0000"]                                        m"]
                                           ["2401:db00:f00d:2007:face:000 ["lax3","ort2"]       ["fnedge054.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:001b:0000","2401:db00:f00b:                        m","fnedge489.02.ort2.facebook US","Chicago, IL, US"]
                                           200f:face:0000:000d:0000"]                           .com"]
                                           ["2401:db00:f013:100a:face:000 ["dfw5"]              ["fnedge256.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001f:0000","2401:db00:f013:4                       om","fnedge853.02.dfw5.facebo
                                           005:face:0000:001b:0000"]                            ok.com"]
                                           ["2401:db00:f00b:200a:face:000 ["ort2","lga3","dfw5" ["fnedge313.02.ort2.facebook.co ["Chicago, IL,
                                           0:001f:0000","2401:db00:f00b:0 ]                     m","fnedge145.01.ort2.facebook US","New York, NY,
                                           008:face:0000:0027:0000","240                        .com","fnedge217.01.lga3.facebo US","Dallas, Texas,
                                           1:db00:f012:2015:face:0000:001                       ok.com","fnedge161.01.dfw5.fac US"]
                                           d:0000","2401:db00:f013:100d:f                       ebook.com"]
                                           ace:0000:0001:0000"]
                                           ["2401:db00:f009:1004:face:000 ["arn2"]              ["fnedge051.02.arn2.facebook.co ["Stockholm, SE"]
                                           0:0023:0000"]                                        m"]
                                           ["2401:db00:f01b:1012:face:000 ["amt2"]              ["2401:db00:f01b:1012:face:0:5: ["unknown","Amster
                                           0:0005:0000","2401:db00:f01b:                        0","fnedge184.01.amt2.facebook dam, NL"]
                                           0008:face:0000:0017:0000"]                           .com"]
                                           ["2401:db00:f01c:0005:face:000 ["frx5"]              ["fnedge294.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:000d:0000"]                                        m"]
                                           ["2401:db00:f01b:1010:face:000 ["amt2","dus1"]       ["2401:db00:f01b:1010:face:0:b: ["unknown","Amster
                                           0:000b:0000","2401:db00:f01b:                        0","fnedge107.01.amt2.facebook dam,
                                           000a:face:0000:0019:0000","24                        .com","fnedge053.01.dus1.faceb NL","Dusseldorf, DE"]
                                           01:db00:f036:0002:face:0000:00                       ook.com","fnedge062.01.dus1.fa
                                           0d:0000","2401:db00:f036:0003                        cebook.com"]
                                           :face:0000:0011:0000"]
                                           ["2401:db00:f013:4012:face:000 ["dfw5","ort2"]       ["fnedge387.02.dfw5.facebook.c ["Dallas, Texas,
                                           0:0017:0000","2401:db00:f00b:                        om","fnedge117.01.ort2.faceboo US","Chicago, IL, US"]
                                           0010:face:0000:0027:0000"]                           k.com"]
                                           ["2401:db00:f00b:2002:face:000 ["ort2","lax3"]       ["fnedge105.02.ort2.facebook.co ["Chicago, IL,
                                           0:0025:0000","2401:db00:f00d:                        m","fnedge010.02.lax3.facebook. US","Los Angeles, CA,
                                           2004:face:0000:0017:0000"]                           com"]                           US"]




                                                                         29 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2            Filed 04/04/25      Page 132 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers            server                          center_countries      attacker_phones
                                           ["2401:db00:f01c:2008:face:000 ["frt3"]           ["fnedge467.01.frt3.facebook.co ["Frankfurt, DE"]
                                           0:0007:0000","2401:db00:f01c:2                    m","fnedge694.01.frt3.facebook.
                                           012:face:0000:0011:0000"]                         com"]
                                           ["2401:db00:f01b:1010:face:000                    ["2401:db00:f01b:1010:face:0:7: ["unknown"]
                                           0:0007:0000"]                                     0"]
                                           ["2401:db00:f030:1005:face:000 ["maa2"]           ["fnedge141.02.maa2.facebook.c ["Chennai, India"]
                                           0:0019:0000","2401:db00:f030:                     om","fnedge119.01.maa2.facebo
                                           0006:face:0000:001f:0000"]                        ok.com"]
                                           ["2401:db00:f00d:0012:face:000 ["lax3","ort2"]    ["fnedge765.01.lax3.facebook.co ["Los Angeles, CA,
                                           0:0011:0000","2401:db00:f00b:                     m","fnedge420.01.ort2.facebook US","Chicago, IL, US"]
                                           0005:face:0000:0025:0000"]                        .com"]
                                           ["2401:db00:f009:1003:face:000 ["arn2"]           ["fnedge095.02.arn2.facebook.co ["Stockholm, SE"]
                                           0:001b:0000","2401:db00:f009:                     m","fnedge017.02.arn2.facebook
                                           1001:face:0000:000b:0000"]                        .com"]
                                           ["2401:db00:f013:4015:face:000 ["dfw5"]           ["fnedge507.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0009:0000","2401:db00:f013:                     om","fnedge404.01.dfw5.facebo
                                           1007:face:0000:0023:0000"]                        ok.com"]
                                           ["2401:db00:f009:1001:face:000 ["arn2","dus1"]    ["fnedge001.02.arn2.facebook.co ["Stockholm,
                                           0:001d:0000","2401:db00:f036:                     m","fnedge009.01.dus1.faceboo SE","Dusseldorf, DE"]
                                           0001:face:0000:001f:0000"]                        k.com"]
                                           ["2401:db00:f013:100c:face:000 ["dfw5"]           ["fnedge158.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0021:0000","2401:db00:f013:                     om","fnedge360.01.dfw5.facebo
                                           1016:face:0000:0027:0000"]                        ok.com"]
                                           ["2401:db00:f01c:2003:face:000 ["frt3"]           ["fnedge393.01.frt3.facebook.co ["Frankfurt, DE"]
                                           0:000d:0000"]                                     m"]
                                           ["2401:db00:f00b:0010:face:000 ["ort2"]           ["fnedge264.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0019:0000"]                                     m"]
                                           ["2401:db00:f012:2008:face:000 ["lga3","lax3"]    ["fnedge736.01.lga3.facebook.co ["New York, NY,
                                           0:0005:0000","2401:db00:f00d:                     m","fnedge145.02.lax3.facebook. US","Los Angeles, CA,
                                           2001:face:0000:0001:0000"]                        com"]                           US"]
                                           ["2401:db00:f01b:1008:face:000                    ["2401:db00:f01b:1008:face:0:7: ["unknown"]
                                           0:0007:0000"]                                     0"]
                                           ["2401:db00:f013:4004:face:000 ["dfw5"]           ["fnedge868.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001f:0000","2401:db00:f013:4                    om","fnedge534.02.dfw5.facebo
                                           016:face:0000:0023:0000","240                     ok.com","fnedge366.01.dfw5.fac
                                           1:db00:f013:1017:face:0000:000                    ebook.com","fnedge402.01.dfw5
                                           9:0000","2401:db00:f013:1007:f                    .facebook.com"]
                                           ace:0000:000b:0000"]




                                                                         30 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 133 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                         center_countries         attacker_phones
                                           ["2401:db00:f013:1011:face:000 ["dfw5"]          ["fnedge317.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0019:0000"]                                    om"]
                                           ["2401:db00:f013:400e:face:000 ["dfw5"]          ["fnedge643.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0003:0000","2401:db00:f013:                    om","fnedge107.01.dfw5.facebo
                                           1002:face:0000:0009:0000","24                    ok.com","fnedge638.02.dfw5.fac
                                           01:db00:f013:400b:face:0000:00                   ebook.com"]
                                           1b:0000"]
                                           ["2401:db00:f01c:3018:face:000                   ["2401:db00:f01c:3018:face:0:11 ["unknown"]
                                           0:0011:0000"]                                    :0"]
                                           ["2401:db00:f01a:2015:face:000 ["lht6"]          ["fnedge079.01.lht6.facebook.co ["London, UK"]
                                           0:001d:0000"]                                    m"]
                                           ["2401:db00:f006:1018:face:000 ["mrs2"]          ["fnedge431.01.mrs2.facebook.c ["Marseille, FR"]
                                           0:000d:0000"]                                    om"]
                                           ["2401:db00:f000:200f:face:000 ["mia3"]          ["fnedge340.01.mia3.facebook.c ["Miami, Florida, US"]
                                           0:0025:0000","2401:db00:f000:                    om","fnedge565.01.mia3.facebo
                                           2016:face:0000:000b:0000"]                       ok.com"]
                                           ["2401:db00:f013:1005:face:000 ["dfw5"]          ["fnedge085.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0005:0000","2401:db00:f013:                    om","fnedge577.02.dfw5.facebo
                                           4018:face:0000:001d:0000"]                       ok.com"]
                                           ["2401:db00:f01c:000d:face:000 ["frx5","mrs2"]   ["fnedge493.01.frx5.facebook.co ["Frankfurt,
                                           0:0003:0000","2401:db00:f006:                    m","fnedge065.01.mrs2.faceboo DE","Marseille, FR"]
                                           1007:face:0000:0007:0000","24                    k.com","fnedge065.02.mrs2.face
                                           01:db00:f006:2009:face:0000:00                   book.com"]
                                           03:0000"]
                                           ["2401:db00:f01c:300b:face:000 ["frt3","lhr3"]   ["fnedge255.02.frt3.facebook.co ["Frankfurt,
                                           0:0015:0000","2401:db00:f01a:                    m","fnedge227.01.lhr3.facebook. DE","London, UK"]
                                           1007:face:0000:001b:0000"]                       com"]
                                           ["2401:db00:f033:0004:face:000 ["msp1"]          ["fnedge089.01.msp1.facebook.c ["Minneapolis, MN,
                                           0:001d:0000"]                                    om"]                            US"]
                                           ["2401:db00:f01b:1011:face:000                   ["2401:db00:f01b:1011:face:0:19 ["unknown"]
                                           0:0019:0000"]                                    :0"]
                                           ["2401:db00:f006:2009:face:000 ["mrs2","amt2"]   ["fnedge065.02.mrs2.facebook.c ["Marseille,
                                           0:0003:0000","2401:db00:f01b:                    om","fnedge349.01.amt2.facebo FR","Amsterdam,
                                           000c:face:0000:0027:0000"]                       ok.com"]                        NL"]
                                           ["2401:db00:f036:0004:face:000 ["dus1","arn2"]   ["fnedge027.01.dus1.facebook.c ["Dusseldorf,
                                           0:0011:0000","2401:db00:f009:                    om","fnedge009.02.arn2.faceboo DE","Stockholm, SE"]
                                           1001:face:0000:0005:0000"]                       k.com"]




                                                                         31 of 33
                               Case 4:19-cv-07123-PJH        Document 679-2             Filed 04/04/25      Page 134 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers             server                          center_countries        attacker_phones
                                           ["2401:db00:f004:1006:face:000 ["mad1"]            ["fnedge620.01.mad1.facebook.c ["Madrid,
                                           0:000d:0000","2401:db00:f01b:                      om","2401:db00:f01b:100e:face: ES","unknown"]
                                           100e:face:0000:0027:0000","24                      0:27:0","2401:db00:f01b:100f:fa
                                           01:db00:f01b:100f:face:0000:00                     ce:0:1f:0"]
                                           1f:0000"]
                                           ["2401:db00:f013:4010:face:000 ["dfw5"]            ["fnedge712.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:001b:0000","2401:db00:f013:                      om","fnedge468.01.dfw5.facebo
                                           1013:face:0000:000d:0000"]                         ok.com"]
                                           ["2401:db00:f013:4018:face:000 ["dfw5"]            ["fnedge570.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0017:0000"]                                      om"]
                                           ["2401:db00:f00d:0004:face:000 ["lax3"]            ["fnedge918.01.lax3.facebook.co ["Los Angeles, CA,
                                           0:0023:0000","2401:db00:f00d:                      m","fnedge139.02.lax3.facebook. US"]
                                           2002:face:0000:0005:0000"]                         com"]
                                           ["2401:db00:f01a:1006:face:000 ["lhr3"]            ["fnedge270.01.lhr3.facebook.co ["London, UK"]
                                           0:000d:0000","2401:db00:f01a:                      m","fnedge276.01.lhr3.facebook.
                                           100e:face:0000:0007:0000"]                         com"]
                                           ["2401:db00:f013:4006:face:000 ["dfw5"]            ["fnedge067.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0021:0000","2401:db00:f013:                      om","fnedge164.01.dfw5.facebo
                                           100d:face:0000:0007:0000"]                         ok.com"]
                                           ["2401:db00:f00d:0008:face:000 ["lax3","ort2"]     ["fnedge1005.01.lax3.facebook.c ["Los Angeles, CA,
                                           0:0021:0000","2401:db00:f00b:                      om","fnedge258.01.ort2.faceboo US","Chicago, IL, US"]
                                           0008:face:0000:001b:0000"]                         k.com"]
                                           ["2401:db00:f00c:0010:face:000 ["sin2","sin6"]     ["fnedge286.01.sin2.facebook.co ["Singapore"]
                                           0:0011:0000","2401:db00:f00c:4                     m","fnedge248.02.sin2.facebook.
                                           00b:face:0000:001d:0000","240                      com","fnedge391.02.sin6.facebo
                                           1:db00:f00c:3017:face:0000:000                     ok.com"]
                                           1:0000"]
                                           ["2401:db00:f01b:1012:face:000                     ["2401:db00:f01b:1012:face:0:9: ["unknown"]
                                           0:0009:0000"]                                      0"]
                                           ["2401:db00:f013:400c:face:000 ["dfw5"]            ["fnedge322.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0023:0000"]                                      om"]
                                           ["2401:db00:f01a:100e:face:000 ["lhr3","jnb1"]     ["fnedge177.01.lhr3.facebook.co ["London,
                                           0:001b:0000","2401:db00:f023:                      m","fnedge079.01.jnb1.facebook UK","Johannesburg,
                                           0002:face:0000:0019:0000"]                         .com"]                          ZA"]
                                           ["2401:db00:f013:100b:face:000 ["dfw5"]            ["fnedge140.01.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:0025:0000"]                                      om"]
                                           ["2401:db00:f009:1003:face:000 ["arn2"]            ["fnedge085.02.arn2.facebook.co ["Stockholm, SE"]
                                           0:0019:0000"]                                      m"]




                                                                          32 of 33
                               Case 4:19-cv-07123-PJH       Document 679-2            Filed 04/04/25      Page 135 of 144


victim_phone   attacker_ips   victim_ips   server_ips                     centers           server                          center_countries        attacker_phones
                                           ["2401:db00:f00c:0008:face:000 ["sin2","lax3"]   ["fnedge141.01.sin2.facebook.co ["Singapore","Los
                                           0:0019:0000","2401:db00:f00c:0                   m","fnedge228.01.sin2.facebook. Angeles, CA, US"]
                                           00b:face:0000:0003:0000","240                    com","fnedge490.01.lax3.facebo
                                           1:db00:f00d:0001:face:0000:000                   ok.com","fnedge105.01.lax3.face
                                           5:0000","2401:db00:f00d:0015:f                   book.com"]
                                           ace:0000:0005:0000"]
                                           ["2401:db00:f01c:0003:face:000 ["frx5"]          ["fnedge278.01.frx5.facebook.co ["Frankfurt, DE"]
                                           0:0023:0000"]                                    m"]
                                           ["2401:db00:f013:4011:face:000 ["dfw5"]          ["fnedge690.02.dfw5.facebook.c ["Dallas, Texas, US"]
                                           0:000f:0000"]                                    om"]
                                           ["2401:db00:f006:2008:face:000 ["mrs2","amt2"]   ["fnedge008.02.mrs2.facebook.c ["Marseille,
                                           0:0015:0000","2401:db00:f01b:                    om","fnedge259.01.amt2.facebo FR","Amsterdam,
                                           0009:face:0000:0021:0000","24                    ok.com","2401:db00:f01b:1007:f NL","unknown"]
                                           01:db00:f01b:1007:face:0000:00                   ace:0:19:0"]
                                           19:0000"]
                                           ["2401:db00:f00b:000c:face:000 ["ort2"]          ["fnedge485.01.ort2.facebook.co ["Chicago, IL, US"]
                                           0:0023:0000"]                                    m"]
                                           ["2401:db00:f006:100f:face:000 ["mrs2","dus1"]   ["fnedge264.01.mrs2.facebook.c ["Marseille,
                                           0:000d:0000","2401:db00:f036:                    om","fnedge116.01.dus1.facebo FR","Dusseldorf, DE"]
                                           0005:face:0000:001b:0000"]                       ok.com"]
                                           ["2401:db00:f00d:2007:face:000 ["lax3"]          ["fnedge120.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0025:0000"]                                    m"]                             US"]
                                           ["2401:db00:f01c:3003:face:000 ["frt3"]          ["fnedge338.02.frt3.facebook.co ["Frankfurt, DE"]
                                           0:000b:0000","2401:db00:f01c:3                   m","fnedge101.02.frt3.facebook.
                                           001:face:0000:0003:0000"]                        com"]
                                           ["2401:db00:f01a:1001:face:000 ["lhr3"]          ["fnedge226.01.lhr3.facebook.co ["London, UK"]
                                           0:0009:0000","2401:db00:f01a:                    m","fnedge012.01.lhr3.facebook.
                                           1009:face:0000:0015:0000"]                       com"]
                                           ["2401:db00:f00d:2002:face:000 ["lax3","ort2"]   ["fnedge049.02.lax3.facebook.co ["Los Angeles, CA,
                                           0:0021:0000","2401:db00:f00b:                    m","fnedge552.02.ort2.facebook US","Chicago, IL, US"]
                                           2009:face:0000:001f:0000","240                   .com","fnedge061.02.ort2.faceb
                                           1:db00:f00b:2003:face:0000:000                   ook.com"]
                                           b:0000"]
                                           ["2401:db00:f01b:000d:face:000 ["amt2"]          ["fnedge092.01.amt2.facebook.c ["Amsterdam, NL"]
                                           0:0003:0000","2401:db00:f01b:                    om","fnedge045.01.amt2.facebo
                                           000b:face:0000:0023:0000"]                       ok.com"]




                                                                         33 of 33
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 136 of 144




               EXHIBIT 31
    to Declaration of Micah G. Block in Support of
   Plaintiffs’ Motion for Partial Summary Judgment
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 137 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 138 of 144
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 139 of 144




               EXHIBIT 34
    to Declaration of Micah G. Block in Support of
   Plaintiffs’ Motion for Partial Summary Judgment
Case 4:19-cv-07123-PJH     Document 679-2   Filed 04/04/25   Page 140 of 144
             HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY




                    United States District Court
                   Northern District of California




                    Case No. 4:19-cv-07123-PJH




              WhatsApp Inc. and Meta Platforms, Inc.
                                    v.
  NSO Group Technologies Ltd. and Q Cyber Technologies Ltd.




                     Rebuttal Expert Report of
                         Gregory A. Pinsonneault
                           September 21, 2024
      Case 4:19-cv-07123-PJH           Document 679-2        Filed 04/04/25      Page 141 of 144
                         HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY

Figure 10: Amount of Ms. Trexler’s Total Labor Expense Attributable to RSUs118

                                                                                 Amount of Ms.
                                                         Ms. Trexler’s           Trexler’s Total
                                                        Calculation of           Labor Expense
                                                       Labor Performed        Attributable to RSUs

       Employees Listed in Exhibit 2.1                         $339,250                  $129,149

       Employees Listed in Exhibit 2.2                         $105,469                   $49,614

       Employees Listed in Exhibits 2.1 and 2.2                $444,719                  $178,764


                    b)   Ms. Trexler’s quantification of the cost of WhatsApp’s response
                         includes time that is not supported by WhatsApp witnesses
                         designated on the matter.

           64.     I understand from counsel that Drew Robinson was deposed on September 19,
2024 as the corporate representative for Plaintiffs regarding the time spent by WhatsApp
employees in response to the alleged conduct. Given the deposition was taken two days prior to
the submission of my report, I have not received or reviewed the deposition transcript for Mr.
Robinson. However, I understand from counsel that when Mr. Robinson was asked about the 14
employees identified by Claudiu Gheorghe that are included in Exhibit 2.2 of Ms. Trexler’s report,
Mr. Robinson was unfamiliar with most of these employees and was unable to provide any
information about work they allegedly performed.

           65.     Of the employees listed in Exhibit 2.2 of Ms. Trexler’s report, I understand that Mr.
Robinson was only aware that Andrey Labunets performed work and that Brendon Tiszka spent
approximately 3 hours of work in response to the alleged conduct. Therefore, other than the time
spent by Andrey Labunets and 3 hours of the time spent by Brendon Tiszka, I understand that
the remaining time spent by employees included in Ms. Trexler’s Exhibit 2.2 is not supported by
WhatsApp’s corporate representative and Rule 30(b)(6) designee in this matter.

           66.     I have adjusted Ms. Trexler’s calculations in her Exhibit 2 to reflect my
understanding of the time supported by Mr. Robinson.              The Figure below summarizes the
alternative calculation using Ms. Trexler’s full labor rate as well as a calculation that excludes the
RSU portion of Ms. Trexler’s labor rate.




118
      Schedule 4.0. (Exhibit B)

                                                                                                     28
      Case 4:19-cv-07123-PJH          Document 679-2          Filed 04/04/25    Page 142 of 144
                        HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY

Figure 11: Adjustments to Ms. Trexler’s Exhibit 2.2 Calculations Supported by Mr. Robinson’s
           Testimony119

                                                                               Amount

               Ms. Trexler’s Calculation of Labor Performed                     $105,469

               Adjusted Calculation of Ms. Trexler’s Calculation of
                                                                                  $8,272
               Labor Performed (Adjusted Hours)

               Adjusted Calculation of Ms. Trexler’s Calculation of
                                                                                  $6,813
               Labor Performed (Adjusted Hours, Excluding RSUs)


         67.      If both of the adjustments that I describe in the previous section and this section
are applied, then Ms. Trexler’s calculation for the eight employees in Exhibit 2.1 would decrease
to a total of $210,101,120 Ms. Trexler’s calculation for the 14 employees in Exhibit 2.2 would
decrease to a total of $6,813,121 resulting in a grand total for all 22 employees of $216,914.122 In
other words, even if the trier of fact finds that Defendants caused Plaintiffs to incur actual damages
in the form of employee time, the proper amount of that time is $216,914, not $444,719.


          3.    Ms. Trexler’s opinion that Defendants earned additional revenue for 1,500
                concurrent targets related to the allegations made by Plaintiff has no basis in
                the record and is significantly overstated.

         68.      In the section titled “Revenue and Profit from the Sale and License of Pegasus
Used in Connection with Defendants’ Exploit,” Ms. Trexler begins her discussion as follows:123

               In the absence of additional information, to determine Defendants’ ill-
               gotten gains specific to the alleged conduct, I apply an approach that
               considers the profit associated with a specific population of targeted
               devices. While I employ a “per-device” approach, to the extent
               additional information is available, I recognize that alternative
               approaches may exist. One such approach, to the extent additional
               information is available, could include the use of “per account” revenue
               consistent     with    the    Defendants’     recent     production   of
               NSO_WHATSAPP_00045858.
               The per-device approach first determines a per-device revenue
               amount. The revenues associated with the specifically targeted devices
               are then reduced to profits based on a reported profit margin. Under



119
    Schedule 4.1. (Exhibit B)
120
    $339,250 – $129,149 = $210,101. (Schedule 4.0. (Exhibit B))
121
    Schedule 4.1. (Exhibit B)
122
    $210,101 + $6,813 = $216,914.
123
    Trexler Report, pp. 35-36.

                                                                                                   29
      Case 4:19-cv-07123-PJH             Document 679-2        Filed 04/04/25       Page 143 of 144
                          HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY

               this approach, the Defendants’ profits are limited to only those devices
               that Plaintiffs determined were targeted through Defendants’ Exploit.
               […]
               The following sections address the population of targeted devices, the
               revenues associated with those targeted devices, and Defendants’
               profits on the calculated revenues.

         69.         After her discussion that she understands there are “1,500 targeted devices,” Ms.
Trexler attempts to calculate the “Revenue Specifically Associated with the 1,500 Targeted
Devices.”124 Ms. Trexler lays out costs for concurrent targets from a June 5, 2013 agreement and
a December 17, 2015 agreement, and ultimately assumes that 1,500 additional concurrent target
licenses would be required for the 1,500 devices and calculates revenue based on that
assumption125.

         70.         With respect to Ms. Trexler’s use of pricing for licenses to concurrent targets, Ms.
Trexler apparently fails to understand or ignores the rights that are conveyed related to a
concurrent target. I understand that the number of concurrent targets is based on the number of
successful installations / devices being monitored. For example, Mr. Shohat testified about
concurrent targets as follows:126

               Q. What does "concurrent targets" mean as defendants use that
               phrase?
               A. Concurrent license means that a customer --
               Q. Sorry, concurrent targets.
               A. Targets. License for concurrent targets means that a customer has
               license that allows him to monitor 50 targets in parallel at any given
               time.
               Q. So if you wanted, if you had 50, if you had Pegasus installed on 50
               phones and you wanted to make a new installation you would have to
               uninstall one of the old ones in order to open a slot, is that how it works?
               A. That's one way to do it.

         71.         Ms. Trexler does not cite to any evidence about the actual number of the 1,500
devices for which Pegasus was successfully installed. Instead, Ms. Trexler discusses “targeted
devices,” but she does not cite to any evidence of how many of these “targeted devices”
successfully had Pegasus installed or were being monitored by Pegasus:127


124
    Trexler Report, pp. 37-41.
125
    Trexler Report, pp. 37-41.
126
    Deposition of Yaron Shohat, August 29, 2024, pp. 226-227.
127
    Trexler Report, p. 37.

                                                                                                      30
Case 4:19-cv-07123-PJH   Document 679-2   Filed 04/04/25   Page 144 of 144
